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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION




STATE OF ILLINOIS,

                   Plaintiff,                      Case No. 17-cv-6260

            v.                              Judge Robert M. Dow, Jr.

CITY OF CHICAGO,

                   Defendant.




                                CONSENT DECREE
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I.     INTRODUCTION

            1.




forth below.



       2.                                                                        or the
 Department ) are committed to constitutional and effective law enforcement. In furtherance of

this commitment, the Parties enter into this Agreement to ensure that the City and CPD deliver

services in a manner that fully complies with the Constitution and laws of the United States and

the State of Illinois, respects the rights of the people of Chicago, builds trust between officers

and the communities they serve, and promotes community and officer safety. In addition, this

Agreement seeks to ensure that Chicago police officers are provided with the training, resources,

and support they need to perform their jobs professionally and safely. This Agreement requires

changes in the areas of community policing; impartial policing; crisis intervention; use of force;

recruitment, hiring, and promotions; training; supervision; officer wellness and support;

accountability and transparency; and data collection, analysis, and management.

       3.        On August 29, 2017, the State, by Lisa Madigan, Attorney General of the State of

Illinois, filed a Complaint against the City pursuant to 42 U.S.C. § 1983; the U.S. Constitution;

the Illinois Constitution; the Illinois Civil Rights Act of 2003, 740 ILCS 23/5; and the Illinois

Human Rights Act, 775 ILCS 5/5-102(C)

       4.        The Complaint alleged that CPD violates the Constitution, and state and federal

laws, by engaging in a pattern of using excessive force, including deadly force, in a manner that

                                                                               . The Complaint


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sought to address allegations that CPD engages in a pattern and practice of civil rights violations

and unconstitutional policing and address recommendations and conclusions set forth by the

U.S.




       5.      The City has denied the claims in the Complaint. However, without admitting any

liability of any sort, because the City is committed to continual improvement in the delivery of

police services, and in order to avoid protracted and expensive litigation, the City publicly

committed to working with the State to negotiate and implement this Agreement.

       6.      In this Agreement, the City commits to ensuring that police services are delivered

to all of the people of Chicago in a manner that fully complies with the Constitution and laws of

the United States and the State of Illinois, respects the rights of all of the people of Chicago,

builds trust between officers and the communities they serve, and promotes community and

officer safety. The City also commits to providing CPD members with the resources and support

they need, including improved training, supervision, and wellness resources.

       7.      In negotiating this Agreement, the Parties have consulted with community

leaders, community members, police officers, police officer unions, civilian CPD members,

advocates, and other concerned individuals who offered meaningful insights and

recommendations for change. This Agreement reflects the broad input received by the Parties

from the diverse communities that make up the City of Chicago.

II.    COMMUNITY POLICING

       A.       Guiding Principles




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          8.    Strong community partnerships and frequent positive interactions between police

and members of the public make policing safer and more effective, and increase public

confidence in law enforcement. Moreover, these partnerships allow police to effectively engage

with the public in problem-solving techniques, which include the proactive identification and

analysis of issues in order to develop solutions and evaluate outcomes.

          9.    To build and promote public trust and confidence in CPD and ensure

constitutional and effective policing, officer and public safety, and sustainability of reforms, the

City and CPD will integrate a community policing philosophy into CPD operations that

promotes organizational strategies that support the systematic use of community partnerships

and problem-solving techniques.

          10.   CPD will ensure that its community policing philosophy is a core component of

its provision of police services, crime reduction strategies and tactics, training, management,

resource deployment, and accountability systems. All CPD members will be responsible for

furthering this philosophy and employing the principles of community policing, which include

trust and legitimacy; community engagement; community partnerships; problem-solving; and

the collaboration of CPD, City agencies, and members of the community to promote public

safety.

          11.   The City and CPD are committed to exploring diversion programs, resources, and

alternatives to arrest.

          B.     Community Policing Advisory Panel

          12.   In 2016, the Superintendent commissioned the Community Policing Advisory




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policing efforts. CPAP organized its recommendations around the following pillars:

               a. sustainable relationships of trust between police and community;

               b. a strong focus on engagement with the c          youth;

               c. standards for community policing initiatives so that these initiatives have

                   clearly-defined objectives and contribute to the overall community policing

                   effort;

               d. a structure that reinforces community policing in every aspect of policing;
               e. robust community-oriented training for all members of the Department;

               f. effective problem-solving exercised jointly with the community and other

                   City agencies; and

               g. regular evaluation of the quality of community policing throughout the

                   Department.

       13.

to implement some of the recommendations, namely, the creation of the Office of Community

Policing, which reports directly to the Superintendent and is responsible for overseeing the




consistent with the requirements set forth in this Agreement.

       C.       Problem-Solving Measures

       14.     Within 180 days of the Effective Date, CPD will review and, to the extent

necessary, revise all relevant policies to clearly delineate the duties and responsibilities of the

Office of Community Policing and any other offices or entities that report to the Office of

Community Policing.


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        15.      With the assistance of the Office of the Community Policing, CPD will ensure its

command staff develops crime reduction and problem-solving strategies that are consistent with

the principles of community policing. To achieve this outcome, CPD will: a.



                       and guidance, in writing, for ensuring that department-wide and district-level

                       crime reduction strategies are consistent with the principles of community

                       policing;

        b.                                                          -wide and district-level

                       crime reduction strategies implemented under their command, as appropriate,

                       in order to ensure they incorporate problem-solving techniques and are

                       consistent with the principles of community policing; and

        c. designate the Deputy Chief of the Office of Community Policing to review and

              provide written feedback on implemented department-wide and districtlevel crime

              reduction strategies, excluding operational strategies that are determined on a day-

              to-day or short term basis, to ensure they are communityoriented and consistent

              with the principles of community policing.

        16.      CPD Bureau of Patrol Area Deputy Chiefs and District Commanders will

regularly review district efforts and strategies for building community partnerships and using

problem-solving techniques.

        17.                                             department-wide and district-level crime

reduction strategies will be determined by a reduction in crime and not by the number of arrests,

stops, or citations.




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       18.     The City will establish and coordinate regular meetings, at minimum quarterly,

with representatives from City departments, sister agencies, and CPD to collaborate on

developing strategies for leveraging City resources to effectively and comprehensively address

                                                                        -being. The City

departments and agencies will include, but not be limited to, the Department of Streets and

Sanitation, the Department of Buildings, the Chicago Fire Department, the Department of

Business Affairs and Consumer Protection, the Department of Planning and Development, the

Office of Emergency Management and Communication
People with Disabilities, the Department of Public Health, the Department of Family and

Support Services, the Chicago Public Schools, the Chicago Housing Authority, and the Chicago

Park District. If after two years the City concludes that less frequent meetings would be more

effective, it may propose an alternative schedule subject to Monitor approval.

       19.     CPD will ensure that officers are provided with information regarding the

communities they serve, including their assets and challenges, community groups and leaders,

and business, residential, and demographic profiles.

       20.     Within 180 days of the Effective Date, CPD will develop and institute a policy

prohibiting the transport of individuals with the intent to display or leave them in locations

where known rivals or enemies live or congregate.

       D.       Community Partnerships

       21.     Strong partnerships between CPD and the community enable law enforcement to

build and strengthen trust, identify community needs, and produce positive policing outcomes.

       22.     CPD will encourage and create opportunities for CPD members to participate in

community activities and have positive interactions with the community, including those that

extend beyond the context of law enforcement duties.
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       23.     CPD has established and will continue and build upon a variety of community

partnerships and engagement strategies designed to encourage positive community interactions,

such as Bridging the Divide, Officer Friendly, and youth mentorship and engagement programs.

       24.     Each district will identify and maintain collaborative partnerships with

community stakeholders to serve the specific needs of the community. District representatives

will meet, as appropriate, with residential, business, religious, civic, educational, youth, and

other community-based groups to proactively maintain these relationships and identify and

address community problems and needs.

       25.     CPD will meet with members of the community from each beat and District

Advisory Committee members at least once every two months. These community meetings will

be scheduled in consultation with the community, be used to identify problems and other areas

of concern in the community, and provide an opportunity to discuss responses and solutions

through problem-solving tactics and techniques.

       26.

serve as points of contact for organizations to assist with access to police services, including

those serving communities that have experienced previous challenges with access to police

services, such as LGBTQI individuals, religious minorities, immigrants, individuals with

disabilities, homeless individuals, and survivors of sexual assault and domestic violence. The

designated CPD members will provide feedback to the Deputy Chief of the Office of

Community Policing about the issues or potential policy recommendations raised by

community-based organizations or the community in order to improve access to police services.

       27.     CPD will facilitate relationships with youth by establishing regular meetings to

serve as opportunities to provide input to CPD about the issues affecting their lives and their


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communities. CPD will partner with community-based organizations to identify strategies to

include participants that represent a racially, geographically, and socio-economically diverse

cross section of Chicago youth, including, but not limited to, at-risk youth and youth who have

been arrested, incarcerated, or otherwise involved in the criminal or juvenile legal systems.

          28.     CPD will, with the assistance of the Office of Community Policing, institute a

public awareness campaign to inform the public, at least once a year, about: (a) CPD policies

most relevant to police interactions with the public, including, but not limited to: use of force,

body worn cameras, and Tasers; (b) steps for filing a complaint against CPD or a CPD member;



awareness campaign may include presentations, trainings, written guides, or web-accessible

videos.

          29.     Fair, unbiased, and respectful interactions between CPD members and victims of

crime provide an opportunity to strengthen community trust and foster public confidence in

CPD. CPD will continue to require that CPD members interact with victims of crime with

courtesy, dignity, and respect. CPD will continue to require that CPD members inform victims

of crime of the availability of victim assistance and resources, including providing written

notices

                ghts, when applicable. CPD will also have such victim assistance information

readily available on its public website and at all district stations.

          30.     CPD will prominently display signs both in rooms of police stations or other CPD

locations that hold arrestees or suspects and near telephones which arrestees or suspects have

access to. These signs will state:

                  a. that arrestees and suspects have the right to an attorney;

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                   b. that if an arrestee cannot afford an attorney, one may be appointed by the

                      court for free; and

                   c. the telephone numbers for the Cook County Public Defender, and any other

                      organization appointed by the Cook County Circuit Court to represent

                      arrestees.

        31.        CPD will provide arrestees access to a phone and the ability to make a phone call

as soon as practicable upon being taken into custody.

        E.         Interactions with Youth

        32.        Within 180 days of the Effective Date, CPD will review and revise its current

policies relating to youth and children and, within 365 days, will revise its training, as necessary,

to ensure that CPD provides officers with guidance on developmentally appropriate responses to,

and interactions with, youth and children, consistent with the provisions of this Agreement and

as permitted by law.

        33.        When interacting with youth and children, CPD will, as appropriate and permitted

by law, encourage officers to exercise discretion to use alternatives to arrest and alternatives to

referral to juvenile court, including, but not limited to: issuing warnings and providing guidance;

referral to community services and resources such as mental health, drug treatment, mentoring,

and counseling organizations, educational services, and other agencies; station adjustments; and

civil citations.

        34.        CPD will clarify in policy that juveniles in CPD custody have the right to an

attorney visitation, regardless of parent or legal guardian permission, even if the juvenile is not

going to be interviewed.




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        35.    If a juvenile has been arrested CPD will notify the juvenile parent or guardian as

soon as possible. The notification may either be in person or by telephone and will be

documented in any relevant reports, along with the identity of the parent or guardian who was

notified. Officers will document in the arrest or incident report attempts to notify a parent or

guardian. If a juvenile is subsequently interrogated, CPD policy will comply with state law and

require, at a minimum, that:

               a. Juvenile Miranda Warning will be given to juveniles prior to any custodial

                    interrogation;

               b.                                                      ave access to a juvenile

                    during a custodial interrogation, regardless of parent or legal guardian

                    permission;

               c. CPD officers will make reasonable efforts to ensure a parent or legal guardian

                    is present for a custodial interrogation of a juvenile arrestee under 15 years of

                    age in custody for any felony offense; and

               d. juveniles in custody for felony offenses and misdemeanor sex offenses under

                    Article 11 of the Illinois Criminal Code will have their custodial interrogation

                    electronically recorded.

        36.    When determining whether or not to apply handcuffs or other physical restraints

on a juvenile, CPD officers will consider the totality of the circumstances, including, but not

limited to,                                                                                        ct,

when known or objectively apparent to a reasonable officer, and whether such restraints are

necessary to provide for the safety of the juvenile, the officer, or others.

        F.      Community Policing Training


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       37.     Consistent with the requirements set forth in the Training section of this

Agreement, CPD will incorporate the philosophy of community policing into its annual inservice

training for all officers, including supervisors and command staff, by providing training on the

following topics:

               a. an overview of the philosophy and principles of community policing,

                    consistent with this Agreement;

               b. methods and strategies for establishing and strengthening community

                    partnerships that enable officers to work with communities to set public safety

                    and crime prevention priorities and to create opportunities for positive

                    interactions with all members of the community, including, but not limited to,

                    youth, people of color, women, LGBTQI individuals, religious minorities,

                    immigrants, individuals with limited English proficiency, homeless

                    individuals, and individuals with disabilities;

               c. problem-solving tactics and techniques;

               d. information about adolescent development and techniques for positive

                    interactions with youth; and

               e. effective communication and interpersonal skills.

       G.      School-Assigned Officers

       38.     Through inter-governmental agreements between CPD and Chicago Public


CPS decide to continue this practice, officers assigned to work in CPS schools will be

appropriately vetted, trained, and guided by clear policy in order to cultivate relationships of




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mutual respect and understanding, and foster a safe, supportive, and positive learning

environment for students.

       39.     Before the 2019-2020 school year begins, in consultation with CPS and

considering input from CPD members, including officers assigned to work in CPS schools,

school personnel, families, students, and community stakeholders, CPD will develop and

implement screening criteria to ensure that all officers assigned to work in CPS schools have the

qualifications, skills, and abilities necessary to work safely and effectively with students, parents

and guardians, and school personnel. Only CPD officers who satisfy the screening criteria will

be assigned to work in CPS schools.

       40.     Before the 2019-2020 school year begins, in consultation with CPS and

considering input from CPD members, including officers assigned to work in CPS schools,

school personnel, families, students, and community stakeholders, CPD will develop a policy

that clearly defines the role of officers assigned to work in CPS schools. This policy will be

reviewed by the Monitor by the end of 2019. Any suggested revisions by the Monitor that are

adopted by CPD will be implemented by CPD before the 2020-2021 school year. The policy will

reflect best practices and will include, but not be limited to:

               a. the duties, responsibilities, and appropriate actions of officers assigned to

                   work in CPS schools and school personnel, including an express prohibition

                   on the administration of school discipline by CPD officers;

               b. selection criteria for officers assigned to work in CPS schools;

               c. the requirement that officers assigned to work in CPS school receive initial

                   and refresher training; and




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               d. the collection, analysis, and use of data regarding CPD activities in CPS

                   schools.

       41.     CPD will, within 60 days of the completion of the 2019-2020 school year, and on

an annual basis thereafter, review and, to the extent necessary, revise its policies and practices

regarding officers assigned to work in CPS schools to ensure they are responsive to the needs of

the Department, CPS, and its students. This evaluation will include input from CPD members,

including officers assigned to work in CPS schools, school personnel, families, students, and

community stakeholders.

assigned to schools will be submitted to the Monitor and OAG in accordance with the

requirements of Part C of the Implementation, Enforcement, and Monitoring section of this

Agreement.

       42.     CPD officers assigned to work in CPS schools will receive specialized initial and

annual refresher training that is adequate in quality, quantity, scope, and type, and that addresses

subjects including, but not limited to:

               a. school-based legal topics;

               b. cultural competency;

               c. problem-solving;

               d. the use of de-escalation techniques, use of restorative approaches, and

                   available community resources and alternative response options;

               e. youth development;

               f. crisis intervention;

               g. disability and special education issues; and




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                h. methods and strategies that create positive interactions with specific student

                   groups such as those with limited English proficiency, who are LGBTQI, or

                   are experiencing homelessness.

The training will be developed and delivered in accordance with the requirements of the

Training section of this Agreement.

          43.   The curricula, lesson plans, and course materials used in initial training provided

before the 2019-2020 school year will be reviewed by the Monitor by the end of 2019. Any

suggested revisions by the Monitor that are adopted by CPD will be implemented by CPD before

the 2020-2021 school year.

          44.   Before the 2019-2020 school year begins, CPD will undertake best efforts to enter

into a memorandum of understanding with CPS, to clearly delineate authority and specify

procedures for CPD officer interactions with students while on school grounds, consistent with

the law, best practices, and this Agreement.

          H.     Ongoing Assessment and Improvement

          45.   By January 1, 2020, and annually thereafter, District Commanders will review

their d

Office of Community Policing, to ensure the strategies are consistent with the principles of

community policing. This review will include, but not be limited to:

                a. reviewing available district resources and personnel assignments;

                b. identifying methods to support their d         ability to effectively

                   problemsolve, including collaborating with City departments, services, and

                   sister agencies; and




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               c. identifying district-level CPD members, as needed, to assist members of the

                   community with access to police and City services, including community

                   members who have experienced previous challenges, such as LGBTQI

                   individuals, religious minorities, immigrants, individuals with disabilities,

                   individuals in crisis, homeless individuals, and survivors of sexual assault and

                   domestic violence.

       46.     Within 180 days of the Effective Date, and as appropriate thereafter, CPD will

solicit, consider, and respond to input, feedback, and recommendations from the community in

each district about its policing efforts and strategies. Such practices may include, but are not

limited to, direct surveys, community meetings, beat community meetings, and engagement

through social media. CPD will identify strategies for soliciting input from individuals that

reflect a broad cross section of the community each district serves.

       47.     Within 180 days of the Effective Date, CPD will develop procedures to annually

evaluate the effecti

partnerships and using problem-solving techniques aimed at reducing crime and improving

quality of life. CPD will determine any necessary adjustments based on its annual evaluation.

       48.     CPD will create opportunities to highlight, reward, and encourage officer,

supervisory, and district performance on furthering community partnerships, engaging in

problem-solving techniques, effective use of de-escalation, exemplary and effective supervision,

and implementing community-oriented crime prevention strategies.

III.   IMPARTIAL POLICING

       A.       Guiding Principles




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        49.    The Parties agree that policing fairly, with courtesy and dignity, and without bias

is central to promoting broad community engagement, fostering public confidence in CPD, and

building partnerships between law enforcement and members of the Chicago community that

support the effective delivery of police services.

        50.    In conducting its activities, CPD will provide police services to all members of

the public without bias and will treat all persons with the courtesy and dignity which is

inherently due every person as a human being without reference to stereotype based on race,

color, ethnicity, religion, homeless status, national origin, immigration status, gender identity or

expression, sexual orientation, socio-economic class, age, disability, incarceration status, or

criminal history.

        51.    CPD will ensure its members have clear policy, training, and supervisory

direction in order to provide police services in a manner that promotes community trust of its

policing efforts and ensures equal protection of the law to all individuals.

       B.          Impartial Policing Policies and Procedures

       1.          General Policies and Procedures

        52.    In developing or revising policies and training referenced in this section, CPD

will seek input from members of the community and community-based organizations with

relevant knowledge and experience through community engagement efforts.

        53.    CPD will, consistent with this Agreement, ensure that its policies and practices

prohibit discrimination on the basis of any protected class under federal, state, and local law,

including race, color, sex, gender identity, age, religion, disability, national origin, ancestry,

sexual orientation, marital status, parental status, military status, source of income, credit history,

criminal record,


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consistent with Section 6-101 of the Illinois Human Rights Act (eff. Jan, 1, 2015) and Section

2160-100 of the Municipal Code of Chicago (amended Oct. 11, 2017).

       54.     CPD will continue to require that all CPD members interact with all members of

the public in an unbiased, fair, and respectful manner. CPD will require that officers refrain from

using language or taking action intended to taunt or denigrate an individual, including using

racist or derogatory language.

       55.     CPD will prohibit officers from using race, ethnicity, color, national origin,

ancestry, religion, disability, gender, gender identity, sexual orientation, immigration status,

homeless status, marital status, parental status, military discharge status, financial status, or

lawful source of income when making routine or spontaneous law enforcement decisions, except

when such information is part of a specific subject description.

       56.     CPD will provide guidance, through training and supervision, that reinforces to

officers that substitutes or stereotypes for the demographic categories listed above in Paragraph

55, such as manner of dress, mode of transportation, or language ability, is prohibited when

making routine or spontaneous law enforcement decisions, except when such information is part

of a specific subject description.

       57.     CPD will continue to prohibit CPD members from posting, displaying, or

transmitting content that is disparaging to a person or group based on race, religion, sexual

orientation, or any other protected class on personal social media accounts.

       58.     Within 90 days of the Effective Date, CPD will clarify in policy that CPD officers

will permit members of the public to photograph and record CPD officers in the performance of

their law enforcement duties in a public place, or in circumstances in which the officer has no

reasonable expectation of privacy. The policy will also provide that officers may take reasonable


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action to maintain safety and control, secure crime scenes and accident sites, protect the integrity

and confidentiality of investigations, and protect the safety of officers or others.

       59.     Consistent with the requirements in the Accountability and Transparency section

of this Agreement and CPD policy, CPD will require that CPD members immediately report to a

CPD supervisor all incidents where they observe other CPD members who have engaged in

misconduct, including discrimination, profiling, or other bias-based policing.

       2.       Providing Police Services to Diverse Communities

       60.     Within 365 days of the Effective Date, CPD will develop and implement a policy


but not be limited to, instruction on interacting and searching individuals with garments or

coverings of religious significance.

       61.     Within 180 days of the Effective Date, CPD will review and, as necessary, revise

                                                                                               -

conforming individuals, including protocols for arrests, pat downs and searches, transportation,

and detention, in order to ensure that, at a minimum:

               a. terms are properly defined;
               b. CPD members address individuals, using the names, pronouns, and titles of

                   respect

                   by the individual;

               c. CPD members refer to individuals in documentation by the name and gender

                   identity as expressed or clarified by the individual, in addition to the

                   information provi                                       -issued identification;

               d. where same-sex pat downs or searches are required by law or CPD policy,

                   CPD members will respect the gender identity as expressed or clarified by the

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                   individual and not rely on proof of the individu

                   identification card, except when a pat down is immediately necessary and

                   waiting for an officer of the same gender would compromise officer or public

                   safety;

               e. absent exigent circumstances, a transgender, intersex, or gender

                   nonconforming individual is not transported or detained with individuals of a

                   different gender, and that when determining the gender of that individual,

                   CPD members will respect the gender identity as expressed or clarified by the

                   individual and not rely

                   identification card; and

               f. CPD members are prohibited from inquiring about intimate details of an


                   law enforcement purpose.

        62.    CPD will require that officers comply with CPD policies related to officer

response to allegations of sexual assault, sexual abuse, stalking, and domestic violence. All

officers will receive in-                                                             o allegations


of gender-based violence, including dispatch response, initial officer response, and on-scene and

follow-up investigation, is both effective and unbiased.

        63.    Within 180 days of the Effective Date, CPD will develop and implement a policy

that prohibits sexual misconduct by CPD members. The policy will be consistent with best

practices and applicable law and will provide definitions of various types of sexual offenses,

including those that are not criminal in nature.




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       64.     Within 180 days of the Effective Date, CPD will review and, to the extent

necessary, revise its language access policy to provide meaningful access to CPD programs and

services for individuals who have a limited ability to speak, read, write, or understand English.

CPD will ensure that its language access policy provides timely and meaningful access to police



qualified and Department-authorized interpreters are used in accordance with CPD policy,

including for the provision of Miranda warnings. CPD will publish its language access policy on

its website and, consistent with the requirements of Paragraph 28 of the Community Policing

section of this Agreement, make the policy available to community-based groups serving LEP

communities in Chicago.

       65.     Within 180 days of the Effective Date, the City will designate a language access




and will report to the Superintendent or his or her designee any recommendations to revise

policy, if necessary.

       66.     Within 365 days of the Effective Date, OEMC will provide training to its police

communication supervisors, call-                                         tele-communicators

that is adequate in quality, quantity, type, and scope, and that addresses procedures consistent

with CPD policy for responding to calls requiring language access services.

       67.     Within 180 days of the Effective Date, and as necessary thereafter, CPD will

translate its language access policy into any non-English language spoken by a limited or

nonEnglish proficient population that constitutes 5% or 10,000 individuals, whichever is less, in


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Chicago, as outlined in Section 2-40-020 of the Chicago Municipal Code. CPD will publish

translated versions of its language access policy on its website.

       68.     Before January 1, 2020, CPD will review and, to the extent necessary, revise its

policies and practices for ensuring effective communication and meaningful access to CPD

programs, services, and activities for individuals with physical, mental, or developmental

disabilities. These policies will identify specific procedures and responsibilities applicable to

circumstances in which CPD officers encounter persons with intellectual or developmental

disabilities, autism, dementia, blindness, deafness, hearing loss, and mobility disabilities,

including, but not limited to:

               a. properly defining terms related to individuals with disabilities and the

                   disability community;

               b. providing reasonable accommodations, to the extent safe and feasible, in

                   order to facilitate CPD officer encounters with individuals with a disability;

               c. the arrest and transport of individuals with disabilities or who require the

                   assistance of ambulatory devices; and

               d. using qualified and Department-authorized interpreters, consistent with CPD

                   policy, to communicate with people who are deaf, hard of hearing, or who

                   have a speech impairment, including for the provision of Miranda warnings.

       69.     Before January 1, 2020, CPD will develop a training bulletin that provides CPD

members guidance on interactions with people with disabilities, including:

               a. recognizing and responding to conduct or behavior that is related to an



                                                                         l conditions such as


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                 b. providing effective communication and minimizing barriers to

                      communication, including by incorporating sign language and other modes of

                      communication used by people who are deaf, hard of hearing, or who have a

                      speech impairment during police-community interactions;

                 c. attending to the specific needs of individuals with disabilities, such as

                      mobility devices, prosthetics, and service animals; and

                 d. recognizing and responding to identified abuse, neglect, or exploitation of

                      individuals with disabilities, including making any notifications required by

                      CPD policy or the law.

       70.       Within 180 days of the Effective Date, CPD will designate at least one member as

                                                          who will

comply with the ADA and:

                 a.

                      training as they relate to individuals with disabilities and report to the
                      Superintendent, or his or her designee, any recommended revisions, if

                      necessary, to ensure compliance with the law and this Agreement;

             b. serve as a resource to assist CPD members in providing meaningful access to

                police services for individuals with disabilities; and

             c. act as a liaison between CPD and individuals with disabilities.

       71.       Within 180 days of the Effective Date, CPD will develop a policy for transporting

arrested or detained individuals that requires CPD officers to notify OEMC of the start and end

of a transport and whether the individual is a juvenile or adult.

       C.         Impartial Policing Training



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       72.     The Parties recognize that training is a necessary component of impartial

policing. CPD will integrate the concept of impartial policing into related CPD training courses

when appropriate, including, but not limited to, use of force courses, weapons training courses,

and Fourth Amendment subjects courses.

       73.     The Parties acknowledge that CPD has developed, with the aid of subject-matter

experts, a three-part course called Procedural Justice, which covers certain impartial policing

subjects including the principles of procedural justice, the importance of police legitimacy, and

the existence of and methods for minimizing the impact of implicit bias. By the end of the year

2020, all officers, including supervisors, will complete the Procedural Justice course.

       74.     Consistent with the requirements set forth in the Training section of this

Agreement, CPD will incorporate the concept of impartial policing into its annual in-service

training for all officers, including supervisors and command staff, by providing training on the

following topics:

               a.              -bias and impartial policing policies, including, but not limited to,

                    the policies referenced in this section unless otherwise required;

               b. refreshers of topics covered in Procedural Justice;

               c. appropriate use of social media;

               d. cultural competency training that prepares officers to interact effectively with

                    people from diverse communities including, but not limited to, people of

                    color, LGBTQI individuals, religious minorities, and immigrants;

               e. recognizing when a person has a physical, intellectual, developmental or

                    mental disability, including protocols for providing timely and meaningful

                    access to police services for individuals with disabilities; and


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               f. the specific history and racial challenges in the City of Chicago. 75.      OEMC

                   currently provides diversity awareness training to all new telecommunicators

                   which, among other things, addresses the existence of and methods for

                   minimizing the impact of implicit bias. OEMC will continue to provide

                   training on this topic to all new tele-communicators and, beginning in 2020,

                   will provide all tele-communicators with refresher training every two years on

                   this topic that is adequate in quantity, quality, type, and scope.

       D.       Hate Crimes

       76.     By January 1, 2020, CPD will review and, to the extent necessary, revise its

policies and procedures to ensure that allegations and complaints of hate crimes, as defined by

federal, state, and local law, are comprehensively investigated.

       77.     CPD will ensure that all officers receive in-service training every two years on

methods, strategies, and techniques for recognizing and responding to hate crimes, including

     s procedures for processing reports and complaints.

       78.     Within 180 days following the expiration of each calendar year of the term of this

Agreement, CPD will publish an annual report summarizing reported hate crimes and non-




reported hate crimes and non-criminal incidents motivated by hate, organized by type of crime,

classification of bias motivation, and disposition of hate crime investigations in each district.

       E.       Ongoing Assessment and Improvement

       79.     By April 1, 2020, and every year thereafter, CPD will conduct an assessment of

the relative frequency of all misdemeanor arrests and administrative notices of violation



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including race and gender.

       80.     Prior to conducting this assessment, CPD will share its proposed methodology,

including any proposed factors to be considered as part of the assessment, with the Monitor for

                                                                                sed methodology

                                                                                provided that the -

                                                                              reviewed

methodologies and this Agreement. Upon completion of the assessment, CPD will identify any

                                                  ndings in the assessment and develop a

timeline for implementation, subject to Monitor review and approval. Upon completion of the

assessment, CPD will publish the underlying data, excluding personal identifying information

(e.g., name, address, contact information), via a publicly-accessible, web-based data platform.




include all stops effectuated by CPD members that were subject to the ACLU Agreement in the

assessment required by this Part.

       82.     Nothing in this Part will be interpreted to require CPD to analyze statistical data

beyond that currently collected and maintained in electronic databases unless otherwise required

under this Agreement. In instances in which race or gender data is not maintained in an

electronic database, CPD may use geographic data in its assessment. For purposes of this

paragraph, information contained solely in a scanned PDF document or other image of a

document, and not otherwise collected and maintained in an electronic database, is not

considered data maintained in an electronic database.

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IV.     CRISIS INTERVENTION

       A.      Guiding Principles

       83.     CPD officers often serve as first responders to individuals experiencing a

behavioral or mental health crisis. These individuals may exhibit symptoms of known,

suspected, or perceived behavioral or mental health conditions, including, but not limited to,

mental illness, intellectual or developmental disabilities, or co-occurring conditions such as

substance use disorders. The Parties acknowledge that having a mental illness, an intellectual or

developmental disability, or co-occurring condition does not mean an individual necessarily is in

crisis, or that having a behavioral or mental health condition would necessarily be the reason for

any crisis that requires police involvement. However, it may need to be considered or warrant

heightened sensitivity to ensure an appropriate response. Therefore, individuals in the groups

listed above



       84.     A person may be a suspected individual in crisis based on a number of factors,

including, but not limited to, self-reporting; information provided by witnesses, family members,



direct observation.

       85.     CPD officers will interact with individuals in crisis with dignity and respect. The

use of trauma-informed crisis intervention techniques to respond appropriately to individuals in

crisis will help CPD officers reduce the need to use force, improve safety in police interactions

with individuals in crisis, promote the connection of individuals in crisis to the healthcare and

available community-based service systems, and decrease unnecessary criminal justice

involvement for individuals in crisis. CPD will allow officers sufficient time and resources to

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use appropriate crisis intervention techniques, including de-escalation techniques, to respond to

and resolve incidents involving individuals in crisis. To achieve these outcomes, the City and

CPD will implement the requirements set out below.

        86.     The City and CPD are committed to exploring diversion programs, resources, and

alternatives to arrest for individuals in crisis.

       B.       Crisis Intervention Team Program




                a. developing CIT strategy and initiatives;

                b. supporting officers in the districts who respond to incidents involving

                    individuals in crisis;

                c. engaging the community and community stakeholders to raise awareness of

                    the CIT Program and issues involving individuals in crisis;

                d. coordinating among City agencies that respond to individuals in crisis;

                e. recruiting officers to apply for CIT training; f.



                    including Advanced CIT (e.g., youth, veterans) and refresher trainings, in

                    accordance with the requirements of the Training section of this Agreement;

                g. delivering roll call trainings and mental health awareness initiatives;

                h. compiling and retaining the reports identified in Part F of this section and

                    collecting and maintaining the appropriate CPD data related to incidents

                    involving individuals in crisis to support and evaluate the effectiveness of the




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                   individuals in crisis, including identifying any district-level and

                   departmentwide trends;

              i. coordinating data and information sharing with OEMC; and

              j. communicating with and soliciting feedback from crisis intervention-related

                   community stakeholders, Certified CIT Officers, and OEMC call-takers and



       88.    The CIT Program will serve to meet the objectives of: a.



                   individuals in crisis;

              b. de-escalating crises to reduce the need to use force against individuals in

                   crisis;

              c. improving the safety of officers, individuals in crisis, family members, and

                   community members;

              d. promoting community-oriented solutions to assist individuals in crisis;

              e. reducing the need for individuals in crisis to have further involvement with

                   the criminal justice system; and

              f.                                                                         -related

                   policies and trainings to better identify and respond to individuals in crisis.

      89.     The CIT Program, through the CIT Coordinator, will annually review and, if


objectives and functions of the CIT Program.
       90.     The City and CPD will ensure that the CIT Program is provided with:

              a. the resources and access to data and information necessary to fulfill the

                   objectives and functions of the CIT Program; and

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               b. a qualified, centralized staff, including supervisors, officers, and civilian

                   employees, that is necessary to oversee the department-wide operation of the

                   CIT Program, carry out the overall mission of the CIT Program, and perform

                   the objectives and functions of the CIT Program.

       91.     Additionally, the City and CPD will ensure that the CIT Program has sufficient,

dedicated district-level resources, consistent with the needs of each district identified by the

District Commander and the CIT Coordinator, and approved by the Chief of the Bureau of

Patrol, as needed to carry out the overall objectives and functions of the CIT Program at the

district-level, which include, but are not limited to:

               a. supporting officers in the district with incidents involving individuals in
                  crisis;

               b. delivering CIT Program-approved roll call trainings and mental health

                   awareness initiatives;

               c. establishing relationships between the district and local service providers and

                   healthcare agencies;

               d. referring and, when appropriate, connecting individuals in crisis with local

                   service providers;

               e. engaging with the community to raise awareness of the CIT Program and

                   issues involving individuals in crisis; and

               f. providing administrative support to the coordinator of the CIT Program.
       C.      Certified CIT Officer Designation

       92.     Certified CIT Officers are officers who receive specialized training in responding

to individuals in crisis. Certified CIT Officers retain their standard assignment and duties but




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may also take on specialized crisis intervention duties and are prioritized to respond to calls in

the field identified as involving individuals in crisis, as assigned.

        93.    To be eligible for consideration as a Certified CIT Officer, applicants must have

at least 18 months of experience as a CPD officer and no longer be on probationary status. CPD




        94.    Under the direction of the CIT Coordinator, supervisors and instructors teaching

crisis intervention-related topics will assist in identifying and recruiting qualified officers with

apparent or demonstrated skills and abilities in crisis de-escalation and interacting with

individuals in crisis to apply to receive CIT training.

        95.    Certified CIT Officers, at a minimum, must complete the specialized 40-hour




To maintain the Certified CIT Officer designation, officers must receive a minimum of eight

hours of CIT refresher t

eligibility requirements established by the CIT Program.

        96.                                         -depth, specialized course that teaches officers

how to recognize and effectively respond to individuals in crisis. In addition to the crisis

intervention-related topics covered in the training provided to all officers, the Basic CIT

Training will address signs and symptoms of individuals in crisis, suicide intervention,

community resources, common mental health conditions and psychotropic medications, the

effects of drug and alcohol abuse, perspectives of individuals with mental conditions and their




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family members, the rights of individuals with mental conditions, civil commitment criteria,

crisis de-escalation, and scenario-based exercises.




calls for service that involve individuals in crisis. The CIT Refresher Training will include a

review of the concepts, techniques, and practices offered in the Basic CIT Training as well as

relevant and/or emerging topics in law enforcement responses to individuals in crisis, general

and specific to CPD. Additionally, the CIT Refresher Training may cover the content included in

the in-service crisis intervention training.

        98.    Certified CIT Officers may satisfy the in-service training requirements, as

outlined in Part H, by completing the CIT Refresher Training.

        99.    Within 365 days of the Effective Date, the CIT Program staff, in coordination

with the Education and Training Division will develop the CIT Refresher Training. The CIT

Program staff will review and revise the CIT Refresher Training as necessary to ensure that

Certified CIT Officers receive up-to-date training. The CIT Program will seek input from the

Advisory Committee in the development of the refresher training.

        100.   All Certified CIT Officers who completed the Basic CIT Training before the

development of the CIT Refresher Training must complete their first CIT Refresher Training

within four years of the date that the CIT Refresher Training is developed. All Certified CIT

Officers who complete Basic CIT Training on or after the date that the CIT Refresher Training is

developed must complete their first CIT Refresher Training within three years of receiving the

Basic CIT Training.
       101. Certified CIT Officers who fail to complete the CIT Refresher Training within

three years of taking their most recently required CIT Training, whether the Basic CIT Training
                                                31
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CIT Refresher Training requirement. CPD will confirm on a quarterly basis that Certified CIT

Officers remain in compliance with the CIT Refresher Training requirement. Any Certified CIT

Officer found to be out of compliance during the quarterly review may not continue to be

identified by CPD as a Certified CIT Officer and may not continue to be prioritized to respond to

calls for service involving individuals in crisis. Each quarter, CPD will inform OEMC of officers

who are out of compliance with the CIT Refresher Training requirement. An officer out of

compliance with the CIT Refresher Training requirement must complete the most recently

offered version of the CIT Refresher Training before CPD may resume identifying the officer as

a Certified CIT Officer and before OEMC may resume prioritizing that officer to respond in the

field to calls involving individuals in crisis.

        102.    All newly assigned                                    and promoted Sergeants and

Lieutenants will continue to receive the Basic CIT Training. To be considered Certified CIT

Officers, FTOs, Sergeants, and Lieutenants must meet the eligibility criteria and training

requirements established by the CIT Program and this Agreement.

        103.    The CIT Program staff responsible for the CIT training curriculum will, where it

would add to the quality or effectiveness of the training and when feasible and appropriate,

encourage and seek the participation of professionals and advocates who work with individuals

in crisis, and persons with lived experiences of behavioral or mental health crisis, including

those with involvement in the criminal justice system, in developing and delivering CPD CIT

trainings.

        104.    CPD will develop policies regarding the criteria for ongoing participation as a

Certified CIT Officer, consistent with this Agreement.

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       105.    CPD will continue to maintain an up-to-date list of Certified CIT Officers,

including their unit of assignment.

       D.      Certified CIT Officer Implementation Plan and Response to Incidents

       106.    CPD will require that, when available, at least one Certified CIT Officer will

respond to any incident identified as involving an individual in crisis. Certified CIT Officers will

continue to be prioritized for dispatch to incidents identified as involving individuals in crisis, as

assigned. CPD will review and revise the appropriate policies to ensure that, in situations in

which a Certified CIT Officer is not available to respond to a call or incident identified as

involving an individual in crisis, the responding officer engages in crisis intervention response

techniques, as appropriate and consistent with CPD policy and their training, throughout the

incident. Responding officers will document all incidents involving an individual in crisis in a

manner consistent with this Agreement.

       107.    Within 180 days of the Effective Date, and quarterly thereafter, CPD will collect

and analyze the number of calls for service identified as involving individuals in crisis for every

watch in each district to evaluate the number of Certified CIT Officers needed to timely respond



The number of Certified CIT Officers on each watch in every district will be driven by the

demand for crisis intervention services for the particular watch and district.

       108.    Within 180 days of the Effective Date, CPD will develop an implementation plan

      Officer Impleme                            , at a minimum, its analysis of the demand for

crisis intervention services for each watch in each district. The CIT Officer Implementation Plan

will identify the number of Certified CIT Officers necessary, absent extraordinary circumstances,

to meet the following response ratio targets:

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               a. a sufficient number of Certified CIT Officers to ensure that Certified CIT

                   Officers are available on every watch in each district to timely respond to at

                   least 50% of the calls for service identified as involving individuals in crisis,



               b. a sufficient number of Certified CIT Officers to ensure that Certified CIT

                   Officers are available on every watch in each district to timely respond to at

                   least 75% of the calls for service identified as involving individuals in crisis,



       109.    The CIT Officer Implementation Plan will further identify the steps that are

necessary to meet and maintain the initial response ratio target by January 1, 2020, and the

second response ratio target by January 1, 2022 and the strategies, methods, and actions CPD

will implement to make progress to timely achieve and maintain these response ratio targets.

       110.    Within 180 days of completing the CIT Officer Implementation Plan, and

annually thereafter, CPD will submit a report to the Monitor and the Office of the Attorney




                                                                                        ) the number

of Certified CIT Officers identified as necessary to achieve the response ratio targets. The




within in 45 days of the date CPD submitted the progress report to the Monitor and OAG.
        111. Through the execution of the CIT Officer Implementation Plan, CPD will ensure

that it maintains a sufficient number of Certified CIT Officers on duty on every watch of each




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district to help ensure that a Certified CIT Officer is available to timely respond to each incident

identified as involving individuals in crisis, absent extraordinary circumstances.

          112.   If the Monitor determines that CPD has not made material progress toward

achieving the CIT Officer Implementation Plan Goals during any given reporting period, CPD

will review and revise the CIT Officer Implementation Plan as necessary to enable CPD to make

material progress to achieve the Implementation Plan Goals.

          113.   CPD will require that responding Certified CIT Officers will take the lead in

interacting with individuals in crisis, once on scene, when appropriate and with supervisory

approval, if required by CPD policy. If an officer who is not a CIT-Certified Officer has

assumed responsibility for the scene, the officer will seek input from the on-scene Certified CIT

Officer on strategies for resolving the crisis, when it is safe and practical to do so.

          114.   Certified CIT Officers will receive ongoing feedback from the CIT Program and

unit supervisors regarding their responses to incidents identified as involving individuals in

crisis.

          E.     CIT Coordinator

          115.   CPD has designated and will maintain a Certified CIT Officer, at the rank of

Lieutenant or above, with the sole responsibility to act as a Crisis Intervention Team Program




and facilitate community engagement between CPD and crisis intervention-related stakeholders.

          116.   The CIT Coordinator will receive initial and refresher professional development

training that is adequate in quality, quantity, type, frequency, and scope to prepare the CIT

Coordinator to take on the role and responsibilities of the CIT Coordinator, in addition to the

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Basic CIT training.

       117.   The responsibilities of the CIT Coordinator will include, at a minimum:

              a. developing and managing a uniform CIT Program strategy;

              b. researching and identifying best practices to incorporate into CPD response to

                  individuals in crisis;

              c. reviewing and, when necessary to meet the requirements of this Agreement,

                  enhancing the CIT training curricula;

              d. selecting and removing Certified CIT Officers from the CIT Program

                  consistent with the requirements of this Agreement;

              e. overseeing crisis intervention-related data collection, analysis, and reporting;

              f. developing and implementing                            Crisis Intervention Plan;

              g. supervising CIT Program staff;

              h. participating in the Advisory Committee;

              i. encouraging the public recognition of the efforts and successes of the CIT

                  Program and individual Certified CIT Officers; and

              j. regularly communicating and interacting with relevant CPD command staff to

                  recommend improvements to Department crisis intervention-related

                  strategies, staffing and deployment, policies, procedures, and training.

       F.     Crisis Intervention Reporting and Data

       118.   By January 1, 2020, CPD will require that, after responding to an incident

involving an individual in crisis, the assigned CPD officer completes a CIT Report, or any

similar form of documentation CPD may implement. The CIT Report, or similar documentation,

at a minimum, will include:

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           a. the nature of the incident;

           b. the date, time, and location of the incident;

           c.

           d. whether the subject is or claims to be a military veteran, if known;

           e. the relationship to the subject, if any and if known, of the individual calling

                for service;

           f. whether the subject has had previous interactions with CPD, if known;

           g. whether the subject is observed or reported to be experiencing symptoms of a

                mental illness, intellectual or developmental disability, co-occurring condition

                such as a substance use disorder, or other crisis;

           h. the behaviors observed during the incident, including whether the subject used

                or displayed a weapon;

           i. the name(s) and star (i.e., badge) number(s) of the assigned CPD officer(s)

                and whether any of the assigned officers are Certified CIT Officers;

           j. the name(s) and star (i.e., badge) number(s) of any supervisor responding to

                the scene;

           k. the skills, techniques, or equipment used by the responding CPD officers;

           l. whether a reportable use of force was documented on a Tactical Response

                                 , or whatever similar form of documentation CPD may

                implement, for the incident ;

           m. a narrative describing the CPD officer s interaction with the subject, when no

                other CPD report captures a narrative account of the incident; and




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             n. the disposition of the incident, including whether the individual was

                transported to municipal or community services, transported to a hospital,

                subject to a voluntary or involuntary commitment, or arrested.

                            119.   CPD will require that a supervisory member reviews and

                    approves completed CIT Reports, or any similar form of documentation

                    CPD may implement to document incidents involving an individual in

                    crisis, before submitting them to the CIT Program.

                            120.   CPD will collect, analyze, and report data regarding the

                    number and types of incidents involving individuals in crisis and

                    responses of CPD officers to such events to assess staffing and

                    deployment of Certified CIT Officers and department-wide responses to

                    individuals in crisis. The CIT Program will review the data contained

                    within the submitted CIT Reports, or any similar form of documentation

                    CPD may implement, to evaluate the overall response and effectiveness

                    by CPD officers and identify any district-level and department-wide

                    trends regarding responses to incidents identified as involving individuals

                    in crisis.

                           121. CPD will identify and assign a sufficient number of data
                    analysts to collect and


in crisis.

        G.   Crisis Intervention Plan

                            122.   Within 365 days of the Effective Date, and on an annual

                    basis thereafter, the City will publish a written Crisis Intervention Plan.

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                       The development of the Crisis Intervention Plan will be based on the

                       regular review of aggregate data and a sample of incidents conducted by

CPD and OEMC. The CIT Coordinator will consider quantitative crisis-intervention data,


Program, CPD member feedback regarding crisis intervention-related training, actual incident

information, staffing and deployment analysis of available Certified CIT officers, research

reflecting the latest in best practices for police responses to individuals in crisis, and any

feedback and recommendations from the Advisory Committee. OEMC will consider the

response to, identification of, and dispatch of calls for service involving individuals in crisis by

OEMC tele-communicators, research reflecting the latest in best practices for tele-communicator

responses to individuals in crisis, and any feedback and recommendations from the Advisory

Committee.

        123.

identification of and response to incidents involving individuals in crisis and recommend any

changes to staffing and deployment, policy, or training to ensure consistency with CPD and

OEMC policy, this Agreement, and best practices. CPD will implement the Crisis Intervention

Plan in accordance with the specified timeline for implementation. The Crisis Intervention Plan

will:

               a. report the number, type, and outcome of incidents involving individuals in

                   crisis, the number of Certified CIT Officers available and on duty in each

                   district and on each watch, the percentage of calls for service involving

                   individuals in crisis for which Certified CIT Officers were the first officers to

                   respond to the scene for each watch in every district, and the response times


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                for calls for service involving individuals in crisis for each watch in every

                district;

           b.                                                      objectives and functions

              identified above;
           c. identify strategies to ensure that CPD has a sufficient number of Certified CIT

                Officers to meet its response ratio targets for calls for service involving

                individuals in crisis;

           d. describe any additional resources, including program staff or equipment, the

                CIT Program needs to perform its functions;

           e. identify safety issues and trends regarding interactions between individuals in

                crisis and officers;

           f. identify deficiencies and opportunities for improvement in identifying and

                dispatching calls for service involving individuals in crisis;

           g. recognize and highlight CIT Program and Certified CIT Officer successes,

                including successful individual officer performance;

           h. develop response strategies for repeat calls for service involving individuals

                who are frequently in crisis;

           i.   recommend any changes to crisis intervention-related strategies, policies, and

                procedures;

           j.   recommend any changes to CPD and OEMC trainings related to individuals

                in crisis, including any case studies and teaching scenarios; and

           k. include a timeline and plan for implementing recommended changes. 124.

                    The data included in the Crisis Intervention Plan will not include any

                personal identifying information.
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       125.

reviewed

and approved completion.

       H.        Non-CIT Crisis Intervention Training

       126.    Consistent with the requirements set forth in the Training section of this

Agreement, all officers will receive in-service training, every three years, regarding responding

to individuals in crisis that is adequate in quality, quantity, and scope for officers to demonstrate

competence in the subject matter. This in-service training will include, but not be limited to, the

following topics:

               a. a history of the mental health system;

               b. how to recognize and respond to individuals in crisis, including, but not

                    limited to, identifying types of mental health conditions, signs and symptoms

                    of mental health conditions, common treatments and medications, and

                    common characteristics, behaviors, or conduct associated with individuals in

                    crisis;

               c. the potential interactions officers may have on a regular basis with individuals

                    in crisis, their families, and service providers, including steps to ensure

                    effective communication and avoid escalating an interaction with an

                    individual in crisis;

               d. techniques to safely de-escalate a potential crisis situation;

               e. the circumstances in which a Certified CIT Officer should be dispatched or

                    consulted; and




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               f. local resources that are available to provide treatment, services, or support for

                   individuals in crisis, including available pre- and post-arrest diversion

                   programs, and when and how to draw upon those resources.

       127.    All new recruits will receive training that is adequate in quantity, quality, and

scope regarding responding to individuals in crisis. It will include, but not be limited to, training

on the subjects identified above.

       I.       Advisory Committee




and developing solutions and interventions designed to improve outcomes for individuals in

crisis who require City services. The Parties acknowledge that the City has formed the City-wide

Mental Health Steering Committee and that the City may draw upon those resources to satisfy

the requirements of this Agreement.

       129.    The Advisory Committee, at a minimum, will meet quarterly to review and

recomm

consideration to areas such as coordinated crisis response; data collection and evaluation;

community engagement and awareness; service outreach and prevention; and the CIT Program.

       130.    The City will request that the Advisory Committee provide guidance on crisis

response-related policies, procedures, and training of City agencies, including CPD and OEMC,

and assist the City in developing and expanding current strategies for responding to individuals

in crisis, including reducing the need for police-involved responses to individuals in crisis and

developing municipal and community resources, such as pre- and post-arrest diversion resources

and alternative response options (like drop-off centers, mobile crisis teams, a central



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nonemergency crisis line). The City will further request that in providing the guidance detailed

above the Advisory Committee will consider specific strategies for responding to children and

youth when they experience a behavioral or mental health crisis.

       131.    Within 365 days of the Effective Date, the City will request that the Advisory

Committee identify and evaluate in writing any opportunities to develop or enhance crisis

response-related policies, procedures, and training of City agencies, including CPD, OEMC, and

the Chicago Fire Department, and increase municipal and community resources and alternative

response options, including rapid-access clinics, drop-off centers, mobile crisis teams, a central

non-emergency crisis line, other pre- and post-arrest diversion efforts, and strategies targeted at

children and youth. The City will also request that the Advisory Committee identify and evaluate

the steps necessary to develop non-criminal justice responses to individuals in crisis, including,

but not limited to, a behavioral health unit to provide alternative non-criminal justice responses

to individuals in crisis. In evaluating potential community resources and strategies, the Advisory

Committee will identify challenges and opportunities for improvement, if any, and make

recommendations. The City will address the feedback and recommendations identified by the

Advisory Committee, including identifying recommendations that it will adopt, and the plan for

implementation, in the Crisis Intervention Plan. The City will respond to each of the

recommendations made by the Advisory Committee. The response will include a description of

the actions that CPD has taken or plans to take with respect to the issues raised in the

recommendations. If the City declines to implement a recommendation, it will explain the

reason(s) for declining.

       132.                                                                      .




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Office will invite individuals who have personally experienced a behavioral or mental health

crisis, people with experience working with individuals in crisis, and experts with knowledge in

law enforcement responses to individuals in crisis. At

individuals from the following groups: first responders; the CIT Coordinator; OEMC; county

and




entity; community behavioral and mental health professionals; advocacy groups for consumers

of behavioral and mental health services; behavioral and mental health service providers;

homeless service providers; substance abuse service providers; persons with lived experiences of

behavioral or mental health crises; and other similar groups.

       J.       Crisis Intervention Policies

       133.    CPD policy will provide that a crisis intervention response may be necessary even

in situations where there has been an apparent violation of law.

       134.    CPD policy will encourage officers to redirect individuals in crisis to the

healthcare system, available community resources, and available alternative response options,

where feasible and appropriate.

       135.    CPD will ensure that the language used in policies, procedures, forms, databases,

and trainings to communicate about incidents involving individuals in crisis is appropriate,

respectful, and consistent with industry recognized terminology. CPD will seek input from

community stakeholders, including the Advisory Committee, for recommendations to identify

appropriate and respectful terminology.




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        136.    CPD will develop and implement policies, procedures, and protocols regarding

the collection, mai

                                                                                health to facilitate

necessary and appropriate communication while adequately protecting an

                                                                                     PD will seek

input from community stakeholders, including the Advisory Committee.

        137.    Within 180 days of the Effective Date, CPD will review and revise its crisis

intervention-related policies as necessary to comply with the terms of this Agreement. CPD will

consider any recommendations or feedback provided by the Advisory Committee when revising


its policies.

        K.        Crisis Intervention-Related Call Intake and Dispatch

        138.    OEMC call-takers will continue to identify calls for service involving an

individual known, suspected, or perceived to be in crisis.

        139.    OEMC will continue to code all incidents identified as potentially involving an

individual in crisis in a manner that allows for subsequent data analysis necessary for the

evaluation of CPD and OEMC responses to individuals in crisis and the development of the

plans required by this section of the Agreement.

        140.    OEMC police communication dispatchers will continue to prioritize Certified CIT

Officers for dispatch to incidents that involve an individual known, suspected, or perceived to be

in crisis. If a Certified CIT Officer is not available to timely respond, OEMC will continue to

dispatch an available officer to avoid compromising response time. OEMC dispatchers will

dispatch a Certified CIT Officer, when available, if the responding officer requests assistance

from a Certified CIT Officer.
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       141.    CPD will provide OEMC with an updated list of current and active Certified CIT

Officers and their assignment at least every week. At the beginning of each watch, CPD will

continue to identify for OEMC the Certified CIT Officers on duty for each watch and in each

district so that OEMC dispatchers know which Certified CIT Officers to prioritize for dispatch to

incidents involving an individual known, suspected, or perceived to be in crisis.

       142.    Within 90 days of the Effective Date, OEMC will ensure that all current active




communicators complete their training and begin answering calls independently.
     143. The OEMC Training will be at least an eight-hour course taught jointly by

qualified OEMC staff and a mental health clinician or advocate.

       144.    The OEMC Training will cover, at a minimum, the following topics:

identification of individuals in crisis; telephonic suicide prevention strategies; crisis and stress

management, de-escalation, and scenario-based exercises; interactions with individuals with

mental illness; information that should be gathered and shared with the responding officer or

Certified CIT Officer when the call-taker suspects that the call involves an individual in crisis;

the types of calls that may require the dispatching of a Certified CIT Officer or a coordinated

crisis response of first responders reflective of established policy for intake and dispatch; and the

procedures for dispatching a Certified CIT Officer.

       145.    Any training on mental health and CIT awareness that has already been provided

to tele-communicators may fulfill the OEMC Training requirement of this Agreement, if the

previously provided training satisfies the criteria for the OEMC Training described in this

Agreement.




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        146.    All tele-communicators will receive at least annual refresher training on mental

health and CIT awareness that is adequate to refresh the tele                           identifying,

dispatching, and appropriately responding to calls for service that involve individuals in crisis.

        147.    OEMC will evaluate all mental health and CIT awareness trainings for

telecommunicators on at least an annual basis to ensure that the trainings meet OEMC needs,

comply with this Agreement, incorporate best practices, and ensure that the training is effective

for personnel and for the individuals in crisis served. OEMC will consider recommendations and

feedback from the CIT Coordinator and the Advisory Committee when conducting its

evaluation.

        148.    OEMC will develop and implement its portion of the Crisis Intervention Plan.

        149.    OEMC supervisors, on an ongoing basis, will audit and provide feedback to

calltakers and dispatchers regarding their ability to identify, dispatch, and respond appropriately

to calls for service involving individuals in crisis.

        150.    The Parties acknowledge that OEMC currently meets regularly with CPD and the

City-wide Mental Health Steering Committee. OEMC will continue to meet regularly with CPD,

in addition to appropriate members of the Advisory Committee, including service providers and

advocates, to review and assess data and information regarding the identification of, the dispatch

of, and response to calls for service involving individuals in crisis by OEMC telecommunicators.

        151.    Within 180 days of the Effective Date, and annually thereafter, OEMC will

review and revise its intake and dispatch policies and protocols as necessary to meet the

requirements of this Agreement. OEMC will consider any recommendations or feedback

provided by the Advisory Committee when revising its policies.




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       152.    OEMC will ensure that the language used in policies, procedures, forms,

databases, trainings, and by tele-communicators to communicate about calls involving

individuals in crisis is appropriate, respectful, and consistent with industry-recognized

terminology. OEMC will seek input from the Advisory Committee for recommendations to

identify appropriate and respectful terminology.

V.      USE OF FORCE

       153.

systems, must ensure that: CPD officers use force in accordance with federal law, state law, and

the requirements of this Agreement; CPD officers apply de-escalation techniques to prevent or

reduce the need for force whenever safe and feasible; when using force, CPD officers only use

force that is objectively reasonable, necessary, and proportional under the totality of the

circumstances; and any use of unreasonable or unnecessary force is promptly identified and

responded to appropriately.




best practices reflected in the October 2017 Policies and make additional improvements to its

policies consistent with the terms of this Agreement.

       A.      Objectives

       155.    CPD officers have the authority to use force, but that authority is limited by the

law and Department policy. The provisions of this Agreement seek to facilitate compliance with

the law and Department policy regarding the use of force to reduce the circumstances in which




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using force is necessary, and to ensure accountability when CPD officers use force that is not

objectively reasonable, necessary, and proportional under the totality of the circumstances.

       156.

will be designed, implemented, and maintained so that CPD members:

               a. act at all times in a manner consistent with the sanctity of human life;

               b. act at all times with a high degree of ethics, professionalism, and respect for

                  the public;

               c. use de-escalation techniques to prevent or reduce the need for force whenever

                  safe and feasible;

               d. use sound tactics to eliminate the need to use force or reduce the amount of

                  force that is needed;

               e. only use force that is objectively reasonable, necessary, and proportional

                  under the totality of the circumstances;

               f. only use force for a lawful purpose and not to punish or retaliate;

               g. continually assess the situation and modify the use of force as circumstances

                  change and in ways that are consistent with officer safety, including stopping

                  the use of force when it is no longer necessary;

               h. truthfully and completely report all reportable instances of force used;

               i. promptly report any use of force that is excessive or otherwise in violation of

                  policy;

               j. are held accountable, consistent with complaint and disciplinary policies, for

                  use of force that is not objectively reasonable, necessary, and proportional




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                   under the totality of the circumstances, or that otherwise violates law or

                   policy; and

               k. act in a manner that promotes trust between CPD and the communities it

                   serves.

        157.   CPD will collect and analyze information on the use of force by CPD members,

including whether and to what extent CPD members use de-escalation techniques in connection

with use of force incidents. CPD will use this information to assess whether its policies, training,

tactics, and practices meet the goals of this Agreement, reflect best practices, and prevent or

reduce the need to use force.

        B.     Use of Force Policies

        158.

reflect the objectives described above, and promote trust between CPD and the communities that

it serves.

        160.   CPD will conduct an annual review of its use of force policies consistent with

accreditation requirements of the Commission on Accreditation for Law Enforcement Agencies




Agreement, incorporate best practices, address observed trends and practices, as necessary, and

reflect developments in applicable law.

        161.   CPD will establish and maintain clear channels through which community


additions to those policies. CPD will regularly review the input received, including during the

biennial review process.


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                1.        General Policy Requirements

         162.   CPD recently adopted de-escalation as a core principle. CPD officers must use

deescalation techniques to prevent or reduce the need for force whenever safe and feasible. CPD

officers are required to de-escalate potential and ongoing use of force incidents whenever safe

and feasible through the use of techniques that may include, but are not limited to, the following:

                a. using time as a tactic by slowing down the pace of an incident;

                b. employing tactical positioning and re-positioning to isolate and contain a

                     subject, to create distance between an officer and a potential threat, or to

                     utilize barriers or cover;

                c. continual communication, including exercising persuasion and advice, and

                     providing a warning prior to the use of force;

                d. requesting assistance from other officers, mental health personnel, or

                     specialized units, as necessary and appropriate; and

                e. where appropriate, use trauma-informed communication techniques, including

                     acknowledging confusion or mistrust, or using a respectful tone.

         163.                                       nt to preventing and reducing the need for

force, CPD officers will allow individuals to voluntarily comply with lawful orders whenever

safe and feasible (e.g., allowing individuals the opportunity to submit to arrest before force is

used).

         164.   CPD officers may only use force for a lawful purpose. CPD officers are

prohibited from using force as punishment or retaliation, such as using force to punish or

retaliate against a person for fleeing, resisting arrest, insulting an officer, or engaging in

protected First Amendment activity (e.g., lawful demonstrations, protected speech, observing or


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       165.    CPD officers must only use force when it is objectively reasonable, necessary,

and proportional under the totality of the circumstances.

       166.    CPD officers are prohibited from using deadly force except in circumstances

where there is an imminent threat of death or great bodily harm to an officer or another person.

CPD officers are not permitted to use deadly force against a person who is a threat only to

himself or herself or to property. CPD officers may only use deadly force as a last resort.

       167.    CPD officers are prohibited from using deadly force against fleeing subjects who

do not pose an imminent threat of death or great bodily harm to an officer or another person.

167.   CPD officers will operate their vehicles in a manner that is consistent with CPD policy

and training and with the foremost regard for the safety of all persons involved. CPD will

periodically include instruction regarding sound vehicle maneuvers in its in-service training

regarding use of force. As appropriate, CPD will provide supplemental training guidance

regarding dangerous vehicle maneuvers that should be avoided.

       168.    Starting no later than January 1, 2019, CPD will track and analyze the frequency

with which CPD officers engage in foot pursuits of persons attempting to evade arrest or

detention by fleeing on foot, regardless of whether the foot pursuit is associated with a reportable

use of force incident. CPD will track foot pursuits associated with reportable use of force

incidents through TRRs or any similar form of documentation CPD may implement.

       169.    For foot pursuits associated with reportable use of force incidents, by January 1,

2020, CPD will review all associated foot pursuits at the headquarters level to identify any

tactical, equipment, or training concerns.




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       170.    CPD recently issued a foot pursuit training bulletin. By July 1, 2019, CPD will

develop and issue a supplemental foot pursuit training bulletin that reflects best practices from

foot pursuit policies in other jurisdictions. The supplemental training bulletin will be subject to

review and approval by the Monitor and OAG. The supplemental training bulletin will:

               a. identify risks and tactical factors officers should consider prior to initiating

                   and during the course of a foot pursuit;

               b. provide guidance to officers regarding radio communications during a foot

                   pursuit;

               c. instruct officers to avoid, to the extent practical, separating from other officers

                   in the course of a foot pursuit;

               d. provide guidance on circumstances when alternatives to a foot pursuit may be

                   appropriate; and

               e. inform officers that they must follow

                   a foot pursuit, including instructions to alter tactics or discontinue the pursuit.

       171.    CPD will provide scenario-based training regarding foot pursuits and the

supplemental foot pursuit training bulletin during the first annual use of force training required

by this Agreement.

       172.    By no later than January 1, 2021, the Monitor will complete an assessment of

CPD data and information to determine whether CPD should adopt a foot pursuit policy. If the

Monitor recommends that CPD should adopt a foot pursuit policy, CPD will adopt a foot pursuit

policy no later than July 1, 2021. Any foot pursuit policy adopted by CPD will be subject to

review and approval by the Monitor and OAG.




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        173.     Following a use of force, once the scene is safe and as soon as practicable, CPD

officers must immediately request appropriate medical aid for injured persons or persons who

claim they are injured.

        174.     Before January 1, 2021, CPD will ensure that all CPD officers receive Law

Enforcement Medic

CPD officers will incorporate scenario-based elements. Before January 1, 2021, CPD will equip

all CPD officers engaged in patrol activities who have completed LEMART training with an

individual first aid kit                                                  -02-23).

        175.     Starting January 1, 2021, in use of force incidents involving CPD officers, CPD

will require CPD officers to provide life-saving aid consistent with their LEMART training to

injured persons as soon as it is safe and feasible to do so until medical professionals arrive on

scene. CPD will replenish IFAKs, and the contents thereof, used by CPD officers as necessary to

ensure officers have the equipment necessary to render aid consistent with their LEMART

training. Subsequent to January 1, 2021, CPD will ensure that any officer regularly engaged in

patrol activities who has no prior LEMART training receives LEMART training within one year

of beginning his or her regular patrol activities.

        176.     CPD officers must recognize and act upon the duty to intervene on the

behalf when another officer is using excessive force.

        177.     Consistent with CPD policy that force must be objectively reasonable, necessary,

and proportional, CPD officers must generally not use force against a person who is handcuffed

or otherwise r

immediately stopped to prevent injury or escape or when compelled by other law enforcement

objectives.


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          178.   CPD officers are prohibited from using carotid artery restraints or chokeholds (or

other maneuvers for applying direct pressure on a windpipe or airway, i.e., the front of the neck,

with the intention of reducing the intake of air) unless deadly force is authorized. CPD officers

must not use chokeholds or other maneuvers for intentio

airway or carotid artery restraints as take-down techniques.

                 2.      Policies Regarding Specific Weapons




must clearly define and describe each force option and the circumstances under which use of

such force is appropriate to address potential types of resistance.

          180.   CPD will maintain policies for each of the following weapons, using the

following guidelines.

                 a.      Firearms

          181.   CPD will continue to require that only officers who are currently certified may be

issued, carry, and use firearms.

          182.   CPD will require officers to consider their surroundings before discharging their

firearms and take reasonable precautions to ensure that people other than the target will not be

struck.

          183.   CPD will require officers to issue a verbal warning prior to the use of any

reportable force, including the use of firearms, when it is safe and feasible to do so.

          184.   When CPD officers discharge firearms, they must continually assess the

circumstances that necessitated the discharge and modify their use of force accordingly,




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including ceasing to use their firearm when the circumstances no longer require it (e.g., when a

subject is no longer a threat).

        185.   CPD will continue to prohibit officers from firing warning shots.

        186.   CPD officers must not fire at moving vehicles when the vehicle is the only force

used against the officer or another person, except in extreme circumstances when it is a last

resort to preserve human life or prevent great bodily harm to a person, such as when a vehicle is

intentionally being used to attack a person or group of people. CPD will continue to instruct

officers to avoid positioning themselves or remaining in the path of a moving vehicle, and will

provide officers with adequate training to ensure compliance with this instruction.

        187.   CPD will prohibit officers from firing from a moving vehicle unless such force is

necessary to protect against an imminent threat to life or to prevent great bodily harm to the

officer or another person.

        188.   By January 1, 2019, CPD will develop a training bulletin that provides guidance

on weapons discipline, including circumstances in which officers should and should not point a

firearm at a person. CPD will incorporate training regarding pointing of a firearm in the annual

use of force training required by this Agreement in 2019.

        189.   CPD will clarify in policy that when a CPD officer points a firearm at a person to

detain the person, an investigatory stop or an arrest has occurred, which must be documented.

CPD will also clarify in policy that officers will only point a firearm at a person when

objectively reasonable under the totality of the circumstances.

        190.   Beginning July 1, 2019, CPD officers will, at a minimum, promptly after the

incident is concluded, notify OEMC of investigatory stop or arrest occurrences in which a CPD

officer points a firearm at a person in the course of effecting the seizure. The notification will


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identify which CPD beat(s) pointed a firearm at a person in the course of effecting the seizure.

The City will ensure that OEMC data recording each such notification is electronically linked

with CPD reports and body-worn camera recordings associated with the incident, and all are

retained and readily accessible to the supervisor of each CPD beat(s) identified in the

notification.

        191.    OEMC will notify an immediate supervisor of the identified beat(s) each time the

pointing of a firearm is reported. Notified CPD supervisors will ensure that the investigatory

stop or arrest documentation and the OEMC recordation of the pointing of a firearm are

promptly reviewed in accordance with CPD policy. CPD supervisors will effectively supervise

the CPD members under their command consistent with their obligations set forth in the

Supervision section of this Agreement.

        192.    A designated unit at the CPD headquarters level will routinely review and audit

documentation and information collected from all investigatory stop and arrest occurrences in

which a CPD officer pointed a firearm at a person in the course of effecting a seizure. The

review and audit will be completed within 30 days of each such occurrence. This review and

audit will:

                a. identify whether the pointing of the firearm at a person allegedly violated

                   CPD policy;

                b. identify any patterns in such occurrences and, to the extent necessary, ensure

                   that any concerns are addressed; and

                c. identify any tactical, equipment, training, or policy concerns and, to the extent

                   necessary, ensure that the concerns are addressed.




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The designated unit at the CPD headquarters level will, where applicable, make appropriate

referrals for misconduct investigations or other corrective actions for alleged violations of CPD

policy. At the completion of each review and audit, the designated unit at the CPD headquarters

level will issue a written notification of its findings and, if applicable, any other appropriate

actions taken or required to an immediate supervisor as described above.

       193.    CPD will ensure that the designated unit at the CPD headquarters level

responsible for performing the duties required by this Part has sufficient resources to perform

them, including staff with sufficient experience, rank, knowledge, and expertise.

       194.    CPD officers will not be required to notify OEMC of the pointing of a firearm at

a person when the CPD officer is a SWAT Team Officer responding to a designated SWAT

incident, as defined in CPD Special Order S05-05, or an officer assigned to a federal task force

during the execution of federal task force duties.

       195.    CPD officers will not be required to notify OEMC of any unholstering or display


unless the firearm is pointed at a person.

       196.    The City will ensure that all documentation and recordation of investigatory stop

or arrest occurrences in which a CPD member points a firearm at a person, including OEMC

data, is maintained in a manner that allows the Monitor, CPD, and OAG to review and analyze

such occurrences. Beginning January 1, 2020, the Monitor will analyze these occurrences on an

annual basis to assess whether changes to CPD policy, training, practice, or supervision are

necessary, and to recommend any changes to the process of documenting, reviewing, and




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should be implemented will be resolved by the Court.

               b.

       197.    CPD will continue to require that only officers who are currently certified may be

issued, carry, and use Tasers.

       198.    CPD will instruct officers that Tasers can cause serious injury or death and, as a

result, officers should use Tasers only after balancing relevant factors including the threat

presented by the subject, the risk of injury if a Taser is used, and the seriousness of the suspected

offense. Consistent with this standard, CPD officers should not use Tasers against persons who

are reasonably perceived to be non-violent, unarmed, and suspected of low-level offenses, such

as property-related misdemeanors, quality of life offenses, moving or traffic violations, or

municipal code violations.

       199.    CPD will clarify in policy that flight alone, without any other basis for reasonable

articulable suspicion or probable cause, does not justify use of a Taser against a subject.

       200.    When safe and feasible to do so, CPD officers must give verbal commands and

warnings prior to, during, and after deployment of a Taser. When safe and feasible to do so,

CPD officers will allow a subject a reasonable amount of time to comply with a warning prior to

using or continuing to use a Taser, unless doing so would compromise the safety of an officer or

another person.

       201.    CPD will strongly discourage the use of Tasers in schools and on students. CPD


age, size, and the threat presented, in assessing the reasonableness and necessity of using a Taser

in a school.




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       202.    CPD officers will treat each application or standard cycle (five seconds) of a

Taser as a separate use of force that officers must separately justify as objectively reasonable,

necessary, and proportional. CPD will continue to require officers to, when possible, use only

one five-second energy cycle and reassess the situation before any additional cycles are given or

cartridges are discharged. In determining whether any additional application is necessary, CPD

officers will consider whether the individual has the ability and has been given a reasonable

opportunity to comply prior to applying another cycle.

       203.    CPD will require that if the subject has been exposed to three, five-second energy

cycles (or has been exposed to a cumulative 15 total seconds of energy) and the officer has not

gained control, officers switch to other force options unless the officer can reasonably justify

that continued Taser use was necessary to ensure the safety of the officer or another person,

recognizing that prolonged Taser exposure may increase the risk of death or serious injury.

       204.    CPD officers must:
               a. determine the necessity, objective reasonableness, and proportionality of


                   apparent age, size, physical and mental condition, disability, and impairment;

               b. not use Tasers in drive-stun mode unless the subject is an assailant and other

                   force options are not readily available or would otherwise be ineffective;

               c. when practicable, avoid the use of Tasers when it is reasonably evident that a

                   deployment may cause serious physical injury, including if the subject is

                   elevated above the ground, if the subject is operating or riding any mode of

                   transportation, or if the subject may be less able to catch or protect themselves

                   in a fall;



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           d. not use Tasers in any environment that contains potentially flammable,

                volatile, or explosive material;

           e. not use Tasers on a subject who is at a greater risk of serious injury or death

                from Taser use, including, but not limited to, children, pregnant individuals,

                and the elderly, unless the subject is an assailant and other force options are

                not readily available or would otherwise be ineffective;

           f. target the Taser in probe mode at the lower center mass and avoid the head,

                neck, and genitalia;

           g. not activate more than one Taser at a time against a subject, unless an officer

                already attempted to use a Taser against the subject but the probes did not

                make contact with the subject; and

           h. keep Tasers in a weak-side holster.
                        205. CPD officers must request medical aid for a person

                   subjected to a Taser application. CPD officers must place any person

                   subjected to a Taser application in a position that does not impair

                   respiration, as soon as it is safe and feasible to do so. CPD officers must

                   render life-saving aid to injured persons consistent with their training until

                   medical professionals arrive on scene. Only trained medical personnel

                   may remove Taser probes from a subject.

                           206.    CPD will conduct Taser inspections on a periodic basis to

                   perform information downloads, ensure Tasers are operable, and perform

                   necessary maintenance or repairs.

           c.



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                        207.    CPD officers may use OC devices only when such force is

                 objectively reasonable, necessary, and proportional under the totality of

                 the circumstances, and consistent with the objectives above.

                        208.    CPD officers may only use OC devices for crowd dispersal

                 when such force is necessary, objectively reasonable, and proportional to

                 the threat presented to public safety. CPD will continue to require that the

                 Superintendent or his or her designee provides authorization before OC

                 devices are used for noncompliant groups, crowds, or an individual taking

                 part in a group or crowd.

                        209.    When safe and feasible to do so, CPD officers must issue

                 verbal commands and warnings to the subject prior to, during, and after

                 the discharge of an OC device. When safe and feasible to do so, CPD will

                 require officers to allow a subject a reasonable amount of time to comply

                 with a warning prior to using or continuing to use an OC device, unless

                 doing so would compromise the safety of an officer or another person.

                        210.    Each individual application of an OC device

                                                  personal OC device) by a CPD officer must

                 be objectively reasonable, necessary, and proportional under the totality of

                 the circumstances, and consistent with the objectives above. 211. CPD

                 officers must assist subjects exposed to application of an OC device with

                 decontamination and flushing when it is safe and feasible to do so. CPD

                 officers must request the appropriate medical aid for a subject after the

                 discharge of an OC device if the subject appears to be in any physical


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                       distress, or complains of injury or aggravation of a pre-existing medical

                       condition (e.g., asthma, emphysema, bronchitis, or a heart ailment).

        212.   CPD officers may only use department-issued or approved OC devices.

               d.      Impact Weapons

        213.   CPD officers must not use impact weapons (e.g., baton, asp, improvised impact

weapons) to intentionally strike a subject in the head or neck, except when deadly force is

justified.

        214.   When safe and feasible to do so, CPD officers must give verbal commands and

warnings prior to, during, and after using an impact weapon.

        215.   CPD officers must receive training on proper use of an impact weapon before

being permitted to carry such weapon.

        216.   CPD officers must request appropriate medical aid for a subject who experiences

an impact weapon strike when the subject appears to be in any physical distress or complains of

injury, or when the subject sustained a strike to the head from an impact weapon or a hard, fixed

object. CPD officers must render life-saving

training until medical professionals arrive on scene.

        C.     Reporting Uses of Force

        217.   To be effective,

members. When CPD members use force, they must be able to demonstrate that the force used




take appropriate action to address it. To facilitate evaluation of how CPD members use force,

CPD will ensure that members report incidents when they use force and that supervisors collect

and review available information about the incidents.
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       218.    CPD members must report and document any reportable use of force. Beginning

January 1, 2019, a reportable use of force will be defined as any use of force by a CPD member

included in any of the following three levels:

               a. A level 1 reportable use of force is the use of any force by a CPD member to

                   overcome the active resistance of a subject that does not rise to a level 2 or

                   level 3 reportable use of force. This would include force that is reasonably

                   expected to cause pain or an injury, but does not result in injury or complaint

                   of injury. The following techniques are level 1 reportable uses of force when

                   applied in response to active resistance: pressure point compliance techniques;

                   joint manipulation techniques; wristlocks; armbars; and any leg sweep,

                   weaponless defense techniques, or takedown that does not result in injury or

                   complaint of injury. It is not a reportable use of force for a CPD member to

                   escort, touch, or handcuff a person with no or minimal resistance.

               b. A level 2 reportable use of force is the use of any force by a CPD member that

                   includes use of a less-lethal weapon or that causes an injury or results in a

                   complaint of an injury, but that does not rise to a level 3 reportable use of

                   force. Force options in this level include: discharge of an OC device;

                   discharge of a Taser; impact weapon strikes to any part of the body other than

                   the head or neck; use of impact munitions; any physical apprehension by a

                   canine; any reportable use of force against a handcuffed subject; and any leg

                   sweep, weaponless defense technique, or takedown resulting in an injury or

                   complaint of injury.




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               c. A level 3 reportable use of force is when a CPD member does any of the

                  following: uses any force that constitutes deadly force, such as discharging a




                  airway or carotid artery; uses any force that causes the death of any person; or

                  uses any force that causes injury to any person resulting in admission to a

                  hospital.

       219.    Whenever a CPD member engages in a reportable use of force, the member must

complete a TRR, or any similar form of documentation CPD may implement, prior to the end of

his or her tour of duty. In addition to completing the TRR, officers must also document the

reason for the initial stop, arrest, or other enforcement action per CPD policy. CPD may allow

members requiring medical attention a reasonable amount of additional time to complete the

required documentation. CPD may allow supervisors to complete the TRR for members who are

unable to complete the report due to injury or in other extraordinary circumstances.

       220.    In completing the TRR, or whatever similar documentation CPD may implement,

CPD members must include a narrative that describes with specificity the use of force incident,

                    , or other circumstances necessitating the level of force used; and the

involved member's response, including de-escalation efforts attempted and the specific types and

amounts of force used. The narrative requirement does not apply to CPD members who

discharged a firearm in the performance of duty or participated in an officer-involved death in

the performance of duty. Any CPD member who observes or is present when another CPD

member discharges a firearm or uses other deadly force must complete a written witness

statement prior to the end of his or her tour of duty. CPD members will note in their TRRs the


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existence of any body-worn camera or in-car camera audio or video footage, and whether any

such footage was viewed in advance of completing the TRR or any other incident reports. CPD

members must complete TRRs, or whatever similar documentation CPD may implement, and

other reports related to the incident, truthfully and thoroughly.

       221.      Any CPD member who engages in a reportable use of force must immediately

report the inc

supervisor and the Watch Operations Lieutenant of the district of occurrence.

       222.      A CPD supervisor will immediately respond to the scene when a level 2 or level 3

reportable use of force              responding supervisor

discretion, respond to the scene when a level 1 reportable use of force occurs, but they are not

required to do so.

       223.      For level 2 and level 3 reportable use of force incidents, the duties of the

responding supervisor will include, at a minimum:

                 a. identifying known available witnesses to the use of force to the extent

                     reasonably possible and documenting their identities and statements in a

                     written report, except in incidents for which the Civilian Office of Police

                                        COPA receives administrative notifications and responds

                     to the scene;

                 b. coordinating with COPA, as appropriate;

                 c. gathering and preserving evidence related to the use of force;

                 d. requesting the assignment of an evidence technician to photograph persons

                     involved in the incident, including any injuries sustained;

                 e. ensuring that members and subjects receive appropriate medical care;


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               f. making notifications as required by CPD policy; and

               g. reviewing reports regarding the incident for legibility and completeness. 224.

                      In addition, for level 2 and level 3 reportable use of force incidents

                   involving an injury or complaint of injury for which COPA does not have

                   jurisdiction, the responding supervisor will undertake reasonable efforts to

                   identify and interview additional witnesses beyond those that are known and

                   available.

       225.    A supervisor who used force or ordered force to be used during a reportable use

of force incident will not perform the duties assigned to the responding supervisor for that

incident.

       226.    CPD will continue to require the responding supervisor to document information



portion of the TRR, or in any other similar form of documentation CPD may implement.

       227.    Any CPD member who becomes aware of information indicating that a reportable

use of force occurred but was not reported must immediately notify his or her supervisor.

       D.       Supervisory Review of Reportable Uses of Force

       228.    Supervisors play a critical role in ensuring that force is used legally, consistent

with CPD policy, and in a manner that will promote community confidence in the Department.

Supervisor reviews and investigations of uses of force are essential to identify necessary

individual and departmental corrective action.

       229.    All reportable uses of force by CPD members must be reviewed by CPD

supervisors.




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       230.    After a reportable use of force has occurred, required TRRs have been completed,

and, in the case of level 2 and level 3 incidents, a responding supervisor has documented any

investigatory information collected, the incident will be reviewed and evaluated by a CPD

supervisor at least the rank of Lieutenant, and in all instances at least one rank level above that

of the highest-ranking member who engaged in the reportable use of force, or by a command

staff member, when designated reviewing supervisor

       231.    The reviewing supervisor will conduct an investigation into the reportable use of

force incident by reviewing all information reasonably available regarding the incident,

including written reports, video or audio recordings, and, in the case of level 2 and level 3

reportable use of force incidents, witness statements, photographs (if available), and other

evidence or information collected by the responding supervisor. After advising the subject of his

or her right not to answer questions and other applicable rights, and only if the subject

voluntarily consents to an interview, the reviewing supervisor will interview the subject solely

about the reportable use of force. In addition, the reviewing supervisor will visually inspect the

subject and document any injuries observed.

       232.    For all reportable uses of force, the reviewing supervisor will determine, based on

the information reviewed, if the use of force requires a notification to COPA and will assess

whether the use of force was in compliance with CPD policy (except for incidents involving

deadly force or an officer-involved death). The reviewing supervisor will also review the TRR,

or any similar form of documentation CPD may implement, for sufficiency and completeness.

       233.    For all reportable use of force incidents, the reviewing supervisor will: provide

timely, constructive feedback, where appropriate, to the officer who engaged in the reportable

use of force


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necessary based on the incident; take appropriate action, including referring uses of force that

may violate law or CPD policy to COPA.

       234.    CPD will continue to require the reviewing supervisor to document in a Tactical

Response Report Investigation TRR-I , or in any other similar form of documentation CPD

may implement, his or her detailed assessment of compliance with CPD policy, any constructive

feedback, and any required or recommended action. In addition, the reviewing supervisor will

include in the TRR-I or in any other similar form of documentation CPD may implement, the

identities of CPD members on scene during the incident who are reasonably believed to have

relevant knowledge or information regarding the reportable use of force.

       235.    All district-level supervisory review documentation regarding a reportable use of

force incident must be completed within 48 hours of the incident, unless an extension is

approved by a command staff member.

       E.       Body-Worn Cameras

       236.    CPD will continue to develop, implement, and maintain a system of video

                                                         -worn cameras. The use of body-worn

cameras will be designed to increase officer accountability, improve trust and CPD legitimacy in

                                                     enforcement-related activities.

       237.    CPD will continue to require all officers assigned to patrol field duties to wear

body-worn cameras and microphones with which to record law-enforcement related activities as

outlined in the Illinois Law Enforcement Officer-Worn Body Camera Act (50 ILCS 706/10-1 et

seq.), with limited exceptions, including, but not limited to, when requested by a victim or

witness of a crime, or interacting with a confidential informant. CPD will develop and




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implement a written policy delineating the circumstances when officers will not be equipped

with bodyworn cameras.

       238.    CPD will continue to maintain a policy regarding body-worn camera video and

audio recording that will require officers to record their law-enforcement related activities, and

that will ensure the recording

Retention Schedule (CPD-11.717) and the Illinois Law Enforcement Officer-Worn Body
Camera

                                  -worn camera policy will:

               a. clearly state which officers are required to use body-worn cameras and under

                    which circumstances;

               b. require officers, subject to limited exceptions specified in writing, to activate

                    their cameras when responding to calls for service and during all law

                    enforcement-related activities that occur while on duty, and to continue

                    recording until the conclusion of the incident(s);

               c. require officers to articulate in writing or on camera their reason(s) for failing

                    to record an activity that CPD policy otherwise requires to be recorded;

               d. require officers to inform subjects that they are being recorded unless doing

                    so would be unsafe, impractical, or impossible;

               e. address relevant privacy considerations, including restrictions on recording

                    inside a home, and the need to protect witnesses, victims, and children;

               f. establish a download and retention protocol;

               g.                                                                              CPD

                    policy and training purposes;



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               h. require that the reviewing supervisor review videos of incidents involving

                  reportable uses of force by a subordinate; and

               i. specify that officers who knowingly fail to comply with the policy may be

                  subject to progressive discipline, training, or other remedial action.

       239.    CPD officers must comply with the body-worn camera policy. CPD will impose

progressive discipline, training, or other remedial action on officers who do not comply with the

body-worn camera policy, as permitted by applicable law.

       240.    Any CPD officer required to wear a body-worn camera must:

               a. visually and physically inspect the body-worn camera and ensure that it is the


                  each tour of duty; and

               b. notify a supervisor as soon as practical

                  body-worn camera becomes inoperable (including when either or both of the

                  audio or video recording functions is inoperable) or is damaged. 241. CPD

                  will ensure that any CPD officer who reports an inoperable or damaged body-

                  worn camera is promptly provided with a temporary or replacement body-

                  worn camera,

which will in no event

       242.    CPD will ensure that CPD officers assigned to Department vehicles that are

equipped with in-car cameras check that the cameras are fully functional at the beginning of

each watch and make appropriate notifications when they are not. CPD will ensure that any

nonfunctioning or malfunctioning in-car camera is repaired or replaced within two weeks of a

CPD officer reporting that the in-car camera is not functioning properly.


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       F.          Use of Force Training

         243.                      -service and in-service training must provide officers with
   knowledge

of policies and laws regulating the use of force; equip officers with tactics and skills, including

de-escalation techniques, to prevent or reduce the need to use force or, when force must be used,

to use force that is objectively reasonable, necessary, and proportional under the totality of the

circumstances; and ensure appropriate supervision and accountability.

            244.                                                                   devices, impact

weapons, and other force options that CPD currently authorizes or may authorize in the future

will be consistent with its commitment to de-escalation as a core principle. Any initial training,

qualification, or requalification regarding these force options will incorporate scenario-based

elements, including scenarios in which officers achieve resolution without employing force.



regarding required procedures and techniques after each of these force options are used,



            245.         CPD will provide all current CPD officers with in-service use of force

   training on at least an annual basis, and more frequently when necessitated by developments

   in applicable law and CPD policy. CPD will coordinate and review all use of force training to

   ensure quality, consistency, and compliance with federal and state law, CPD policy, and this

   Agreement.

            246.         The annual use of force training will include the following topics:

               a. CPD policies and Fourth Amendment law governing the use of force;




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             b. proper use of force decision-making that utilizes a critical thinking framework

                 in which officers gather relevant facts; assess the situation, threats, and risks;

                 consider CPD policy; identify options and determine the best course of action;

                 and act, review, and reassess the situation;

             c. role-playing scenarios and interactive exercises that illustrate proper use of

                 force decision-making;

             d. ethical decision-making and peer intervention, principles of procedural

                 justice, the role of implicit bias, and strategies for interacting with individuals

                 in crisis;

             e. de-escalation techniques and tactics to prevent or reduce the need for force,

                 including exercising persuasion and advice, and providing a warning;

                 stabilizing the situation through the use of time, distance, or positioning to

                 isolate and contain a subject; and requesting additional personnel to respond

                 or make use of specialized units or equipment; the proper deployment of

                 CPD-issued or -approved weapons or technologies, including firearms and

                 Tasers;

             f. use of force reporting, investigation, and review requirements, including

                 documenting reportable use of force incidents; and

             g. other topics as determined based on the training needs assessment required by

                 this Agreement.

         247.        CPD will also provide initial training on all of the topics identified above,

 as well as others, to all recruits as part of its recruit training curriculum.




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               248.         Supervisors of all ranks, as part of their initial pre-service promotional

      training and other identified supervisory training, will receive training on the following:

                  a. conducting use of force reviews or investigations appropriate to their rank;

                  b. strategies for effectively directing officers in de-escalation principles and


                     that is excessive or otherwise in violation of policy; and
                  c. supporting officers who report objectively unreasonable or unreported force,

                         or who are retaliated against for attempting to prevent objectively

                         unreasonable force.

VI.       RECRUITMENT, HIRING, AND PROMOTION

          A.          Guiding Principles

                         249.       Having a department that recruits, hires, and promotes officers

               who are qualified to meet the increasingly complex needs of law enforcement and

               that reflects a broad cross section of the Chicago community in which it serves is

               critical to accomplishing the following goals: running a professional police force;

               building community trust and confidence; increasing le



               perceptions of bias.

                         250.       The provisions of this Agreement are designed to ensure that CPD

               attracts, hires, retains, and promotes individuals who are equipped to perform their

               jobs safely, effectively, and in accordance with the law, CPD policy, and the terms

               of this Agreement. Further, this Agreement is designed to ensure that CPD promotes

               individuals who are capable of: providing effective supervision; guiding officers




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            under their command on lawful, safe, and effective policing; and holding officers

            accountable for misconduct.

       251.

will show a commitment to attracting, hiring, and promoting qualified candidates at all ranks that

reflect a broad cross section of the Chicago community the Department serves.

       252.    The Parties acknowledge that the City and CPD are currently subject to the City

                                                                               , dated May 14,

2014, which may be subject to change in the future.
       B.     Policies and Practices

                   253.        The City and CPD will ensure that its recruitment, hiring, and

            promotion policies and practices are lawful, fair, and consistent with best practices,

            anti-discrimination laws, and the terms of this Agreement.

                   254.        CPD will provide clear guidance on its policies and procedures for

            recruiting, hiring, and promoting police officers and will clearly allocate

            responsibilities for recruitment, hiring, and promotion efforts.

                   255.        To further this goal, the City and CPD will publish job

            descriptions for each sworn member title code, specifying the current duties,

            responsibilities, and minimum qualifications for each position.

                   256.        The City and CPD will continue to review any hiring and

            promotional exams to ensure they are fair, validated, and properly administered.

                   257.        CPD will inform officers of the role of the Office of the Inspector

            General          in overseeing the hiring and promotions processes.

       C.       Recruitment and Hiring



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           258.         By December 31, 2020, and at least every three years thereafter, CPD will

   assess its recruitment and hiring processes to ensure that its policies and practices comply

   with the law, are transparent, and are consistent with this Agreement.

           259.         The recruitment and hiring assessment will identify and consider:

              a. the core set of characteristics and capabilities of qualified recruits;

              b. methods for consideration of discriminatory or biased behavior by the

                  applicant against a member of a protected class in hiring decisions;

              c. barriers and challenges to successfully completing the recruit application

                  process;

              d. Department strategies for attracting and hiring qualified applicants that reflect

                  a broad cross section of the Chicago community;

              e. input, which could consider surveys, from successful and unsuccessful

                  applicants, recruits and other CPD members, community members,

                  community-based organizations, legal and law enforcement professionals, and

                  internal and external subject matter experts regarding the strengths and

                  weaknesses of the recruitment and hiring processes;

              f. recommendations for any modifications to the current recruitment and hiring

                  processes that would enable CPD to satisfy the requirements of this section;

                  and

              g. a plan for implementing any recommended modifications with a timeline for

                  implementation.

       260.   CPD will implement the plan above in Paragraph 259 in accordance with the

specified timeline for implementation.


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       D.       Sergeant and Lieutenant Promotions

       261.    Within 18 months of the Effective Date, and at least every three years thereafter,

CPD will obtain an independent expert assessment of its promotions processes for the ranks of

Sergeant and Lieutenant to ensure that its policies and practices comply with the law, are

transparent, and are consistent with this Agreement. The independent expert will review the

existing Hiring Plan, and any relevant collective bargaining agreements in order to conduct the

assessment of the Sergeant and Lieutenant promotions processes. The Sergeant and Lieutenant

promotions assessment, at a minimum, will identify:

               a. the processes by which CPD selects candidates for promotion to Sergeant and

                  Lieutenant who possess a core set of competencies, characteristics, and
                  capabilities and, when applicable, who are effective supervisors in compliance

                  with CPD policy and this Agreement;

               b. methods for c                                   disciplinary history in the

                  selection process;

               c. Department strategies for promoting qualified applicants who reflect a broad

                  cross section of the Chicago community;

               d. the frequency with which CPD should hold promotional exams;

               e. opportunities to increase transparency and officer awareness about the

                  promotions process and promotions decisions, including, but not limited to,

                  identifying criteria for promotions; and

               f. recommendations for any modifications to the current promotions processes,

                  which would enable CPD to address the requirements of this section. 262.

                      Within 60 days of the completion of the independent expert s promotions

                  assessment, CPD will develop an implementation plan to respond to any

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                    recommendations identified in the assessment, including any recommended

                    modifications to the promotions processes and a timeline for implementation.

                    Upon completion, CPD will share the results of the assessment and its

                    implementation plan with the Monitor for review and approval. Within 60

                                  approval, CPD will begin to implement the plan.

       E.        Captain and Commander Promotions

                    263.        Within 365 days of the Effective Date, CPD will identify and

            publish, both internally and externally, for the ranks of Captain and Commander, the

            duties, eligibility criteria, knowledge, skills, and abilities considered to select

            qualified candidates who are effective supervisors in compliance with CPD policy

            and this Agreement.

                    264.        Within 365 days of the Effective Date, CPD will develop strategies

            to increase transparency and awareness about the promotions process for the ranks of

            Captain and

Commander, including, but not limited to, criteria for promotions and promotion decisions.

VII.   TRAINING

       A.       Guiding Principles

                    265.        CPD will enhance its recruit training, field training, in-service

            training, and preservice promotional training so that they are sufficient in duration

            and scope to prepare officers to comply with CPD directives consistently, effectively,

            and in accordance with the law, CPD policy, best practices, and this Agreement.

                    266.        CPD training will reflect its commitment to procedural justice, de-

            escalation, impartial policing, and community policing.

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       267.

diligently and safely, and have an understanding of, and commitment to, the constitutional rights

of the individuals they encounter.

       268.    The training required under this Agreement is set out in this section and, for

specific topic areas, in the Community Policing, Impartial Policing, Crisis Intervention, Use of

Force, Officer Wellness and Support, and Accountability and Transparency sections.

       B.      Training Plan

       269.    The Parties acknowledge that in late 2016, CPD established the Training


program.

       270.    The TOC, or other similarly-structured oversight entity, will continue to review



include, in some capacity, personnel from various units of the Department that are responsible

for overseeing patrol field operations; administering training; providing legal advice;

coordinating and exercising supervision over disciplinary matters; managing data, technology,

and information systems; overseeing and coordinating the community relations strategy; and

reviewing reportable use of force incidents. It will meet at least once a month and continue to

record meeting minutes.

       271.

Education and Training Division will, under the supervision of the TOC, conduct a needs

assessment, which will, among other things identify and consider:

               a. information collected from use of force reviews, discipline and civilian

                   complaints, and reports of officer safety issues;


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               b. input from CPD members of all ranks and their respective collective

                   bargaining units, if applicable;

               c. input from members of the community;

               d. recommendations from CPD oversight entities, including, but not limited to

                   COPA, the Deputy Inspector General for Public Safety                        , and

                   the Police Board;

               e. changes in the law, to the Illinois Law Enforcement Training and Standards

                   Board requirements, and to CPD policy, if any;

               f. court decisions and litigation;

               g. research reflecting the latest in training and law enforcement best practices;

               h. information obtained from evaluation of training courses, instructors, and

                  FTOs; and
               i. member reaction to, and satisfaction with, the training they received.

       272.    Within one year of the Effective Date, and on an annual basis thereafter, the

Education and Training Division will develop        and the TOC will review and approve    a
written

                                       , in-service, and pre-service promotional training to ensure

that CPD members are trained to safely, effectively, and lawfully carry out their duties in

accordance with the law, CPD policy, best practices, and this Agreement. CPD will implement

the Training Plan in accordance with the specified timeline for implementation. The Training

Plan will:

               a. identify training priorities, principles, and broad goals consistent with this

                   Agreement;




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           b. prioritize the needs identified during the needs assessment and identify those

              needs that will be addressed by the plan;

           c. include a plan and schedule for delivering all CPD training as necessary to

              fulfill the requirements and goals of this Agreement;

           d. identify subject areas for CPD training;

           e. determine the mandatory and elective courses, consistent with this

              Agreement, to be provided as part of the In-Service Training Program;

           f. develop a plan to inform officers about the In-Service Training Program, its

              course offerings, and its requirements;

           g. determine which aspects of the In-Service Training Program can be delivered

              in a decentralized manner, including e-learning, and which training requires

              more intensive, centralized delivery, to ensure effective delivery and

              comprehension of the material;

           h. address any needed modification of the Field Training and Evaluation

              Program to fulfill the requirements and goals of this Agreement;

           i. identify necessary training resources including, but not limited to, instructors,

              curricula, equipment, and training facilities;

           j. determine the content, consistent with this Agreement, to be provided as part

              of pre-service promotional training for Sergeants, Lieutenants, Captains, and

              command staff;

           k. develop a plan to implement and utilize a centralized electronic system for

              scheduling and tracking all CPD training;




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               l. develop a plan to implement and utilize a system for assessing the content and

                   delivery of all CPD training, including training provided by outside

                   instructors or non-CPD entities; and

               m. identify community-based organizations that represent a broad cross section

                   of the city to participate, as feasible, practical, and appropriate, in the

                   development and delivery of the curriculum regarding subjects including, but

                   not limited to, procedural justice, de-escalation, impartial policing, and

                   community policing, and make efforts to encourage such participation by such

                   organizations.

       C.       Training Development and Delivery

       273.    With oversight from the TOC, CPD will develop and implement recruit, field,

inservice, and pre-service promotional training curricula and lesson plans t

                          Training Plan and that address the requirements and goals of this

Agreement.

       274.

pursuant to the Training Plan, will develop and approve training curricula, lesson plans, and

course materials that are (a) consistent across subjects; (b) of sufficient quality to adequately

communicate the intended subject matter to CPD members; and (c) in accordance with the law,

CPD policy, best practices, and this Agreement.

                   275.        The TOC will oversee the integration of the concepts of procedural

            justice, deescalation, impartial policing, and community policing into CPD training,

            including, but not limited to use of force, weapons training, and Fourth Amendment

            subjects, as appropriate.


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                 276.        The TOC will oversee continued development and integration of

          instructional strategies that incorporate active learning methods such as problem-

          solving, scenario-based activities, and adult learning techniques     in addition to

          traditional lecture formats   into training delivery.

                 277.        Where it would add to the quality or effectiveness of the training

          program, the Education and Training Division will seek the assistance of outside

          expertise, as feasible, practical, and appropriate, either in developing or reviewing

          CPD curricula and lesson plans, or reviewing pilot versions of CPD courses.

                 278.        The TOC will continue to oversee a process that effectively

          incorporates material changes in relevant case law, statutes, and CPD policy into

          recruit, field, in-service, and preservice promotional training in a timely and effective

          manner.

                 279.        All training materials disseminated to CPD members and

          displayed at CPD facilities will reflect current CPD policy.

                 280.        CPD will develop, implement, and utilize a centralized electronic

          system for scheduling and tracking all CPD training to allow the Education and

          Training Division to effectively plan and manage training schedules and instructor

          assignments for all training. 281. The City will be responsible for providing

          appropriate training facilities that offer adequate access to safe and effective training.

     D.        Instructor Selection and Development

                 282.        All CPD training instructors must be appropriately qualified for

          their instructional roles and use only approved curricula and lesson plans. CPD will

          actively recruit and retain qualified instructors to ensure that CPD has sufficient


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        qualified instructors to meet the needs of the Department and requirements of the

        Training Plan.

               283.        As appropriate to accomplish the requirements and goals of this

        Agreement, CPD will incorporate experts and guest speakers to participate in the

        development and instruction of relevant courses, as feasible, practical, and

        appropriate, including, but not limited to:

           a. CPD members of all ranks;

           b. members of the community;

           c. legal and law enforcement professionals, such as judges, prosecutors, and

               public defenders;

           d. crime victims; and

           e. subject matter experts.

               284.        CPD will require that all new and current Education and Training

        Division instructors and curriculum developers are certified by the Illinois Law

        Enforcement Training and Standards Board and, as appropriate to their roles, receive

        initial and annual refresher training on subjects including, but not limited to, effective

        teaching, adult-learning techniques, and curriculum development. CPD will further

        require that instructors are trained in the specific subject matter they are assigned to

        teach and are also cross-trained in other related subjects so that they are equipped to

        deliver effective interdisciplinary instruction. Instructor training will also include

        peer review.

               285.        The Education and Training Division will conduct annual

        instructor performance reviews. Performance reviews will include classroom


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          observations, member feedback, and inperson meetings with instructors to discuss

          performance and areas of improvement. These performance reviews will be

          considered in assessing whether instructors may continue to serve in that role.

     E.       Training Evaluation

                 286.        The review and analysis of the content and delivery of training will

          enable CPD to determine whether the training provided to members effectively

          prepares them to police fairly, safely, and in accordance with the law, CPD policy,

          best practices, and this Agreement.

                 287.        Pursuant to its Training Plan, CPD will develop and implement a

          process that provides for the collection, analysis, and review of course and instructor

          evaluations to document the effectiveness of existing training and to improve the

          quality of future instruction and curriculum. This process will include member

          feedback on the training they have received and analysis of the extent to which such

          training is reflected in how members perform. The Education and Training Division

          will consider this information in conducting its annual needs assessment.

                 288.        The Education and Training Division will develop and implement

          a process to maintain audits, reviews, assessments, or evaluations of the sufficiency

          or effectiveness of the training programs.

                 289.        CPD will develop and implement testing policies and procedures

          to ensure that any member testing that is administered is reliable and fair. To achieve

          this purpose, both knowledge-based and performance-based tests will be designed,

          developed, administered, and scored according to best practices. All tests will assess




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            the knowledge and skills required for successful job performance and will align with

            the materials delivered in training.

       F.       Training Records

       290.     CPD will develop, implement, and utilize a centralized electronic file system for

assessing the content and delivery of all CPD training, including training provided by outside

instructors or non-CPD entities. This system will allow the Education and Training Division to

electronically track and maintain complete and accurate records of all training provided to CPD

members, including curricula, lesson plans, training delivered, member feedback, assessments,

and other training materials. This system will, at a minimum:

                a. maintain training records for each member of the Department;

                b. record the course description, duration, curriculum, date, location, and the

                    members who completed the training; and

                c. identify members who did not complete required training and describe

                    remedial training actions that were taken.

                    291.       The Education and Training Division will document all training

            provided to or received by CPD members, whether required or not. Members will

            sign an acknowledgement of attendance or digitally acknowledge completion of

            training.

                    292.       The Education and Training Division will, on an annual basis,

            report on training to the TOC and the Superintendent. At a minimum, this report will:

                a. contain a description of each course, including a summary of the subject

                    matter;




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             b. state the duration, date, location, and number of persons by rank who

                 completed the training;

             c. identify whether the training was part of the recruit, in-service, or pre-service

                 promotional training program;

             d. state whether the training was centralized or decentralized, and delivered in

                 person or through electronic means;

             e. list whether the training was mandatory, elective, or remedial; and

             f. document the members who did not complete required training and any

                 remedial training actions taken.

     G.       Recruit Training

                 293.        A solid foundation of recruit training is important for equipping

          new police officers with the skills, knowledge, and values to police fairly, safely,

          effectively, and in accordance with the law, CPD policy, best practices, and this

          Agreement.

                 294.        CPD will ensure that upon graduation from the Academy, recruits

          demonstrate a firm grasp of the basic technical and tactical skills, critical thinking,

          problem-solving, and interpersonal skills that form the basis for safe and effective

          policing. In order to do so, CPD will



                295.         The Parties acknowledge that CPD, through its Recruit Curriculum
          Working




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Group, revised and updated the content and delivery of its recruit training curriculum in 2017.

CPD will further modify the amount, content, and delivery of its recruit training to comport with

its Training Plan and the requirements and goals of this Agreement.

                    296.        CPD will ensure that the Academy is sufficiently staffed to

            effectively train recruits. CPD will further ensure that, except in extraordinary

            circumstances, courses are scheduled with sufficient advance time for instructors to

            be notified of the class and to properly prepare and deliver quality instruction.

                    297.        CPD will require end-of-course training evaluations of recruits that

            ensure they graduate with the requisite knowledge and skills to engage in policing

            activities safely, effectively, and lawfully.

       H.        Field Training and Evaluation Program

                    298.        An effective field training program is necessary for reinforcing the

            policies, practices, and skills taught in recruit training and instilling in new police

            officers the principles of safe, effective, and lawful policing that will guide them

            throughout their careers. CPD will



                                                                                                      -

escalate or use force in accordance with the sanctity of life, the law, CPD policy, and this

Agreement.

                  299.          CPD will revise, as necessary and appropriate, the Field Training
            and Evaluation




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                  300.         The Field Training and Evaluation Program will follow recruit

           training and be at least 12 weeks in duration and include at least three training cycles.

           The Field Training and

                                                                                     ield qualified,

as defined by this Agreement, until they have successfully completed the entire program.

                  301.         CPD will review and revise as necessary its FTO selection policies

           and procedures to establish and implement a program that effectively attracts and

           retains qualified

FTOs.

                  302.                     ies and procedures will continue to delineate the

           criteria and methodology for selecting FTOs. Subject to its collective bargaining

           agreements with the CPD unions, CPD will review and, as appropriate, revise its

           eligibility criteria and promotional practices to ensure that FTOs are selected based

           on their applications, previous performance as police officers, FTO training

           examination scores, and disciplinary histories.

                  303.         FTOs will receive initial and refresher training that is adequate in

           quality, quantity, scope, and type, and that addresses subjects including, but not

           limited to management and mentoring, community policing, effective problem-

           solving techniques, ethics, diversity, field communication, and any recent substantive

           changes made to the recruit training curriculum. FTOs will receive refresher training

           on an annual basis as part of the In-Service Training Program outlined in this

           Agreement. FTOs will be promptly notified of any substantive changes to policies

           and practices that affect their roles as mentors and trainers of PPOs.

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                304.        FTOs will be required to maintain and demonstrate their

         proficiency in managing and mentoring PPOs, as well as modeling and teaching, by

         their example, procedural justice, deescalation, impartial policing, and community

         policing. The Education and Training Division will maintain documentation of the

         training of FTOs. The Bureau of Patrol will maintain documentation of the

         evaluations of FTOs.

                305.        CPD will revise the Field Training and Evaluation Program to

         ensure that no more than one PPO is assigned to an FTO during each training cycle.

         The City will provide CPD with the necessary support and resources to designate a

         sufficient number of FTOs to meet the requirements of this Agreement. Officers

         performing FTO duties in a temporary capacity are considered FTOs under this

         Agreement so long as they meet the requirements set forth for FTOs in this

         Agreement, except for the selection requirements.

                306.        CPD will ensure that PPOs in the Field Training and Evaluation

         Program train with different FTOs during each of their training cycles.

                307.        CPD will ensure that PPOs awaiting assignment to an FTO will

         not be placed on assignments in the field without adequate supervision. CPD will

         track and document all instances of PPOs placed in field assignments prior to starting

         the Field Training and Evaluation Program.

                308.        The Field Training and Evaluation Program will continue to

         require that FTOs document PPO progress and performance each day in the Daily

         Observation Report, at the end of each of the first two cycles in the Cycle Summary

         Report, at the end of the third cycle in the


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Final Summary Report and, if necessary, at the end of any additional cycles in the Remedial

Summary Report. FTOs will identify and document in those reports areas for PPO improvement.

                 309.        In each Cycle Summary Report, the FTO will assess whether the
           PPO should


Field Training and Evaluation Program standards.

       310.                                                  order to complete the Field Training

                                                             field qualified,      -of-cycle

                                                     reports must

be completed by the FTO and reviewed and approved by the necessary supervisors.

                  311.       FTOs may recommend specific remedial field or classroom

           training for a PPO. Any recommendation for remedial training will be provided as

           promptly as possible to the



limited to, the Final Summary Report or Remedial Summary Report. Recommendations for

remedial training must be reviewed by the necessary supervisors and, if approved, recommended

training must be completed by the PPO before the PPO completes the Field Training and

Evaluation Program.

                  312.       The Field Training and Evaluation Review Board, or other entity
           with similar


supervisor and have the power to recommend separation, re-training by the Academy, or

additional field training. A request for review by the Board must be made, and the Board must

                                  field qualified


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Field Training and Evaluation Review Board will provide all such referrals and

recommendations for action to the Chief of the Bureau of Patrol.

                  313.        CPD will create a mechanism for PPOs to provide confidential

           feedback regarding their field training, including the extent to which their field

           training was consistent with what they learned at the Academy; whether their FTOs

           did or did not provide effective guidance and instruction; and suggestions for changes

           to recruit training based upon their experience in the Field Training and Evaluation

           Program.

                  314.        The Education and Training Division and Bureau of Patrol will

           review, consistent with their scope of responsibility within the Field Training and

           Evaluation Program, aggregate PPO feedback on a quarterly basis; document their

           responses, including the rationale behind any responsive action taken or decision to

           take no action; and share such feedback with the TOC and, as necessary, FTOs and

           FTO supervisors.

                  315.        CPD will create a mechanism for FTOs to provide feedback

           regarding the quality of the Field Training and Evaluation Program, including

           suggestions for changes to FTO training, the PPO evaluation process, and recruit

           training. The Education and Training Division and Bureau of Patrol will review,

           consistent with their scope of responsibility within the Field Training and Evaluation

           Program, FTO feedback on a quarterly basis and, as necessary and appropriate, share

           such feedback with the TOC, FTOs, and FTO supervisors.

                  316.        The TOC will annually review the Field Training and Evaluation

           Program and consider best practices in this area as well as feedback and


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           recommendations from FTOs and PPOs. Additionally, the TOC will review referrals

           and recommendations by the Field Training and Evaluation Review Board to the

           Bureau of Patrol. Based on this information, the TOC will recommend to the

           Superintendent the implementation of any appropriate changes to policies or

           procedures related to the Field Training and Evaluation Program.

      I.        In-Service Training Program

                  317.        Regular in-service training is critical to ensure that CPD officers

           continue to hone important policing skills and remain up-to-date on changes in the

           law, CPD policy, technology, community expectations, and developments in best

           practices. In-service training should, as

                                                                    -escalation, impartial policing,

and community policing.

                  318.        The Parties recognize that CPD has begun to develop and

           implement an InService Training Program for its officers. The Parties acknowledge

           that CPD has developed a project plan establishing development and implementation

           of the In-Service Training Program from 2018 through 2019 that includes the

           following components:

              a. a list of planned courses, including the status of the development and approval

                  of any new course curricula;

              b. the dates that CPD officers collectively will start and complete the planned

                  courses;

              c. the identification of any need for additional instructors, equipment, and

                  training facilities and a schedule for addressing the needs; and


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              d. a list of CPD personnel responsible for overseeing each project plan task.

                319.       CPD will implement the In-Service Training Program to
          comport with the

Training Plan and the requirements and goals of this Agreement.

                  320.       The In-Service Training Program will require that all non-

          probationary police officers who are active duty and available for assignment,

          including supervisors and command staff, receive, at a minimum, the following

          amount of in-service training each year:

              a. 16 hours by the end of 2018;

              b. 24 hours by the end of 2019;
              c. 32 hours by the end of 2020; and

              d. 40 hours by the end of 2021, and in each subsequent year.

                  321.                 -Service Training Program will include specific courses

          that will be mandatory for every officer in that training year.

                  322.                 -Service Training Program may also offer specific

          courses as elective subjects. The elective subjects will be selected and approved by

          the TOC in accordance with the Training Plan. The TOC will solicit and consider

          officer requests and will rely on the Education



                  323.       As part of the In-Service Training Program, mandatory and

          elective courses will be apportioned as follows:

              a. in 2018, CPD will require that each officer receive at least 16 hours of

                  inperson mandatory courses;



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            b. in 2019, CPD will require that each officer receive at least 16 hours of

                inperson mandatory courses, with the remaining 8 hours to be provided either

                as mandatory or elective courses, as determined by the TOC;

            c. in 2020, CPD will require that each officer receive at least 24 hours of

                inperson mandatory courses, with the remaining 8 hours to be provided either

                as mandatory or elective courses, as determined by the TOC;

            d. starting in 2021, and every year thereafter, CPD will require that each officer

                receive at least 24 hours of in-person mandatory courses with the remaining

                16 hours to be provided either as mandatory or elective courses, as determined

                by the TOC; and

            e. this Agreement does not require CPD to provide more than 40 hours of annual

                department-wide in-service training.

                324.        Various sections of this Agreement contain in-service training

         requirements which require CPD to provide some or all of its members with training

         on specific topics. CPD retains the discretion to determine the sequencing,

         scheduling, and location of such training, unless otherwise specified by this

         Agreement, provided that: all in-service training identified herein will begin no later

         than the 2021 calendar year; is adequate in quantity, quality, type, and scope; and is

         consistent with the terms of this Agreement.

                325.        The Parties acknowledge that CPD has begun to develop and

         implement decentralized training in CPD districts and units. To date, decentralized

         training instructors have

                                                                          d instructor


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certification by the Illinois Law Enforcement Training and Standards Board.

                  326.        Training provided through the In-Service Training Program may

          take place at the Academy or in a decentralized manner, including at the district or

          unit level, so long as the training is:

              a. developed by the Education and Training Division;

              b. reviewed by the TOC and approved by the Education and Training Division

                  before training is delivered; and

              c. taught by instructors pursuant to the requirements provided above Part D of

                  this section.

                  327.        Courses offered by CPD to fulfill the portion of the In-Service

          Training Program not required to be delivered in person may be provided through e-

          learning or other electronic means, so long as they are reviewed and approved by the

          TOC and are consistent with this Agreement. In considering e-learning courses for

          approval, the TOC will ensure that instructional objectives can be sufficiently

          achieved through e-learning. Following the completion of any e-learning course

          provided as part of the In-Service Training Program, CPD will test participants on

          their comprehension of the underlying subject matter.

                  328.        CPD will develop and implement a process for addressing non-

          compliance with training requirements to ensure that all officers who are active duty

          and available for assignment, including supervisors and command staff, successfully

          complete all required training programs within the time frames set out in this

          Agreement.




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                  329.        Officers, including supervisors and command staff, returning to

           active duty after taking a leave of absence of a year or more must complete all

           mandatory training content required as part of the In-Service Training Program that

           was missed during the previous three years, in addition to the mandatory courses

           required in the current year.

              a. At a minimum:

                  i. officers must complete training on the content required in Part F of the Use

                  of Force section of this Agreement before returning to assignment; and ii.

                  officers must complete training on all other mandatory content required

                  during the previous three years within the first full year of resumed active

                  duty.

              b. Where the same mandatory content has been updated or required multiple

                  times during the period of inactivity, officers are only required to take the

                  most recent offering. The training required in this paragraph will count

                  towards the total amount of training required by the In-Service Training

                  Program.

      J.       Supervisory Training

                  330.        Effective, comprehensive pre-service promotional and in-service

           training for supervisors is essential to successful supervision.

                  331.        CPD will require that every newly promoted supervisor, except

           those promoted to the rank of Commander and above, receives mandatory

           supervisory, management, leadership, and command accountability training, tailored

           to each level of supervision and command before assignment to a supervisory rank or


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         assumption of supervisory responsibilities associated with a particular supervisory

         rank.

                 332.          CPD will require that supervisors, upon their first promotion to the

         rank of Commander or above, receive mandatory supervisory, management,

         leadership, and command accountability training, tailored to command staff positions

         within six months of assignment to or assumption of supervisory responsibilities as a

         member of             command staff.

                 333.          The amount of pre-service promotional training may differ

         according to rank and command, but all pre-service promotional training will be

         adequate in quality, quantity, type, and scope and will cover topics appropriate to the

         specific rank and command.

                 334.          By January 1, 2020, as appropriate and tailored to the specific rank

         and command, pre-service promotional training will include, but not be limited to:

            a.                                        -wide crime reduction strategies;

            b. specific methods for developing district-level crime reduction strategies that

                 are consistent with the principles of community policing, and tools and

                 techniques on how best to communicate with officers on how to incorporate

                 principles of community policing in implementing those crime reduction

                 strategies;

            c. techniques for effectively guiding and directing officers and promoting

                 effective and ethical police practices, including detecting and addressing

                 biasbased profiling and other forms of discriminatory policing;

            d. de-escalation strategies and the principles of force mitigation;


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            e. intervening on a subject s behalf when observing a use of force that is

                 excessive or otherwise in violation of policy;

            f. evaluating the completeness, correctness, and sufficiency of written reports;

            g. monitoring, reviewing, and investigating uses of force to ensure consistency

                 with CPD policies;

            h. understanding the function and proper use of supervisory tools, such as Early



                 i.

                 annual performance evaluation process;

            j.                                                                           -

                 punitive corrective action;

            k. mentoring officers and fostering career development;

            l.   responding to allegations of officer misconduct, including, but not limited to,

                 excessive force and racial discrimination, for purposes of documenting the

                 complaint and reporting it to COPA;

            m. building community partnerships and guiding officers on how to implement

                 this requirement; and

            n. CPD policy and legal updates.

                             335.   The pre-service promotional training for new Sergeants and

                      Lieutenants will include a field training component to provide newly

                      promoted supervisors with a better understanding of the requirements of

                      the position to which they have been promoted.




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                         a. The field training component for new Sergeants will consist of

                             two days of shadowing current Sergeants in districts: one day

                             observing the activities of a District Station Supervisor and one

                             day observing the activities of a Field Sergeant.

                         b. The field training component for new Lieutenants will consist

                             of one day of shadowing a current Lieutenant in a district and

                             observing the activities of a Watch Operations Lieutenant.

                         336.    Within 30 days of the Effective Date, CPD will develop a

                  formalized structure for the field training component to ensure consistency

                  across districts. This structure will include a process for selecting which

                  supervisors will be shadowed and guidance materials to ensure that the

                  topics and information regarding supervisor responsibilities covered

                  during the field training component are consistent with CPD policy and

                  this Agreement.

                         337.    CPD will ensure that all supervisors who are active duty

                  and available for assignment also receive in-service training consistent

                  with the requirements of CPD s In-Service Training Program. As part of

                  the In-Service Training Program, supervisors will receive refresher

                  training related to their supervisory duties and training that covers

                  managerial and leadership skills. The in-service training for supervisors

                  may include, but is not limited to, the topics identified above for pre-

                  service promotional training.




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                         338.      Any training course offered as part of a pre-service

                  promotional training, which is also a mandatory In-Service Training

                  Program course, satisfies that mandatory In-Service Training Program

                  requirement. Any other training course completed during a pre-service

                  promotional training will count towards the total amount of training

                  required by the In-Service Training Program requirement.

     K.     Training on this Agreement

                         339.      Within 90 days of the Effective Date, CPD will require that

                  all members who are active duty and available for assignment are

                  provided with training on the requirements of this Agreement, together

                  with its goals, implementation process, and timelines.

                         340.      In connection with issuing a policy or procedure pursuant

                  to this Agreement, CPD will ensure that:

                         a. all relevant CPD members review their responsibilities

                             pursuant to the policy or procedure, including the requirements

                             that each member is held accountable for their compliance and

                             is required to report violations of policy;

                         b. supervisors of all ranks are informed that they will be held

                             accountable for identifying and responding to policy or

                             procedure violations by members under their direct command;

                             and

                         c. CPD can document that each relevant CPD officer or other

                             employee has received and reviewed the policy.


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VIII. SUPERVISION

       A.        Guiding Principles

       341.      Effective supervisors, who lead by example and actively engage with the

subordinates under their direct command, play a critical role in ensuring lawful, safe, effective,

and community-centered policing. To achieve this outcome, the Parties agree to the requirements

set out below.

       342.      The provisions of this Agreement are designed to ensure that CPD supervisors

provide the effective supervision necessary for members to perform their duties lawfully, safely,

and effectively and for members to improve and grow professionally. Further, the provisions of

this Agreement are designed to allow supervisors to spend time monitoring and training

members under their direct command so as to provide adequate opportunities to prevent,

promptly identify, and promptly correct adverse officer behavior. This meaningful supervision

will facilitate the establishment and re-enforcement of a culture of community policing,

community and officer safety, and accountability throughout the Department.

       343.      CPD should have the staffing necessary to promote lawful, safe, effective, and

community-centered policing; provide effective supervision; ensure officer safety and

accountability; and implement the terms of this Agreement.

       344.      Immediate supervisors of all ranks are responsible for supervising, managing, and

overseeing, as appropriate, the day-to-day work activities of members under their direct

command.

       345.      Supervisors of all ranks are accountable for the performance of subordinate

members directly observed or under their direct command.

       346.      Effective supervisors will:


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               a. engage in activities and conduct that support the mission and goals of the

                  Department, including those set forth in this Agreement;
               b. model appropriate conduct, including abiding by high standards of integrity

                   and adhering to the United States Constitution and other laws, CPD policy,

                   and the terms of this Agreement; and

               c. consistently demonstrate professionalism, courtesy, and respect towards all

                   people with whom they interact.

       B.       Responsibilities and Duties

       347.    CPD will require its supervisors, through policy and auditing, to consistently

apply CPD policies and procedures from shift to shift, among all geographic areas of the city,

and in all units of the Department.

       348.    By January 1, 2020, CPD will review and, as necessary, revise its policies for

supervision to ensure that such policies set out clear responsibilities for supervisors to comply

with the requirements of this Agreement. CPD will inform all supervisors of their specific duties

and responsibilities that are required by CPD policies, including this Agreement.

       349.    CPD will require that all supervisors perform their specific duties and

responsibilities in compliance with CPD policy, including the terms of this Agreement.

       350.    CPD will regularly inform its members, including supervisors, of available

training, professional development opportunities, and employee assistance resources.

       351.    Supervisors of all ranks will effectively supervise the members under their

command to ensure accountability across the Department.

       352.    Effective supervision requires that all supervisors, at a minimum, will:




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             a. establish and enforce the expectation that members under their command

                 perform their duties in a manner that complies with federal and state law,

                 CPD policy, this Agreement, and that is consistent with the principles of

                 procedural justice, de-escalation, impartial policing, and community policing;

             b. provide leadership, guidance, mentoring, direction, and support to members

                 under their command to promote improved performance and professional

                 development; and

             c. lead efforts to ensure that members under their command are working actively

                 to engage the community and promote public trust and safety.

      353.   Additionally, effective supervision requires that immediate supervisors will, for

members under their direct command:

             a. respond to, review, and investigate uses of force and other incidents and

                 conduct as required by CPD policy and this Agreement;

             b. monitor, manage, and coordinate incident response;

             c. confirm the correctness, sufficiency, and completeness of written reports

                 submitted for review and approval;

             d. identify any adverse behavior or misconduct and ensure that it is adequately

                 addressed through corrective action, training, or referral for discipline;

             e. respond appropriately to each complaint of misconduct received, in



             f. review and act upon information regarding at-risk behavior by the members

                 under their direct command, as required by the Data Collection, Analysis, and

                 Management section of this Agreement;


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               g. advise members under their direct command of available training,

                   professional development opportunities, and employee assistance resources;

               h. conduct annual performance evaluations and meet with members under their

                   direct command on an ongoing basis as necessary to provide guidance,

                   mentoring, direction, and support to the members regarding their performance

                   and to identify areas for improvement; and

               i. document the performance of their supervisory duties as required by CPD

                   policy and this Agreement using the appropriate records management system,

                   the Performance Recognition S PRS         , and/or the EIS.

       354.    During their tour of duty, immediate supervisors in the Bureau of Patrol will

spend time interacting with, observing, and overseeing the members under their direct command,

including time in the field, consistent with their duty assignment.

       355.    Immediate supervisors will be required to document their actions taken with

members under their direct command, pursuant to CPD policy, including, but not limited to:

               a. non-disciplinary or corrective actions, including, but not limited to, those

                   taken pursuant to any internal or external review of the conduct of CPD

                   officers or taken pursuant to the operation of any existing and future

                   automated electronic systems contemplated by Part D of the Data Collection,

                   Analysis, and Management section of this Agreement;

               b. disciplinary referrals;

               c. response to incident scenes as required by CPD policy;

               d. observations of member conduct, as required by CPD policy; and




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               e. reviews and investigations of reportable uses of force and other reports

                   required by CPD policy and this Agreement.

       C.       Staffing, Allocation, and Deployment

       1.      Generally

       356.    As otherwise set out in this Agreement, CPD will ensure that it makes staffing

and allocation decisions that provide for:

               a. the number of patrol field supervisors to ensure span of control and unity of

                   command as required in this Part;

               b. the number of well-trained, qualified FTOs, as required in Part H of the

                   Training section of this Agreement;

               c. the number of well-trained, qualified staff to train recruits and officers, as

                   required in Part D of the Training section of this Agreement;

               d. the number of well-trained, qualified staff to conduct timely misconduct

                   investigations, as required in the Accountability and Transparency section of

                   this Agreement;

               e. the number of certified CIT Officers, as required in Part D of the Crisis

                   Intervention section of this Agreement; and

               f. the number of officer assistance and wellness staff as required in the Officer

                   Wellness and Support section of this Agreement.

       2.       Unity of Command and Span of Control

       357.    The City and CPD will deploy a sufficient amount of qualified supervisors to

provide effective supervision, as outlined in this section.

       358.    For purposes of this section, the following definitions apply:


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               a.             law enforcement

                     currently organized into three police areas (North, Central, South), with the

                     responsibility of general field operations, including but not limited to, the

                     protection of life and property; enforcement of laws and ordinances; and

                     response to dispatched calls for service.

               b.

                     specialty cars (squadrol, traffic car, and park car), assigned to watch field

                     operations in district law enforcement.

                c.            means a specific and contiguous grouping of geographic beats within

                     a designated district or a Sergeant and a team of officers assigned to field

                     units within district law enforcement.

               d.             control

                     supervisor for a tour of duty.

               e.              command

                     identified immediate supervisor. Additionally, officers and their immediate

                     supervisor will regularly have the same start time, the same day-off-group,

                     and patrol the same geographic areas.

       359.    CPD will ensure that the principles of unity of command and span of control are

realized for watch personnel assigned to field units within district law enforcement.

       360.    By January 1, 2020, CPD will develop a staffing model to achieve the principles




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implement unity of command and a span of control ratio of no more than ten officers to one

Sergeant for all field units

objective, CPD will maintain, at a minimum, one Sergeant for each sector.

        361.    In order to achieve unity of command and a span of control of no more than ten

officers to one Sergeant in the field units on each watch in each patrol district, the staffing model

may consider:

                a. staffing requirements for watch operations, including, but not limited to,

                    watch personnel assigned to field duties and watch administration functions;

                b. staffing requirements for all other district law enforcement functions,

                    including, but not limited to, district administration, community policing, and

                    tactical teams;

                c. data-driven resource allocation methods incorporating district-specific factors,

                    including, but not limited to, calls for service, public violence, and property

                    crime; and

                d. any other considerations CPD deems relevant to achieving unity of command

                    and a span of control ratio of no more than ten officers to one Sergeant in all

                    field units

        362.    By January 1, 2020, CPD will develop a system and protocols to allow the

Department to assess, both long-term and on a day-to-day basis, whether field units on each

watch in each patrol district meet the requirements for unity of command and span of control.

        363.    When calculating the span of control ratios for field units, CPD may not use

department-wide averages or factor in span of control ratios for Bureau of Patrol units or

functions that are not included in the definition of field units above.

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        364.    Beginning no later than January 31, 2020, CPD will begin to implement a staffing

model to achieve unity of command and a span of control ratio of no more than ten officers to

one Sergeant assigned to field units on each watch in each patrol district.

        365.    By January 31, 2022, CPD will fully implement and maintain a staffing model

that achieves unity of command and a span of control ratio of no more than ten officers to one

Sergeant for all field units

objective, CPD will maintain, at a minimum, one Sergeant for each sector.

        366.    CPD will continue to maintain unity of command and a span of control ratio of no

more than ten officers to one Sergeant for district tactical teams and area saturation teams.

        367.    CPD may review and revise its staffing model as necessary to ensure that all field

units on each watch in each patrol district achieve unity of command and a span of control ratio

of no more than ten officers to one Sergeant.

        368.    Beginning 365 days after the Effective Date, and annually thereafter, the Monitor


ratio of no more than ten officers to one Sergeant.

       D.        Performance Evaluation

        369.    A performance evaluation process will enable CPD to identify, support, and

recognize members who perform their duties lawfully, safely, and effectively, as well as to

identify and respond to members who perform poorly, demonstrate adverse behaviors, or engage

in inappropriate conduct or conduct that otherwise undermines member or public safety and

community trust.

        370.    CPD s performance evaluation process will identify, support, and recognize

members activity, performance, and conduct through an assessment of specific quantitative and


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qualitative performance dimensions, which will address, among other things, constitutional

policing, community policing, problem-solving, and the effective use of de-escalation or

specialized training. Although CPD may use quantitative measures in evaluating members to

ensure that members are performing their required duties, CPD will not require members to

achieve specific numerical thresholds, such as the number of arrests, investigatory stops, or

citations. CPD will ensure that its performance evaluation process is consistent with the law and

best practices. Within 18 months of the Effective Date, CPD will revise its performance

evaluation policies and practices as necessary to meet the requirements of this Agreement.

       371.    Annual performance evaluations for members of all ranks, excluding the

Superintendent, will be based upon work performance completed during a specific rating period



proficiency in fulfilling the specific duties and responsibilities of the assigned position, unit, or

team; any areas of particular growth and achievement; and areas where the member requires

further support and/or supervision. The evaluation process will provide for support, feedback,

communication of expectations, and, when appropriate, corrective actions.

       372.    CPD will require supervisors of all ranks to conduct timely, accurate, and

complete performance evaluations.

       373.    Supervisors may only conduct a performance evaluation of members they have

directly supervised and observed during the specific rating period.

       374.    In addition to the formal annual performance evaluation, supervisors will meet

with members under their direct command on an ongoing basis as necessary to provide

guidance, mentoring, direction, and support to the members regarding their performance and to

identify opportunities for improvement.

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       375.    Supervisors will recognize, when appropriate, formally (e.g., recommendation for

commendation) and/or informally (e.g., public and private praise) subordinate members who

demonstrate a commitment to procedural justice, de-escalation, impartial policing, and/or

community policing.

       376.    CPD will maintain records of performance evaluations in the appropriate

electronic data tracking system.

IX.     OFFICER WELLNESS AND SUPPORT

       A.       Guiding Principles

       377.    In fulfilling their duties, CPD members expose themselves to significant danger,

high stress, and a wide spectrum of human tragedy. There is growing recognition that

                                                                       lationships, job

performance, and safety. The City and CPD have an obligation to help CPD members cope with

the consequences that come from their service to the public.

       378.

support systems to treat members experiencing mental health, substance abuse, and other

emotional challenges.

       379.

a manner that enables them to do their jobs as safely as reasonably possible. CPD will ensure

that the safety of its members is not jeopardized by equipment and technology that is outdated,

broken, or in need of repair or replacement.

       380.    The City and CPD will implement the following requirements in order to achieve

a healthy, effective, and constitutionally compliant police force.

       B.        Expanding and Improving Officer Support Systems


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       381.    CPD will provide its members with a range of support services that comport with

mental health professional standards and that seek to minimize the risk of harm from stress,

trauma, alcohol and substance abuse, and mental illness. These support services will include:

readily accessible confidential counseling services with both internal and external referrals; peer

support; traumatic incident debriefings and crisis counseling; and stress management and officer

wellness training.

       1.       Officer Support Systems Plan

       382.    CPD currently offers clinical counseling services, programs regarding alcoholism

and other addictions, and a peer support program to help CPD members cope with the

psychological and personal toll their jobs can impose. By September 1, 2019, CPD will complete

a needs assessment to determine what additional resources are necessary to ensure the support

services available to CPD members comport with best practices and mental health professional

standards.

       383.    The needs assessment should analyze, at a minimum:

               a.

               b. the current workload of the licensed mental health professionals and drug and

                     alcohol counselors employed by CPD;

               c. how long it takes CPD members requesting counseling services to be seen by

                     a licensed mental health professional or drug and alcohol counselor;

               d.

               e. the frequency and reasons for referrals of CPD members to clinical service

                     providers external to CPD and the quality of those services;




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               f. CPD member feedback, through statistically valid surveys that ensure

                    anonymity to participants consistent with established Professional Counseling

                    Division guidelines, regarding the scope and nature of the support services

                    needs of CPD members and the quality and availability of services and

                    programs currently provided through the Employee Assistance Program;

               g. similar mental health services offered in other large departments, including

                    the ratio of licensed mental health professionals to sworn officers and the

                    number of counseling hours provided per counselor per week;

               h. guidance available from law enforcement professional associations;

               i.   the frequency and ade

                    regarding the support services available to them;

               j.   the frequency, quality, and demand for in-service trainings related to stress

                    management, officer wellness, and related topics; and

               k. the quality of recruit training related to stress management, officer wellness,

                    and related topics.

       384.    Within 60 days of the completion of the needs assessment, CPD will develop a

plan, including a timeline for implementation, to prioritize and address the needs identified




with the specified timeline for implementation.

       385.                                                  ystems Plan, CPD will develop and

implement a communications strategy. The objectives of this communications strategy will be:

               a. to inform CPD members of the support services available to them;

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              b. to address stigmas, misinformation, or other potential barriers to members

                   using these services; and

              c.

                   operations.

       386.   As part of this communications strategy, CPD will, at a minimum:

              a. make information about the support services available, on a continuing basis,

                   to members on its internal websites;

              b. post information, including pamphlets and posters, in each CPD facility in

                   areas frequented by officers;

              c. issue wallet-sized cards to every CPD member with contact information for

                   the CPD support services available;

              d. inform and remind members about the CPD support services offered,

                   including providing handouts with contact information, at the annual use of

                   force training required by this Agreement, during Academy training of new

                   recruits, and at in-service trainings relating to stress management and officer

                   wellness;

              e. provide training to supervisory personnel regarding available CPD officer

                   support services and strategies for communicating with officers about these

                   services in a manner that minimizes any perceived stigma; and

              f. seek to identify and correct misperceptions among CPD members about

                   receiving counseling services.

       387.   Within 180 days of the Effective Date, CPD will develop and implement a roll

call training to explain and address the effects on Firearm Owners                           card


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eligibility, if any, when a CPD member seeks or receives CPD support services, including, but

not limited to, counseling and mental health treatment.

       388.    As a component of the Officer Support Systems Plan, by January 1, 2020, CPD




implemented in other large departments and incorporate guidance available from law

enforcement professional associations. The Suicide Prevention Initiative will be overseen by a

licensed mental health professional working in conjunction with a command staff member.

       389.    At least annually, the Director of the Professional Counseling Division will

provide a written report to the Superintendent, through his or her chain of command, that

includes anonymized data regarding support services provided to CPD members, how long it

takes CPD members requesting counseling services to receive them, and other metrics related to

the quality and availability of these services. This report will also contain resource, training, and

policy recommendations necessary to ensure that the support services available to CPD members

reasonably address their identified needs and comply with the Officer Support Systems Plan.

       2.       Clinical Mental Health Services

       390.    CPD currently employs three licensed mental health professionals and a sup



CPD offers free counseling services to CPD members through the Professional Counseling

Division and through external referrals in certain circumstances. CPD will expand its capacity to

provide the counseling services to CPD members as set forth in this Agreement.

       391.    CPD will initially increase the staffing level in its Professional Counseling

Division to at least ten full-time licensed mental health professionals (or a combination of full-



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and part-time licensed mental health professionals capable of providing an equivalent amount of

weekly clinical therapy hours) by January 1, 2020. CPD may contract with licensed mental

health professionals external to CPD on an interim basis while CPD completes the process for

creating these new positions and hiring individuals to fill them. Additional changes to staffing

levels will be made consistent with the results of the needs assessment and Officer Support

Systems Plan.
      392. CPD will ensure that its staff of licensed mental health professionals includes

individuals with specialized training in one or more of each of the following subjects:

posttraumatic stress disorder, domestic violence, alcohol and substance abuse, anger

management, depression, and anxiety.

       393.    In order to provide support services that are culturally appropriate, sensitive to

differing circumstances, and attentive to the issues facing all CPD members, including, but not

limited to, women, people of color, religious minorities, and LGBTQI individuals, CPD will

ensure that:

               a. the licensed mental health professionals and counselors employed by CPD are

                   trained and equipped to provide services in a manner respectful of these

                   diverse experiences and perspectives;

               b. CPD members receiving services have the opportunity to provide feedback

                   regarding whether such services are culturally appropriate and adapted to

                   diverse experiences and perspectives; and

               c. appropriate corrective action is taken to the extent necessary based on

                   feedback received.




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          394.   CPD will offer members referrals for counseling services by external clinical

service providers, including, but not limited to, private therapists, specialists, outside agencies,

or hospitals, when a member requires specialized counseling that is beyond the training and



          395.   CPD will ensure that CPD members have access to:



                 a.
                      non-


                 b.

          396.   CPD will continue to ensure that any mental health counseling services provided

to CPD members remain confidential in accordance with state law, federal law, and current CPD

policy.

          397.   CPD will continue to ensure that licensed mental health professionals employed

by the Professional Counseling Division do not participate in fitness for duty evaluations, which

will be conducted exclusively by third-party licensed mental health professionals.

          3.      Alcohol and Other Addiction Services

          398.   CPD currently employs five drug and alcohol counselors, all of whom are sworn

CPD officers operating under the supervision of the Director of the Professional Counseling

Division. These counselors provide free counseling for alcohol and substance abuse. CPD will

continue to offer counseling services to CPD members for alcohol and substance abuse.

          399.   CPD will ensure the number of drug and alcohol counselors available, either on

staff or through referrals, meets the needs of CPD members consistent with the needs assessment

and the Officer Support System Plan.


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       400.      CPD will ensure that its drug and alcohol counselors are certified in Illinois as

Certified Alcohol and Other Drug Abuse Counselors.

       401.      CPD currently offers anonymous support groups and programs for alcoholism

and other addictions. CPD will ensure that a licensed mental health professional assigned to the

Professional Counseling Division oversees any such programs offered by CPD, that the

programs adhere to generally accepted practices in the field of addiction treatment (e.g., 12-step

addiction treatment program), and that each program is reviewed at least annually by the

Director of the Professional Counseling Division.
       402. CPD will train all supervisors regarding recognizing signs and symptoms of

alcoholism and substance abuse, how to recommend available support services to CPD members

experiencing alcoholism and substance abuse issues, and their obligations under CPD policy to

report members exhibiting signs of alcohol or drug impairment.

       4.         Peer Support Program

       403.    CPD currently has a peer support program consisting of specially trained

                                                        -run peer support program can provide an

important access point for CPD members encountering challenging emotional or personal

circumstances.

       404.    CPD will maintain a peer support program, ensuring that:

                 a. a licensed mental health professional assigned to the Professional Counseling

                    Division oversees and adequately manages the program;

                 b. Peer Support Officers receive initial training in stress management, grief

                    management, officer wellness, obligations and limitations regarding

                    confidentiality and privacy, communication skills, common psychological



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                   symptoms and conditions, suicide assessment and prevention, dependency

                   and abuse, and support services available to CPD members;

                c. Peer Support Officers are trained to recommend the services offered by the

                   Professional Counseling Division in situations that are beyond the scope of

                   their training;

                d. CPD offers Peer Support Officers the opportunity to meet at least annually to

                   share successful strategies and identify ways to enhance the program;

                e. Peer Support Officers receive and comply with a written procedures manual

                   approved by a licensed mental health professional assigned to the Professional

                   Counseling Division;

                f. Peer Support Officers are offered sufficient non-monetary incentives and

                   recognition to ensure broad recruitment of volunteers and widespread access

                   to peer support services; and

                g. the scope and quantity of peer support services provided to CPD members are

                   identified in a manner that facilitates effective management of the program

                   and that preserves the anonymity and confidentiality of members receiving

                   peer support services.

       5.       Chaplains Unit

       405.     CPD maintains a Chaplains Unit consisting of CPD officers and non-CPD

volunteers, operating under the supervision of a Director, who reports directly to a command

staff member.




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       406.    By January 1, 2020, CPD will develop and adopt a standard operating

procedure ( SOP ) outlining the roles and responsibilities of the Chaplains Unit. The Chaplains

Unit SOP will identify that:

               a. the purpose of the Chaplains Unit is to:

                   i. support the wellness of CPD members who voluntarily seek consultation

                   with representatives of the Chaplains Unit; ii. make referrals to licensed

                   mental health professionals and other service providers, when appropriate; iii.

                   provide pastoral care to CPD members who voluntarily seek such services; iv.

                   offer voluntary preventive programs for the purposes of supporting,

                   encouraging, and affirming CPD members in their professional and family

                   lives; and

                   v. provide support in moments of crisis as requested by CPD members.

               b. when acting in the official capacity of a CPD Chaplain, representatives of the

                   Chaplains Unit will refrain from actions or statements that are inconsistent

                   with CPD policy.

               c. representatives of the Chaplains Unit, including CPD members and non-CPD

                   members, will receive training regarding the roles and responsibilities of the

                   Chaplains Unit.

       6.       Traumatic Incident Response

       407.    CPD will continue to require that whenever a CPD member has experienced a

duty-related traumatic incident, the member must attend counseling with a licensed mental

health professional. The Director of the Professional Counseling Division or his or her designee

will be responsible for documenting that a CPD member has attended the mandatory counseling


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and has completed the requirements of the Traumatic Incident Stress Management Program prior

to the member returning to regular duty assignment. CPD will require any CPD member who has

experienced a duty-related traumatic incident, unless medically unable to do so, to meet with a

licensed mental health professional within seven days of the incident, and will ensure that it has

an adequate staff of licensed mental health professionals who can accommodate this timing

requirement.

       408.    In addition to providing mandatory initial consultations and additional

consultations as appropriate or as requested by CPD

professionals will follow up with members who have experienced a duty-related traumatic

incident within six months to offer additional support services.

       409.    CPD has also implemented a mandatory program for members who have

experienced an officer-involved firearms discharge that consists of peer group discussions and

other components. CPD will ensure that this program is overseen by a licensed mental health

professional assigned to the Professional Counseling Division, reflects best practices, and



       410.    CPD will continue to place any CPD member who has discharged a firearm,

excluding training discharges, unintentional discharges, or discharges for the destruction of an

animal where no person was injured, on mandatory administrative duty assignment for a

minimum period of 30 days. Prior to permitting the member to return to regular field duties,

CPD will require the member to (a) complete the Traumatic Incident Stress Management

Program and any training determined by CPD to be appropriate; and (b) receive authorization

from the First Deputy Superintendent. Authorization to return to regular field duties may be

withheld pending the outcome of any administrative or criminal investigation.


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       411.    At least annually, CPD will determine whether members who have experienced a

duty-related traumatic incident have attended the mandatory counseling sessions and have

completed the Traumatic Incident Stress Management Program.

       7.      Training

       412.    Where it would add to the quality or effectiveness of the training, CPD will

involve mental health professionals, as feasible, practical, and appropriate, in developing and

reviewing recruit and in-service training on stress management, alcohol and substance abuse,

officer wellness, and the support services available to CPD members.

       413.    CPD will involve experts, such as psychologists and cognitive and behavioral

scientists, in developing training on use of force where their expertise would enhance the

effectiveness of the training. The training topics that may benefit from such expertise could

include:

               a. peer intervention by fellow officers to stop the use of excessive force;

               b. the interaction of human perception and threat assessment; and

               c. de-escalation and defusing techniques, including psychological methods of

                   situation control, verbal control and communication, conflict resolution,

                   and anger management.

       414.    CPD will ensure that all CPD members are provided in-service training on stress

management, alcohol and substance abuse, and officer wellness at least every three years. CPD

will include training regarding stress management, alcohol and substance abuse, officer

wellness, and support services in the recruit training program.

       C.       Equipment and Technology




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       415.    By July 1, 2020, and periodically thereafter, CPD will conduct a department-wide

equipment and technology audit to determine what equipment is outdated, broken, or otherwise

in need of repair or replacement. During each audit, CPD will solicit feedback from

representatives of the collective bargaining units representing CPD members.

       416.    Within 90 days of the completion of the initial audit, CPD will develop a plan,

including a timeline for implementation, to prioritize and address the needs for repair or

replacement of equipment and technology as identified through the needs assessment

                                                       CPD will implement the Equipment and

Technology Audit Response Plan in accordance with the specified timeline for implementation.

417.   As a component of the Equipment and Technology Audit Response Plan, CPD will

develop a schedule for future periodic audits. The schedule will specify the time period within

which future periodic audits will occur. The time period may vary for different equipment types

to account for differences in the expected useful life of different equipment types. CPD will

perform the periodic audits in accordance with the schedule.

       418.    In order to facilitate physical health and mental well-being, CPD will ensure its

members have access to exercise equipment at CPD facilities in geographically dispersed areas

throughout the City.

X.      ACCOUNTABILITY AND TRANSPARENCY

       A.      Guiding Principles

       419.    Holding public servants accountable when they violate law or policy is essential

to ensuring legitimacy and community confidence.

       420.    A robust and well-functioning accountability system in which CPD members are




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A culture of accountability also promotes employee safety and morale, and improves the

effectiveness of CPD operations. Organizational justice also plays an important role in ensuring

that CPD members have confidence in the legitimacy of the system that holds them accountable.

       421.    In order to foster public trust and receive critically important community

feedback, and promote confidence in CPD, the City and CPD will ensure the process for

submitting and pursuing complaints that allege violations of CPD policy or the law by CPD

members is open and accessible for all individuals who wish to file complaints.

       422.    Meaningful community involvement is imperative to CPD accountability and

transparency. Nothing in this Agreement should be construed as limiting or impeding

community

                                           , including the creation and participation of
     a community safety oversight board. OAG and the City acknowledge the significant
                                                                         work many of

                                                                               undertake, including

work alongside CPD, in the area of police reform and accountability, and OAG and the City

know this critical work will continue.

       423.    The City, CPD, and COPA will ensure that all complaints of misconduct, whether

from internal or external sources, are thoroughly, fairly, timely, and efficiently investigated in

accordance with this Agreement; that all investigative findings are supported by the appropriate

standard of proof and documented in writing; and that all CPD members who commit

misconduct are held accountable pursuant to a disciplinary system that is fair, timely and

consistent, and provides due process.

       B.        Receiving and Tracking Misconduct Complaints

       424.    When members of the public submit complaints to the City                        ,

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those complaints must be courteously received, properly classified, and efficiently investigated.

Throughout a non-criminal investigation of

              , complainants should be able to track the status of their complaints and receive

current, accurate information.

       1.      Receiving Complaints

       425.    The City, CPD, and COPA will ensure individuals are allowed to submit

complaints in multiple ways, including: in person to COPA or at a CPD district station, by

telephone, online, anonymously, and through third party representatives. To ensure broad and

easy access to its complaint system, within 90 days of the Effective Date:

               a. the City, CPD, and COPA will make the process for filing a complaint widely

                  available to the public, including in-person, by telephone, and online;

               b. the City, CPD, and COPA will make the process for filing a complaint

                  available electronically;

               c. the City, CPD, and COPA will make information on filing a complaint and

                  accompanying instructions accessible to people who speak languages other

                  than English and will provide telephonic language interpretation services

                                                                   limited English proficiency

                  policies and this Agreement;

               d. the City, CPD, and COPA will ensure individuals may submit allegations of

                  misconduct, regardless of whether the individual is a member or perceived

                  member of an identifiable group, based upon, but not limited to: race,

                  ethnicity, color, national origin, ancestry, religion, disability status, gender,




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                   gender identity, sexual orientation, marital status, parental status, military

                   discharge status, financial status, or lawful source of income;

               e. the City, CPD, and COPA will continue to ensure that members of the public

                   may make complaints via telephone using free 24-hour services, including by

                   calling 311 and being given the option to leave a voicemail for COPA or

                   speak to a CPD supervisor, and will clearly display this information on their

                   respective websites and other appropriate City and CPD printed materials;

               f. the City, CPD, and COPA will ensure that instructions for submitting

                   complaints are available via telephone, on-line, and in-person; and

               g. the City and CPD will ensure that complaint filing information is prominently


                   online complaint form.
       426.                                                          -confidential complaints

                                                                     and , each complaint and

                                                   administrative

notification will be assigned a unique tracking number. This unique tracking number will be

linked with all phases of the investigation and disciplinary process, through the final disposition.

       427.    The City and CPD will ensure all complaints are accepted, documented,

submitted to COPA, and investigated in accordance with this Agreement and the applicable

collective bargaining agreement, whether submitted: by a CPD member or a member of the

public; verbally or in writing; in person, by telephone, online, or by a complainant anonymously;

or by a third-party representative.

       428.    When a CPD member becomes aware of an individual who wants to make a



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CPD will also ensure that, in response to complaints about CPD members, supervisors respond

to the scene, document the complaint, and submit it to COPA. If the supervisor allegedly

authorized, engaged in conduct that led to, witnessed, or otherwise allegedly participated in the

incident complained of, the supervisor will contact his or her immediate supervisor, who will

assign another supervisor to immediately document the complaint and submit it to COPA.

     429.      The City will continue to ensure that a website is made available to CPD
members

                                             anonymous reporting website

disseminate information regarding the anonymous reporting website to all CPD members.

Reports made on the anonymous reporting website will not relieve CPD members of their duties

under CPD Rules of Conduct 21 and 22.

       430.    COPA will ensure that individuals who submit electronic complaints receive a

copy of the information contained in the complaint via electronic mail, if an electronic mail

address is provided, upon submission.

       431.    The City and CPD will undertake best efforts to ensure that the absence of a

signed complainant affidavit alone will not preclude an administrative investigation.

       432.    The City and CPD will require that complaints about any CPD member are

accepted, documented, submitted to COPA, and investigated even if the complainant could not

                                      other employee-identifying number, including star or badge

number.




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       433.    CPD will require that officers provide their name and star number, or in the case

of non-sworn members other employee-identifying number, to any member of the public, upon

request.

       434.    When CPD responds to or investigates incidents involving allegations of

officerinvolved domestic violence, CPD will ensure that COPA is provided an administrative

notification. COPA will initiate the intake process and investigate all such allegations in

accordance with this Agreement.

       435.    The City, CPD, and COPA will require that complaints alleging that a CPD

member refused to accept a complaint, discouraged the filing of a complaint, or provided false or

misleading information about filing a complaint are accepted, documented, and submitted to

COPA for investigation and, where appropriate, recommended for discipline.

       436.    Within 90 days of the Effective Date, CPD will ensure that there are adequate

policies and practices in place to encourage and protect CPD members who report potential

misconduct by other CPD members. Such policies will provide, at a minimum:

               a. that CPD members promptly report any misconduct of which they are aware

                   to a supervisor;

               b. that the supervisor document such alleged misconduct and promptly report it

                   to COPA; and

               c. that all forms of retaliation, interference, intimidation, and coercion against a

                   CPD member who reports misconduct or cooperates with an investigation of

                   misconduct, are strictly prohibited.




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       437.      CPD will expressly prohibit all forms of retaliation, intimidation, coercion, or

adverse action against any person who reports misconduct or cooperates with an administrative

investigation.

       2.         Classifying and Tracking Investigations

       438.      OAG acknowledges that the City, CPD, and COPA are working to create an

electronic Case Management System                 ). The City, CPD, and COPA will ensure that the

CMS maintains accurate data regarding the number, classification, and status of all

administrative investigations, from the intake process through the final disciplinary decision, if

any, and through any grievance process, arbitration, Police Board proceeding, or appeal relating

                                                                        . CMS will be maintained by
                                                                                        appropriate

personnel from the City, CPD, and COPA. The CMS will be fully operational by June 30, 2020.

       439.      The City and CPD will ensure that complainants and their representatives are able

to track non-confidential unique tracking numbers from the intake process through final

disposition via telephone and in person. By June 30, 2020, the City will also ensure

complainants and their representatives are able to track the status of non-confidential unique

tracking numbers from the intake process through final disposition online.

       440.      The City, CPD, and COPA will ensure that all non-confidential complaints are

processed by COPA as follows:

                 a. all non-confidential complaints of alleged misconduct received by CPD,

                    including BIA and CPD supervisors, are documented and submitted to COPA

                    within 24 hours of receipt;




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            b. all complaints of alleged misconduct submitted to the anonymous reporting

               website and all non-confidential complaints of alleged misconduct received

               by the OIG will be submitted to COPA by the end of the next business day

               after the complaint was received;

            c. upon receipt of a complaint, COPA will promptly assign the complaint a

               unique tracking number, make an initial determination of the classification(s)

               of the alleged misconduct, and will either retain the complaint for

               investigation or transfer the complaint to BIA for investigation;

            d. COPA, pursuant to its ordinance and this Agreement, will have the

               jurisdiction to conduct administrative investigations of all allegations of

               misconduct that involve:

               i. excessive force; ii. domestic violence; iii. improper

               search or seizure of individuals or property; iv. coercion;

               v. verbal abuse as defined under Municipal Code of Chicago, § 2-78-100,

               including any unwelcome sexual advances or requests for sexual favors; or vi.

               unlawful denial of access to counsel.

            e. COPA, pursuant to its ordinance and this Agreement, will receive immediate

               administrative notification of and have jurisdiction to conduct administrative

               investigations of all incidents, including those in which no allegation of

               misconduct has been made, involving:

               i. firearm discharges by CPD officers that could potentially strike an

                   individual                               ;




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                ii. Taser or stun gun discharges by CPD officers that result in death or

                      serious bodily injury; iii. any person who dies or sustains serious

                      bodily injury while in CPD custody, or as a result of CPD actions;

                iv. officer-                                                                -5; and

                v. other weapons discharges and other uses of CPD-issued equipment as a

                      weapon that results in death or serious bodily injury, at the COPA Chief

                                           retion;

            f. the City, CPD, and COPA will ensure that all allegations are recorded and

                classified appropriately, even if the complainant does not accurately

                characterize the alleged misconduct;

            g. if BIA or district personnel conducting investigations into misconduct identify


                jurisdiction as defined herein, the investigator will promptly notify COPA;

                and

            h. if a complaint contains multiple allegations of misconduct, one or more of

                which fal                                               on jurisdiction as defined

                herein, COPA will have the right of first refusal to conduct an administrative

                investigation of the entire complaint.

                441.         The City will undertake best efforts to ensure that COPA has

         jurisdiction to conduct administrative investigations of allegations of sexual

         misconduct, as defined by this Agreement.

                442.         The City will ensure COPA has appropriately trained and

         experienced staff to conduct sexual misconduct investigations.


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                   443.                                s jurisdiction, after conferring about the
           details of a

particular criminal sexual misconduct investigation involving a CPD member, COPA and BIA

may jointly agree that BIA may conduct the administrative investigation into allegations of

sexual misconduct when they jointly determine that doing so avoids unnecessary disruption to

the complainant.

                   444.         Within ten days of the final disciplinary decision of each

           complaint of sexual misconduct against a CPD member alleging conduct against a

           non-CPD member, the City will provide the Deputy PSIG with the complete

           administrative investigative file, subject to applicable law. The Deputy PSIG will

           review and analyze each administrative investigative file and, on an annual basis, the

           Deputy PSIG will publish a report:

              a. assessing the quality of the sexual misconduct administrative investigations

                   reviewed;

              b. recommending changes in policies and practices to better prevent, detect, or

                   investigate sexual misconduct; and

              c. providing aggregate data on the administrative investigations reviewed,

                   including:

              i. the volume and nature of allegations investigated, broken down by

                   investigating agency; ii. the percentage of investigations referred to



                                             CCSAO for criminal review;

                   iii. the percentage of investigations criminally prosecuted; iv. the percentage

                   of investigations closed after the preliminary investigation;
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                  v. the percentage of investigations closed for lack of a signed complainant

                  affidavit; and vi. the investigative findings and recommendations,

                  including a summary breakdown of discipline recommended for

                  investigations with sustained findings.

       445.    The City will use best efforts to initiate and undertake a process with the CCSAO,




                                                                               nd the Federal

judicial findings made during the course of criminal proceedings that a CPD member was

untruthful, including any findings made at suppression hearings. Upon receipt of information




Defender

process.

       3.       Communicating with Complainants and CPD Members

       446.   In the course of investigating a complaint, the City, CPD, and COPA will ensure:

              a. within five business days of receipt of a non-confidential complaint COPA or

                  BIA will send non-anonymous complainants or their representatives a written

                  notice of receipt. The notice will include the unique tracking number assigned

                  to the complaint. The notice will advise the complainant or his or her

                  representative whether BIA or COPA will be investigating the complaint, and

                  how the complainant or his or her representative may inquire about the status

                  of the investigation. The notice will not contain any language discouraging

                  participation in the investigation.


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                b. within 60 days of the final disciplinary decision the complainant will be

                    provided a copy of the Administrative Summary Report.

        447.    The City and CPD will require that all COPA and BIA personnel and

Accountability Sergeants communicate with complainants and involved CPD members in a

professional and respectful manner.

        448.    If COPA, BIA, or the district does not arrive at the investigative findings and

recommendations within 180 days, COPA, BIA or an Accountability Sergeant will, thereafter,

periodically, but not less than once every 60 days, attempt contact with the complainant or his or

her representative to provide status updates until the investigative findings and recommendations

are issued. Such contacts will be documented in the administrative investigative file. By 2020,

this requirement will be satisfied by providing complainants and their representatives the ability

to track the status of non-confidential unique tracking numbers from the intake process through

final disposition online.

        449.    The City and CPD will notify the complainant in writing if an officer elects to file


Upon reaching the final disposition, the City and CPD will advise the complainant in writing of

the final disposition.

        450.    CPD will develop and implement policies to ensure that a CPD member who is

                                                               ) receives notice that he or she is

under administrative investigation. The policies will provide, at a minimum:

                a. CPD members under investigation will not receive such notice of confidential

                    investigations, but will receive notice prior to being formally interviewed by

                    COPA, BIA, or an Accountability Sergeant;


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               b. such notice will comport with due process and the law, and will describe the

                   nature of the complaint made against the involved member, and the involved



                   confidential investigation; and

               c. once a CPD member has been notified or otherwise becomes aware that he or

                   she is the subject of an administrative investigation, the CPD member will not

                   review the following documents and evidence related to an incident under

                   administrative investigation, until notified by BIA that he or she is permitted

                   to do so, or as may be required to testify as a witness in criminal or civil

                   proceedings:

                   i. any investigative files; ii. any reports (except for reports about the

                   incident authored by the CPD member); or iii. any other evidence, from any

                   source, including body and dashboard camera footage (except as permitted

                   for purposes of completing incident reports or other documentation).

       451.    A CPD member who reviews audio or video evidence for purposes of completing

an incident report will document in writing that he or she reviewed the evidence in each relevant

incident report.

       452.    Consistent with the applicable collective bargaining agreements, CPD will require

members to cooperate with administrative investigations, including appearing for an

administrative interview when requested by COPA, BIA, or an Accountability Sergeant and will




453.



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BIA, or the Accountability Sergeant will continue the administrative investigation, absent

specific circumstances that would jeopardize the criminal investigation. In such circumstances,

the determination to postpone the administrative investigation, along with the rationale for doing

so, will be documented by COPA, BIA or the district in writing.

       C.       Disciplinary Investigations

       454.    COPA, BIA, and the districts will conduct objective, comprehensive, and timely

investigations of complaints.

       455.    All investigative findings will be based on the appropriate standard of proof. This

standard will be clearly delineated in COPA and BIA policies, training, and procedures.

       456.    The City will ensure that the disciplinary histories of current and former CPD

members are reviewed prior to employment with COPA, or assignment within BIA or as an

Accountability Sergeant.

       457.    Within 90 days of the Effective Date, CPD will create a written policy regarding

the circumstances under which BIA will retain and investigate complaints itself and under which

BIA will transfer complaints to a CPD district for investigation. The policy will include as

factors in that decision: consideration of the involved                           and disciplinary

history and the seriousness of the alleged misconduct. It will be designed to ensure that all

investigations are completed in a timely and thorough manner and in compliance with this




Agreement. 458.

Award in



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 Sergeants and Unit 156B Lieutenants, Gr. Nos. SGTS 14-023 and LTS 14-004 (Aug. 21,

2015) (Roumell, Jr., Arb.), that OIG may investigate any alleged misconduct on the part of CPD

members.

       1.        Investigative Practices

                 a.       Preliminary Investigations

       459.      Within 30 days of receiving an allegation:

                 a. COPA and BIA will assess the allegation to determine whether the

                      complainant has alleged potential misconduct; and

                 b. if potential misconduct is alleged, COPA, BIA, or the district will initiate a

                      preliminary investigation into the complaint.

       460.      Preliminary investigations will take all reasonable steps to discover any and all

objective verifiable evidence relevant to the complaint or administrative notification through the

identification, retention, review, and analysis of all available evidence, including, but not limited

to: all time-sensitive evidence, audio and video evidence, physical evidence, arrest reports,

photographic evidence, GPS records, computer data, and witness interviews. All reasonable

steps will be taken to preserve relevant evidence identified during the preliminary investigation.

       461.      Allegations of misconduct based on verbal abuse will be preliminarily

investigated to determine whether it is appropriate to continue the investigation. Anonymously

submitted misconduct allegations will be preliminarily investigated to determine whether it is

appropriate to continue the investigation, in accordance with the applicable collective bargaining

agreements in effect at the time of the allegation is made.

       462.      A signed complainant affidavit will not be required to conduct a preliminary

investigation.


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       463.    The City, CPD, and COPA will ensure that, within 30 days of receiving a

complaint, COPA, BIA, and Accountability Sergeants initiate and make reasonable attempts to

secure a signed complainant affidavit, including in-person visits, phone calls, and other methods.

Such attempts will reasonably accommodate the c                     disability status, language

proficiency, and incarceration status.

               a. If COPA, BIA, or the Accountability Sergeant is unable to obtain a signed

                     complainant affidavit despite having made reasonable attempts to do so,

                     COPA or BIA (for investigations conducted by both BIA and Accountability

                     Sergeants) will assess whether the evidence collected in the preliminary

                     investigation is sufficient to continue the investigation.

               b. If the preliminary investigation reveals objective verifiable evidence

                     suggesting it is necessary and appropriate for the investigation to continue,

                     BIA (for investigations conducted by BIA and Accountability Sergeants) will

                     seek written approval for an override affidavit executed by the Chief

                     Administrator of COPA, and COPA (for investigations conducted by COPA)

                     will seek written approval for an override affidavit executed by the Chief of

                     BIA.

               c. The Chief Administrator of COPA or the Chief of BIA will provide an

                     override affidavit if there is objective verifiable evidence suggesting it is

                     necessary and appropriate, and in the interests of justice, for the investigation

                     to continue.

               b.        Misconduct Investigations

           464.         In the course of conducting thorough and complete misconduct
   investigations,
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COPA, BIA, and the districts will:

              a. take all reasonable steps to promptly identify, collect, and consider all

                  relevant circumstantial, direct, and physical evidence, including officer-

                  recorded audio or video taken with body-worn cameras or other recording

                  devices;

              b. take all reasonable steps to locate and interview all witnesses as soon as

                  feasible, including non-CPD member witnesses, and attempt to interview any

                  complainant or witness in-person at a time and place that is convenient and

                  accessible for the complainant or witness, when feasible;

              c. determine whether there are any other open administrative investigations

                  involving the same involved member, and monitor or combine the

                  investigation(s), as appropriate;

              d. audio record non-CPD member

                  consent, or promptly prepare summaries of interviews when the interview is

                  not recorded;

              e. take all reasonable steps to identify the involved and witness CPD member(s)

                  if the complainant was unable do so;

              f. determine if there may have been additional misconduct beyond that initially

                  alleged. COPA, BIA, or the district will take all reasonable steps to ensure

                  that such identified misconduct is fully and fairly documented, classified, and

                  investigated;

              g. as applicable, c

                  training records and disciplinary history, including complaints in which


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                    allegations were not sustained, as permitted by law and any applicable

                    collective bargaining agreement; and

                h. identify and take into account known relevant evidence gathered in parallel

                    criminal investigation or criminal or civil litigation, if available.

         465.             When conducting an administrative interview of any CPD member,
    COPA, BIA,

and the districts will:

                a. ask the identity of other persons with whom he or she has communicated

                    regarding the incident in question, and the date, time, place, and content of

                    such communication, subject to any evidentiary privilege recognized under

                    Illinois or federal law;

                b. ask whether he or she has reviewed any audio or video footage of the incident

                    in question, and, if so, the date, time, and place the video or audio was

                    reviewed;

                c. ask whether he or she is aware of any media or social media coverage of the

                    incident in question, and, if so, the content and source of such known media

                    coverage;

                d. note on the record of the interview anytime the CPD member seeks or obtains

                    information from his or her legal or union representative, as well as the length




                   representative does nothing to disrupt or interfere with the interview;
                e. document, and make part of the investigative file, all requests made on behalf

                    of a CPD member to reschedule an interview; and

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             f. audio record all CPD member in-person interviews.

         466.         When assessing credibility, COPA, BIA, and the districts will:

             a. make credibility determinations of statements made by complainants,

                  involved CPD members, and witnesses based on independent, unbiased, and

                  credible evidence, taking into account any known record or final

                  determination of deception or untruthfulness in legal proceedings,

                  administrative investigations, or other investigations; and

             b. critically evaluate all statements, like any other evidence, giving no automatic

                  preference to, or discounting, any statement solely due to its source, including

                  statements made by CPD members.

         467.         For each allegation associated with a misconduct investigation, COPA,

  BIA, or the districts will explicitly identify and recommend one of the following findings: a.



                  preponderance of the evidence;

             b.                                                                           prove

                  the allegations by a preponderance of the evidence; c.



                  an allegation is false or not factual; or

             d.

                  the conduct described in the allegation occurred but is lawful and proper.

         468.      COPA, BIA, and the districts will ensure that investigators do not:
            a. ask




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                 conduct during interviews of witnesses, complainants, or the involved CPD

                 member;

             b. make statements that could discourage a CPD member or non-CPD member

                 witness from providing a full account of the specific allegations;

             c. close an administrative investigation solely because of findings in a related

                 criminal proceedings;

             d. consider findings in a related criminal investigation to solely determine

                 whether a CPD member engaged in misconduct;

             e. disregard

                 connection to either the complainant or the CPD member or because the

                 witness or complainant has a criminal history; or

             f. close an investigation solely because the complainant seeks to withdraw the

                 complaint or is unavailable, unwilling, or unable to cooperate with an

                 administrative investigation. If the complainant is unable or unwilling to

                 provide information beyond the initial complaint, the administrative

                 investigation will continue based on the available evidence in accordance with

                 this Agreement, applicable law, and any applicable collective bargaining

                 agreements.

         469.        The City, COPA, and CPD recognize the negative impact of actual bias or

  the appearance of bias on the legitimacy of administrative investigations. For that reason,

  conflicts of interest in administrative investigations will be identified and prohibited. The

  City, COPA, and CPD will ensure the following:




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            a. COPA, BIA, and district personnel will not be assigned to conduct any

               investigation that could create a conflict of interest;

            b. an investigation may not be conducted by any supervisor or CPD member

               who allegedly authorized, engaged in conduct that led to, witnessed, or

               otherwise allegedly participated in the incident giving rise to the complaint, or

               who has a conflict of interest as defined by CPD policy or this Agreement. No

               such person may participate in making any disciplinary recommendations

               with respect to the investigation;

            c. no CPD member who has an external business relationship or close personal

               relationship with an involved CPD member or witness in an administrative

               investigation will conduct or review the administrative investigation. No such

               person may participate in making any disciplinary recommendations with

               respect to the misconduct investigation including in the determination of any

               applicable grievance or appeal arising from any discipline; and

            d. no CPD member will participate in making any disciplinary decisions or

               recommendations with respect to any person to whom he or she directly

               reports to in his or her chain of command. In cases where CPD is unable to

               meet this requirement, the investigation must be transferred to OIG. 470.

                   The City will ensure that COPA arrives at the investigative findings and

               recommendations within 180 days of the initiation of the investigation. Any

               request for an extension of time must be approved in writing by the Chief

               Administrator of COPA, or his or her designee, who must provide a short

               explanation of the reason(s) for granting or denying the extension.


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       471.    The City and CPD will ensure that BIA arrives at the investigative findings and

recommendations within 180 days of the initiation of the investigation. Any request for an

extension of time must be approved in writing by the Chief of BIA or his or her designee.

       472.    The City and CPD will ensure that the districts arrive at the investigative findings

and recommendations within 90 days of the initiation of an investigation. Any request for an

extension of time must be approved in writing by the appropriate District Commander.

       473.    The City will ensure that if COPA does not arrive at the investigative findings

and recommendations within 180 days, the Chief Administrator of COPA, or his or her designee,

will notify, within five days after the end of the 180-day period, the Mayor or his or her

designee, the Superintendent, the Chairman of the City Council Committee on Public Safety, the

complainant or his or her representative, and the involved CPD member, or his or her counsel

(unless such notification would compromise the integrity of the investigation). Such notification

will include the reasons the administrative investigation has not concluded within 180 days.

COPA will update such notice every 180 days until the administrative investigation is

completed.

       474.    CPD will ensure that if BIA does not arrive at the investigative findings and

recommendations within 180 days, or an Accountability Sergeant does not arrive at the

investigative findings and recommendations within 90 days, BIA will notify, within five days of

the end of the designated timeframe, the complainant or complainant representative, and the

involved CPD member, or his or her counsel (unless such notification would compromise the

integrity of the investigation). Such notification will include the reasons for the inability to

complete the administrative investigation within the designated timeframe. BIA or the




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Accountability Sergeant will update such notice every 90 days until the administrative

investigation is completed.

        475.     The City and CPD will undertake best efforts to ensure that the identities of

complainants are not revealed to the involved CPD member prior to the CPD m

interrogation.

        476.     The City, CPD, and COPA will require that COPA and BIA supervisors regularly

communicate with the investigators under their supervision, including Accountability Sergeants,

to evaluate the progress of administrative investigations.

        477.     The City and CPD will undertake best efforts to ensure that all complaints,

including anonymous complaints, can be the subject of a misconduct investigation.

        478.     Within 120 days of the Effective Date, CPD and COPA will each review and

revise its policies regarding preliminary investigations, including preliminary investigations of

anonymous complaints, and the process for seeking an override affidavit in the absence of a

signed complainant affidavit.

        479.     Within 120 days of the Effective Date, CPD and COPA will each adopt or review

and, to the extent necessary, revise its policy establishing investigative timelines, benchmarks,

and goals by which the progress of investigations will be measured.

        480.     Within 120 days of the Effective Date, the City, CPD, and COPA will each


and consideration of evidence from civil and criminal litigation.

        481.     The City, CPD, and COPA will ensure that if CPD, COPA, or the OIG requests

the S




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occurred more than five years before the date that COPA, CPD, or the OIG became aware of the

allegations, the Superintendent will respond within 30 days.

       482.    The City and CPD will ensure that BIA regularly conducts proactive

investigations and integrity tests.

       483.    The City and CPD will ensure there are regularly conducted satisfaction surveys

relating to the complaint intake and investigation processes. The City and CPD will evaluate

trends and training opportunities identified as a result of information received from such quality

control surveys.

       484.    If at any time during the intake or investigation of a complaint, COPA, BIA, or

Accountability Sergeants find evidence indicating criminal conduct by any CPD member, the

Chief Administrator of COPA or Chief of BIA will refer the investigation to the appropriate

prosecuting agency.

       485.    The City will continue to provide the Chief Administrator of COPA the discretion

to direct COPA to review and investigate the facts of individual civil lawsuits and criminal

proceedings involving alleged misconduct in order to identify and investigate incidents of

misconduct.

       486.    The City, CPD, and COPA will ensure that CPD and COPA maintain thorough

and complete administrative investigative files. Such administrative investigative files will

include:

               a. documentation of all evidence that was gathered, including names, phone

                    numbers, and addresses of witnesses to the alleged misconduct. In situations

                    in which there are no known witnesses, the file will specifically state this fact.

                    In situations in which witnesses were present but circumstances prevented the


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                 investigator from collecting information from those witnesses, the

                 investigative file will state the reasons why. The investigative file also will

                 include all available identifying information for anyone who refuses to

                 provide a statement;

            b. documentation of each interview conducted and the recording of those

                 interviews, if available;

            c. the names of all CPD members who have been identified as witnesses to the

                 alleged misconduct;

            d.                           d          narrative description and evaluation of the

                 alleged misconduct, based on its review of the evidence gathered, including a

                 determination of whether the CPD member

                 policy, procedure, regulations, orders, or other standards of conduct required

                 of CPD members;

            e. in cases where material inconsistencies exist between complainant, CPD

                 member, and witness statements, explicit identification of the inconsistencies,

                 including a description of the evidence reviewed and written credibility

                 findings;

            f. if a CPD member deployed a weapon, documentation of whether the CPD



            g. all CPD member original statements, as well as any amendments or

                 clarifications to the original statement, and any subsequent statements; and

            h. an explicit identification of each allegation and the recommended finding for

                 each allegation of misconduct in an investigation.


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       487.    Investigators will consider all original statements, and any subsequent statements,

including amended or modified statements, for purposes of determining whether a CPD member

willfully made a false statement about a fact material to the incident under investigation.

       2.       Officer-Involved Shootings and Deaths

       488.    In addition to the general investigative requirements established in this

Agreement, with respect to the investigation of officer-involved shootings and deaths, the City

and CPD will ensure that:

               a. COPA investigators be provided the opportunity to participate in the

                   preliminary assessment during the immediate aftermath of an officer-involved

                   shooting or death to the same extent as any CPD member or any other law

                   enforcement agency investigating the incident;

               b. the Chief Administrator of COPA, or his or her designee, is present for the

                   first viewing by CPD of available video or audio material related to the

                   incident and when any audio or video material is collected and preserved at or

                   near the scene from CPD or third-party surveillance systems.

                   i. the requirements of subparagraph (b), above, will not apply if:

                       (1)   the Chief Administrator of COPA, or his or her designee, has been

                             informed of the incident and is not available; and

                       (2)   COPA is not on scene and there is a public safety need to review or

                             listen to certain available audio or video prior to the COPA arrival

                             on scene.

               c. there is written documentation identifying each CPD member who viewed

                   video evidence or listened to audio evidence at the scene;


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              d. within 30 days of the Effective Date, CPD issues a policy providing that:
                 i. involved and witness CPD members do not discuss the facts relating to the

                  incident with any witness until interviewed by COPA, except to the extent

                  necessary to ensure public safety, as instructed by counsel in relation to civil

                  or criminal proceedings, or participating in CPD officer wellness programs; ii.

                  COPA may extend the prohibition on discussion to the extent necessary to

                  preserve the integrity of the investigation; and iii. in no event may this

                  prohibition extend beyond the final disciplinary decision, if any.

              e. involved and witness CPD members will be separated, transported separately

                  from the scene, and monitored to avoid contact or communications relating to

                  the incident until released by the responding supervisor at or above the rank of

                  Commander ;

              f. administrative interviews of involved and witness CPD members will be

                  audio recorded and, where possible, video recorded, with COPA investigators

                  present, except that a member may speak with his or her attorney or union

                  representative in private; and

              g. investigators will not delay interviewing involved and witness CPD members,

                  and will conduct such interviews as soon as feasible, consistent with any

                  applicable collective bargaining agreement. Investigators will document, and

                  make part of the administrative investigative file, all requests made on behalf

                  of involved or witness CPD members to reschedule an interview.

                             489. The City recognizes that officer-involved shootings are
                      traumatic incidents. The

City and CPD are committed to treating all impacted with dignity and respect.

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                              490.     The City and CPD are committed to ensuring their actions

                       do not unreasonably impede access to information for families of the

                       injured and deceased.

                              491.     In addition to the investigative requirements set forth in

                       this Agreement, with respect to officer-involved shootings and officer-

                       involved deaths, the City and CPD will ensure that CPD members



                       the sanctity of life, and will treat the deceased with respect, including the

                       prompt screening from public view or covering of the deceased and,

                       following timely evidence collection procedures, removal of the deceased.

                            492. Criminal investigations into the actions of any CPD
                       member relating to any




     3.          Accountability Sergeants

          493.         OAG acknowledges that, in many districts, CPD has designated

  Accountability Sergeants whose responsibilities include receiving, processing, and

  investigating complaints made against CPD members, which are referred to the districts by

  BIA. Within 120 days of the Effective Date, CPD will develop a policy outlining the

  responsibilities of Accountability


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Sergeants, their respective Commanders, and the BIA Lieutenants responsible for supervising
the                                          BIA Lieutenants . The policy will provide,
among

other things, a process by which:

              a. within 72 hours of receiving a complaint from BIA for investigation, an

                  immediate supervisor will be provided a summary of the complaint

                  allegations concerning the involved CPD member;

              b. within seven days of the final disciplinary decision, the Commander and an

                  immediate supervisor will be provided with the investigative findings,

                  recommended discipline or corrective action, if any; and

              c. an immediate supervisor of the involved CPD member and the Accountability

                  Sergeant will meet with the involved CPD member regarding the investigative

                  findings, recommended discipline or corrective action, if any, unless the CPD

                  member declines to meet.

           494.       CPD will require that:

              a. investigations completed by Accountability Sergeants are held to the same

                  investigative standards as those completed by BIA;

              b. beginning in 2020, and by January 31, 2022, each District Commander

                  designates at least two Accountability Sergeants who will report to the

                  District Commander, and whose primary responsibility is receiving,

                  processing, and investigating complaints against CPD members;

              c. before a Sergeant is designated an Accountability Sergeant, his or her name

                   will be provided by his or her District Com




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            d. each Accountability Sergeant is provided with the name of and contact

                 information for the BIA Lieutenant responsible for reviewing the



            e. BIA Lieutenants provide regular case-related and overall performance

                 feedback to each of the Accountability Sergeants and his or her respective

                 District Commander;

            f.

                 proposed investigative findings and disciplinary recommendations;

            g. all Accountability Sergeants and BIA Lieutenants have access to the PRS or

                 any system replacing the PRS;

            h. all Accountability Sergeants have access to BIA policies, directives,

                 protocols, and training materials; and

            i. all Accountability Sergeants receive the initial and in-service training

                 provided to BIA investigators as provided for in this Agreement.

     4.      Supervisory Review and Analysis of Investigations

     495.   Supervisory reviews of investigations will be conducted as follows:

            a. Accountability Sergeants will forward the administrative investigative file

                 through his or her chain of command to the BIA Lieutenant:

                 i.   the

                 proposed investigative findings and recommendations are complete, meet the

                 requirements of law, CPD policy, and this Agreement, and that findings are

                 supported by the appropriate standard of proof; ii. BIA Lieutenants will




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                   review the proposed investigative findings and recommendations for accuracy

                   and completeness, and will order

                      additional investigation when it appears that there is additional relevant

                   evidence that may assist in resolving inconsistencies or improving the

                   reliability or credibility of the findings; and iii. whenever a higher ranking

                   officer orders additional investigation, it will be documented in writing.

               b. all investigations conducted by COPA or BIA, once complete, will be


                   Chief Administrator of COPA or the Chief of BIA, respectively:

                   i. COPA and BIA will each ensure that their respective administrative

                   investigative files are complete, meet the requirements of law, COPA and

                   CPD policy, and this Agreement; and that findings are supported by the

                   appropriate standard of proof; ii. the Chief Administrator or the Chief of BIA,

                   or his or her designee, will order additional investigation when it appears that

                   there is additional relevant evidence that may assist in resolving

                   inconsistencies or improving the reliability or credibility of the findings; and

                   iii. whenever COPA or BIA orders additional investigation, the request and

                   resulting investigation will be documented in writing.

       496.    The City and CPD will ensure that interfering with an administrative

investigation, including being untruthful in an investigation into misconduct or colluding with

other individuals to undermine such an investigation, or intentionally withholding requested

evidence or information from an investigator, will result in disciplinary action and/or criminal

prosecution based on the seriousness of the conduct.


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       497.   COPA and CPD will review and revise, as necessary, the policies governing

COPA and CPD to ensure the processes for prevention of CPD member collusion and witness

contamination comply with the terms of this Agreement.

       498.   The City and CPD will ensure that any command channel review conducted is

complete within 30 days. Within 30 days of the Effective Date, CPD may draft a policy that

provides, for the most serious administrative investigations, the circumstances under which up to

45 days will be provided for command channel review. The draft policy will be provided to the

Monitor for review and approval.

       5.       Investigation Findings and Recommendations

       499.   When COPA, BIA, or the investigating district has arrived at the investigative

findings and recommendations, it will promptly finalize a                    Administrative

Summary Rep                             Summary Report will include:

              a. a description of the CPD members and individuals involved in the alleged

                  misconduct;

              b. the date, time, and location of the alleged misconduct;

              c. a description of the allegations and applicable policies;

              d. a narrative summary of the alleged misconduct;

              e. a narrative summary of the investigation; and

              f. the

                  misconduct, including any discipline recommended.

       500.   For all misconduct investigations, BIA or COPA will publish the Administrative

Summary Report within 60 days of the final disciplinary decision.




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       501.    Within 60 days of the final disposition, the City will publish: the charges filed and

the discipline recommended; the written decision(s), if any, related to the final disposition; and

the discipline imposed. When available, the City will publish the date on which the discipline is

scheduled to be imposed.

       502.    Information contained in the Administrative Summary Report that is legally

exempt from disclosure for privacy or other purposes will be redacted prior to electronic

publication.

       503.    When an allegation of misconduct contains multiple separate potential policy

violations, all applicable violations will be identified and investigated. Exoneration for the most

serious allegations of misconduct will not preclude the recommendation of discipline, training,

or other corrective measures for less serious misconduct stemming from the same set of

allegations.

       504.    As soon as feasible, but by no later than January 2020, upon arriving at the final

disciplinary decision, CPD and COPA will ensure that the Administrative Summary Report is

provided to the involved CPD member and the Department. CPD will ensure that the

Administrative Summary Report is

Commander and immediate supervisor.

       D.       Case Management System

       505.    The CMS will have the following capacities:

               a. maintain accurate and reliable data regarding the number, nature, and status of

                   all complaints and administrative notifications, from the intake process to

                   final disposition;

               b. identify the status of administrative investigations;

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                 c. identify caseloads for investigators; and

                 d. maintain all documents and investigative materials      including audio and

                    video       in a digital format, accessible via the CMS.

       506.      COPA, BIA, and the Accountability Sergeants will have access to the CMS as

necessary to undertake their respective duties.

       507.      Administrative investigative files will be electronically preserved within the

CMS.

       508.      The City and CPD will undertake best efforts to ensure that all administrative

investigation files, disciplinary history card entries, COPA and BIA disciplinary records, and

any other disciplinary record or summary of such record, are retained electronically, and

indefinitely, for purposes of historical trend analysis, non-disciplinary EIS, and public

transparency.

       509.      For each complaint, the CMS will separately track, and have capacity to conduct

searches and generate reports sufficient to identify and analyze trends relating to, at a minimum,

the following:

                 a. allegations of discriminatory policing

                    perceived membership in an identifiable group, based upon, but not limited to:

                    race, physical or mental disability, gender, gender identity, sexual orientation,

                    religion, and age;

                 b. allegations of unlawful stop, search, citation, or arrest practices;

                 c. allegations of excessive force;

                 d. allegations of misconduct arising during an interaction with individuals in

                    crisis;


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               e. allegations of retaliation against non-CPD members;

               f. allegations of conduct alleged to have occurred in retaliation for engaging in

                   First Amendment protected activities, such as lawful demonstrations,
                   protected speech, observing or filming police activity, or criticizing an officer

                                           ;

               g. allegations of officer-involved gender-based violence, domestic violence, or

                   sexual misconduct;

               h. allegations of CPD member substance and/or alcohol abuse; and

               i. the self-reported demographic information of complainants, including race,

                   physical or mental disability, gender, gender identity, sexual orientation,

                   religion, and age.

       E.       Community Mediation of Complaints

       510.    Mediation can be a valuable tool for expediting the resolution of complaints,

building trust between community members and police, and fostering mutual respect.

       511.    In order to develop a new mediation policy governing the resolution of

disciplinary actions by the agreement of the CPD member and non-CPD member complainant,

the City will solicit public input, through community engagement efforts, regarding the methods

by which mediation will most effectively build trust between community members and police

and foster mutual respect.

       512.    The City will ensure that within 365 days of the Effective Date, COPA and BIA

have developed parallel policies regarding the mediation of misconduct complaints by non-CPD

members. The policies will govern mediation of misconduct complaints involving non-CPD

member complainants. The policies will specify, at a minimum, (a) the criteria for determining

incidents eligible for resolution through mediation; (b) the goals of mediation, including
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efficiency, transparency, procedural justice, restorative justice, and strengthening public trust; (c)

the steps in the mediation process; and (d) methods of communication with complainants

regarding the mediation process and the opportunity to participate. Items (a) through (d) above

will be consistent between the CPD and COPA mediation policies.

       F.       Final Disciplinary Decision

       513.    COPA and CPD will ensure that the recommended level of discipline for findings

is consistently applied in a fair, thorough, and timely fashion, based on the nature of the

misconduct. COPA and CPD will also ensure that mitigating and aggravating factors are

identified, consistently applied, and documented.

       514.    The City, COPA, and CPD will use best efforts to ensure that the level of

discipline recommended for sustained findings is applied consistently across CPD districts and

without regard for the race of the complainant or the race of the involved CPD member.

       515.    All disciplinary decisions and discipline imposed will be documented in writing,

maintained in the administrative                                              disciplinary history,

and reported within the CMS consistent with CPD policy and this Agreement.

       516.    Each sustained finding contained within
will

be considered for the purposes of recommending discipline for a subsequent sustained finding

for a period of up to five years after the date of the incident or the date on which the violation is

discovered, whichever is later.

       517.    The City, CPD, and COPA                                                 Violation

                                  :




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               a. may not be used in any investigation in which the conduct resulted in injury to

                   any person; and

               b. will only be used for investigations that warrant a sustained finding, but were

                   a result of unintentional violations of policy or law.

        518.   CPD will provide the required notice regarding disciplinary matters to the Illinois

Law Enforcement Training and Standards Board, including when an officer resigns while a

misconduct investigation or disciplinary charges are pending.

        519.   The failure to complete an administrative investigation within the timeframes set

forth in this Agreement will

to issue discipline for sustained findings.

        G.      Staffing and Equipment Needs

        520.   OAG acknowledges that the City has spent considerable time and resources to

create and staff COPA and the Deputy PSIG.

        521.   The City, CPD, and COPA will continue to build on these critical efforts by

ensuring that BIA, COPA, the Police Board, and the Deputy PSIG have sufficient funding and

an adequate number of qualified staff to fulfill their respective missions as required by law, each



        522.   Within 365 days of the Effective Date, COPA, the Deputy PSIG, and BIA will

create separate staffing and equipment-needs plans. Such plans will include analyses setting

forth

                                                                                  CPD will

implement the staffing and equipment-needs plans in accordance with the specified timeline for

implementation.

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        523.   On an annual basis, COPA, the Deputy PSIG, and BIA will review and revise, if

                                                                     -needs plans.

       524.                                                         -needs plans will include the
                                                                           investigation staffing

and equipment needs of the districts.

        525.   Within 60 days of the Effective Date, the City will propose a permanent method

of selecting the Chief Administrator of COPA. In creating the permanent selection method for



community stakeholders.

        H.      Training

        526.   Within 180 days of being assigned to BIA or being hired by COPA, all new BIA

personnel and COPA employees will receive initial on-boarding training that is adequate in

quality, quantity, scope, and type. Within 120 days of the Effective Date, COPA and BIA will

verify that all existing personnel received training that is consistent with this Agreement.

        527.   Within 180 days of the Effective Date, COPA and BIA will begin providing all

investigation staff members with at least eight hours of annual, comprehensive, in-service

training.

        528.   The initial and annual in-service training for COPA and BIA investigators will

include instruction in:

               a. how to properly handle complaint intake, and the consequences for failing to

                   take complaints;

               b. best practices in procedural justice, including techniques for communicating

                   with complainants and members of the public;


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            c. the collection of objective verifiable evidence;

            d. the process for seeking an override affidavit in the absence of a signed

               complainant affidavit;

            e. for COPA investigators, techniques for conducting impartial investigations of

               domestic violence and sexual misconduct;

            f. for BIA investigators, techniques for conducting impartial investigations of

               sexual misconduct;

            g. investigative skills, including proper interrogation and interview techniques,

               gathering and objectively analyzing evidence, and data and case management;

            h. the challenges of law enforcement administrative investigations, including

               identifying alleged misconduct that is not clearly stated in the complaint or

               that becomes apparent during the investigation;

            i. properly weighing the credibility of witnesses against CPD members;

            j. using objective evidence to identify and resolve inconsistent statements; k.

               implicit bias;

            l. the proper application of the relevant standards of proof;

            m. relevant COPA and CPD rules, policies, and protocols including the

               requirements of this Agreement;

            n. relevant state and federal law;

            o. relevant CPD Rules of Conduct, including Rules 14, 21, and 22;

            p. the CMS;

            q. the applicable collective bargaining agreements; and

            r. how to access and use the PRS or information available on the PRS.


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        529.    Within 180 days of the Effective Date, CPD will begin providing training to all


related to administrative investigations and discipline. To the extent appropriate and necessary


in custody, this training will include instruction on:
                a. identifying and reporting misconduct, the consequences for failing to report

                    misconduct, and the consequences for retaliating against a person for

                    reporting misconduct or participating in an investigation;

                b. use                anonymous reporting website;

                c. for CPD supervisors:

                    i. the proper initiation of the intake process

                    contact information and the consequences for failing to initiate the intake

                    process; and ii. techniques for turning the initiation of a complaint into a

                    positive policecommunity member interaction.

        530.    Within 90 days of the Effective Date, COPA and BIA will create separate initial

and in-service training plans.

        I.      Police Board

        531.    In ord                                  s accountability system must protect the due

process rights of involved CPD members. In order to build public trust and credibility, CPD

must provide opportunities for meaningful community engagement that extends beyond the

complaint process. The Police Board strives to play the important dual roles of protecting CPD

members due process rights and providing a platform for regular community feedback. The City

will ensure that the Police Board has adequate resources, training, and institutional support to

fulfill its important duties.


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          532.   Within 180 days of the Effective Date, the City will draft selection criteria for

Police Board members with the objective of identifying individuals who possess sufficient

experience, judgment, and impartiality to perform the duties of members of the Police Board.

Selection criteria may include prior work in law or law enforcement, and service with
Chicagobased community and non-profit organizations. The draft selection criteria will be
published on


30-day public review and comment period, the City will provide the draft criteria to OAG for

review and comment. The final selection criteria will be published and maintained on the Police



of Police Board members.

          533.   Within 180 days of the Effective Date, the Police Board will submit selection

criteria for Police Board hearing officers to the Monitor and OAG for review and comment. The

criteria will be drafted to help identify individuals who possess sufficient competence,

impartiality, and legal expertise to serve as hearing officers. The selection criteria will be



selection criteria are the basis for future selection of Police Board hearing officers.

          534.   In any disciplinary action requiring the vote of the Police Board, the City will

ensure:

                 a. a hearing officer will preside over the disciplinary proceedings; and

                 b. disciplinary hearings will be videotaped in their entirety.

          535.   Prior to any vote by the Police Board following any disciplinary hearing, the City

will ensure:




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               a. all Police Board members are required to watch and certify that they have

                  watched the videotape of the entire evidentiary hearing;

               b. all Police Board members are provided copies of the complete record,

                  including demonstrative exhibits;

               c. hearing officers will prepare a written report that sets forth evidence presented

                  at the hearing: (i) in support of the charges filed; (ii) in defense or mitigation;

                  and (iii) in rebuttal, including evidence and aggravation, if any; the

                                            will also include information relating to witness

                  credibility;

               d. the Police Board may, at its discretion, ask a hearing officer to additionally

                  prepare a written report and recommendation that sets forth findings of fact

                  and conclusions of law, including any findings relating to witness credibility;

               e. the parties before the Police Board will have 14 days to review the hearing

                                     and recommendation, and file any written objections; and

               f. all Police Board
                  members will
                  review de novo
                      and

                  any recommendation

       536.    As part of the Police Board proceedings, the parties to the Police Board case (the

Superintendent and the involved

complete disciplinary file and will have the opportunity to move for entry into the record of

                                                                       le, as permitted by law and

any applicable collective bargaining agreements.


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       537.    All regular meetings convened by the Police Board that are open to the public

will be attended by the CPD Superintendent or his or her designee; the Chief Administrator of

COPA or his or her designee; the Deputy PSIG or his or her designee; and the Chief of BIA or

his or her designee.

       538.    Within 90 days of the Effective Date, the City will create a policy for collecting,

documenting, classifying, tracking, and responding to community input received during the

                                                                                          (a)

directing community input to the appropriate responding entity, agency, or office; and (b)

documenting and making public, all responses to community input.

       539.    The Police Board will make best efforts to streamline discovery efforts in all

pending proceedings.

       540.    Within 180 days of the Effective Date, Police Board members and hearing

officers will receive initial and annual training that is adequate in quality, quantity, scope, and

type and will cover, at minimum, the following topics:

               a. constitutional and other relevant law on police-community encounters,

                   including law on the use of force and stops, searches, and arrests;

               b. police tactics;

               c. investigations of police conduct;

               d. impartial policing;

               e. policing individuals in crisis;

               f. CPD policies, procedures, and disciplinary rules;

               g. procedural justice; and

               h. community outreach.


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       541.    The trainings will be provided by sources both inside and outside of CPD, as

needed, to provide high quality training on investigative techniques, and CPD policies,

procedures, and disciplinary rules.

       542.    Within 90 days of the Effective Date, the City will create a training policy for

Police Board members and hearing officers.
       543. With regard to the promulgation or adoption of CPD rules and regulations, the


forth in this Agreement.

       J.       Transparency and Trend Analysis

       544.    The City, CPD, and COPA recognize the importance of transparency to

improving CPD-community relations, and the City, CPD, and COPA have taken important steps

to increase transparency about their operations, including how they conduct investigations into

CPD member misconduct. The City, CPD, and COPA will continue to take steps to increase

transparency, including the implementation of the requirements set forth below.

       1.       CPD Transparency and Annual Report

       545.    To the extent permissible by law, within 60 days of its implementation, each CPD

policy and directive, including those created pursuant to this Agreement, will be posted online

and otherwise made publicly available. Any exception will be limited to documents that must

remain confidential to protect public safety, and as approved by the Superintendent.

       546.    Within 180 days following the expiration of each calendar year of the term of this

Agreement, the City will produce and publish an annual report describing CPD activity during



                                                                                                  l

new programs and steps taken to address challenges and build on successes. The CPD Annual

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                                                                          ation and status of this

Agreement. The CPD Annual Report will not include any specific information or data by law

that may not be disclosed. Subject to applicable law, the CPD Annual Report will provide data

and program updates analyzing:

               a. community engagement and problem-solving policing efforts, identifying

                  successes, challenges, and recommendations for future improvement;

               b. stop, search, and arrest data and any analysis of that data that was undertaken;

               c. use-of-force data and associated analyses;

               d. CPD responses to requests for service from individuals in crisis;

               e. initiatives that CPD has implemented for officer assistance and support;

               f. recruitment efforts, challenges, and successes; and

               g. in-service and supplemental recruit training.

       547.    CPD will regularly analyze the information it collects regarding reportable uses of

force to identify significant trends. CPD will include information about any such trends in the

CPD Annual Report.

       548.    Within 180 days following the expiration of each calendar year of the term of this

Agreement, the City will produce and publish an annual report describing certain legal activity


Annual Litigation Report will not include any specific information or data that may not be

disclosed pursuant to applicable law. Subject to applicable law, the CPD Annual Litigation

Report will address:

               a. a list of civil lawsuits in which the plaintiff(s) seek(s) to hold the City

                  responsible for the conduct of one or more current or former CPD members


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               and information that either (i) the lawsuit was concluded by final order and all

               opportunities for appellate review were exhausted, or (ii) any judgment was

               satisfied during the prior calendar year. This list will include civil lawsuits

                handled by the                                             Federal Civil Rights

                                                                              vision if the

               complaint seeks relief associated with a vehicle pursuit, only.

            b. for each case identified in (a) above, the following information will be

               provided in spreadsheet or open-data format:

               i. case name; ii. case number; iii. the date the trial court

               entered the final order; iv. a list of the parties at the time the

               final order was entered;

               v. the nature of the order (e.g., dismissal with prejudice, summary judgment

               for plaintiff(s)/defendant(s), judgment of not liable, judgment of liable); vi.

               the amount of the compensatory and punitive damages awarded (if

               applicable); and

               vii.

            c. a list of civil lawsuits in which the plaintiff(s) seek(s) to hold the City

               responsible for the conduct of one or more current or former CPD members

               and a settlement was reached (including approval by City Council, if

               applicable) during the prior calendar year. This list will include civil lawsuits

               handled by

               DOL

               handled by DO


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               a vehicle pursuit, only.

            d. for each case identified in (c) above, the following information will be

               provided in spreadsheet or open-data format:

               i. case name;
               ii. case number; iii. a list of the parties at the time the case was

                    settled; iv. the amount of the settlement; and




               v.

            e. the outside counsel engaged to defend the City and/or one or more current or

               former CPD members in civil lawsuits handled by DOL Division, as well as

               such lawsu complaint seeks

               relief associated with a

               vehicle pursuit, only. This amount will be presented in the aggregate.

            f. for all individually named defendants in the cases identified in (a) and (c)

               above, the status (e.g., pending with BIA/COPA/OIG or charges sustained,

               not sustained, unfounded, or exonerated by BIA/COPA/OIG) of any

               administrative investigation(s) by BIA, COPA, or OIG at the time the trial

               court entered its final order or the settlement was reached.

            g. the disposition of any felony criminal prosecutions of current or former CPD

               members from the previous year.

            h. the number of pending civil lawsuits that seek to hold the City responsible for

               one or more current or former CPD members that the City is defending. This




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                  Division if the complaint seeks relief associated with a vehicle only.
       549.    As part of the CPD Annual Litigation Report, the City will analyze the data and

trends collected, and include a risk analysis and resulting recommendations.

       2.       BIA and COPA Transparency and Reporting

       550.    By April 2020, CPD and COPA will electronically publish quarterly and annual

reports that will include, at a minimum, the following:

               a. aggregate data on the classification of allegations, self-reported complainant

                  demographic information, and complaints received from anonymous or third

                  party complainants;

               b. aggregate data on complaints received from the public, specified by district or

                  unit of assignment and subcategorized by classification of allegations;

               c. aggregate data on the processing of investigations, including:

                  i. The average time from the receipt of the complaint by COPA, BIA, or the

                  district to the next or initial contact with the complainant or his or her

                  representative; ii. the average time from the investigative findings and

                  recommendations to the final disciplinary decision; iii. the average time from

                  the investigative findings and recommendations to a final disposition; and iv.

                  the number of investigations closed based on the absence of a complainant

                  affidavit, including the number of attempts (if any) to obtain an override

                  affidavit in the absence of a signed complainant affidavit;

               d. aggregate data on the outcomes of administrative investigations, including the

                  number of sustained, not sustained, exonerated, and unfounded allegations;
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               the number of sustained allegations resulting in a non-disciplinary outcome;

               and the number resulting in disciplinary charges;

            e. aggregate data on discipline, including the number of investigations resulting

               in written reprimand, suspension, demotion, and termination;

            f. aggregate data on grievance proceedings arising from misconduct

               investigations, including: the number of cases grieved; the number of cases

               that proceeded before the Police Board; the number of cases that proceeded to

               arbitration; and the number of cases that were settled prior to a full

               evidentiary hearing, whether before the Police Board or in arbitration;

            g. aggregate data on outcomes of misconduct investigations by classification of

               allegations, broken down by self-reported race, gender, and age of the

               complainant and the CPD member;

            h. aggregate data on (i) the number of CPD members who have been the subject

               of more than two completed misconduct investigations in the previous 12

               months, and (ii) the number of CPD members who have had more than one

               sustained allegation of misconduct in the previous 12 months, including the

               number of sustained allegations;

            i. aggregate data on CPD members who have been the subject, in the previous

               12 months, of more than two complaints in the following classifications of

               allegations, regardless of the outcome of those complaint investigations:

             i. allegations of discriminatory policing                            membership

                 or perceived membership in an identifiable group, based upon, but not

                 limited to: race, physical or mental disability, gender, gender identity,


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                     sexual orientation, religion, and age; ii. allegations of excessive force; and

                     iii. allegations of unlawful stops, searches and arrests;

                 j. the disposition of misdemeanor criminal prosecutions of current CPD

                     members.

       551.

conducted by the districts.

       552.     For non-disciplinary purposes, including historical trend analysis, CPD will track,

for each CPD member, for every misconduct investigation: the nature of allegations, the

outcome of the investigation, and the disposition of discipline.

       553.     Beginning in 2020, CPD will audit, on at least an annual basis, the investigation

and disciplinary process involving complaints investigated by BIA and the districts to ensure

that the investigations are conducted in accordance with BIA policies and this Agreement. The

audits will include completed investigations and the recommendations of discipline. CPD will

make public any of the audit findings, ensuring that any personally identifiable information is

redacted.

       554.     OAG acknowledges that the City adopted a policy relating to the public release of

video footage capturing weapons discharges and incidents involving death or serious bodily

injury. Consistent with applicable law, the City will continue to ensure COPA publicly releases

such video footage pursuant to the June 2016 Video Release Policy for the City of Chicago. The



to state and federal transparency laws, including the Illinois Freedom of Information Act, 5 ILCS

140/1 et seq.




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       3.      Police Board

       555.   On an annual basis, the Police Board will track and publish case-specific and

aggregate data about Police Board decisions. Such publications will contain and include, at

minimum, the following:

              a. the date on which the investigating agency (COPA, BIA, district, or OIG)

                  received the complaint or notification for investigation;

              b. the date of the Police Board hearing over which the hearing officer presided;

              c. the disciplinary recommendations and/or decisions (where applicable) made

                  by COPA, BIA, the Superintendent, and the Police Board;

              d. the average time between the filing of disciplinary charges with the Police

                  Board and the first day of hearing;

              e. the average time between the filing of disciplinary charges with the Police

                  Board and the Police Board

              f. the average time between the date on which the investigating agency (COPA,

                  BIA, district, or OIG) received the complaint for investigation and the Police



              g. the date of the alleged misconduct;

              h. the average time between the date of the alleged misconduct giving rise to the



              i. whether any Police Board decision has been appealed to any state court and, if




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       4.       Deputy Inspector General for Public Safety

       556.    The Deputy PSIG will conduct periodic analysis and evaluations, and perform

audits and reviews as authorized by Municipal Code of Chicago § 2-56-230.

       557.                               and reviews will be conducted pursuant to the

Association of Inspectors General Principles and Standards for Offices of Inspector General.

       558.    Within 60 days of the Effective Date, the Deputy PSIG will develop policies for

regularly, and at least annually, conducting data-driven reviews and audits to measure the

effectiveness of the

designed to measure whether members of the community can readily make a complaint alleging

misconduct and whether such complaints are investigated and adjudicated consistently with CPD

policy, this Agreement, and the law. Reviews and audits will include:

               a. analysis of the number of complaints received, the disposition of complaints

                   by complaint type, the timeliness and average length of administrative

                   investigations, and disciplinary actions taken;

               b. analysis of complaint trends;

               c. analysis

               d. analysis of the thoroughness of administrative investigations, and of the

                   justifications for terminating investigations before the investigative findings

                   and recommendations;

               e. analysis of disciplinary grievance procedures and outcomes; and

               f. analysis of complainant-involved mediations.

       559.    The Deputy PSIG will conduct reviews of individual closed COPA and CPD

administrative investigative files for thoroughness, fairness, and objectivity, and will make


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recommendations based on those reviews, including the recommendation that an investigation be

reopened upon a finding of a deficiency that materially affects the outcome of the investigation.

560.   The Deputy PSIG will have timely and full access to all information in the possession or

control of COPA, CPD, the Police Board, and any other City departments or

agencies                                                                                .

       561.    The Deputy PSIG will hire a full-time staff member responsible for diversity and

inclusion issues, who will have specific authority to review CPD actions for potential bias,

including racial bias, on any matter                                               The Deputy

PSIG will regularly publish reports on diversity and inclusion issues, no less frequently than on

an annual basis, which will contain findings and analysis.

       562.    The Deputy PSIG will provide all staff members with comprehensive initial

onboarding training and annual in-service training. The Deputy PSIG will create initial and

inservice training plans and submit these plans to the Monitor and OAG for review and

comment.

       563.    At least 60 days prior to publishing its annual audit plan, the Deputy PSIG will

provide the Monitor with a draft of its audit plan for review and comment.

       564.    The Deputy PSIG will exercise his or her discretionary and oversight

responsibilities without interference from any person, group, or organization, including CPD,

COPA, the Police Board, and City officials. Any person that knowingly interferes with the


Municipal Code of Chicago Sections 2-56-140, 145, 270.

       K.      CPD Policy Recommendations




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       565.    At least quarterly, COPA, the Deputy PSIG, and the President of the Police

Board, or his or her designee, will meet to confer and share information regarding trends and

analyses of data relating to CPD. They will jointly or separately provide any resulting

recommendations for changes in CPD policy or rules, in writing, to the Superintendent.

Thereafter:
               a. the Superintendent will respond to any such recommendation within 60 days

                   of receipt;

               b. the Superintendent s response will include a description of the actions that the

                   Superintendent has taken or plans to take with respect to the issues raised in

                   the recommendations; and

               c. all policy recommendations and responses to the same will be published on a

                   City website.

XI.     DATA COLLECTION, ANALYSIS, AND MANAGEMENT

       A.       Guiding Principles

       566.    Data can empower CPD to engage in the type of critical self-examination

essential to instilling and maintaining constitutional policing. CPD can leverage data to ensure

constitutional policing by: systematically collecting enough data to have a broad-based



reflects those interactions; analyzing the data to identify trends or areas of concern; developing

tailored support and interventions to address behavior that is or may become problematic; and




data to promote accountability to the public by regularly publishing data it collects.


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       B.          Use of Force Data Collection, Review, and Auditing

       568.    CPD will collect and maintain the data and records necessary to accurately

evaluate its use of force practices and to facilitate transparency and accountability regarding

those practices.

       569.    CPD must collect, track, and maintain all available documents related to use of

force incidents, including:

               a. TRRs, or any other similar form of documentation CPD may implement for

                     initial reporting of reportable use of force incidents;

               b. TRR-Is, or any other similar form of documentation CPD may implement to

                     document supervisory investigation of reportable use of force incidents;

               c. Tactical Response Reports

                                                                               documentation CPD may

                     implement to document review or auditing of reportable use of force

                     incidents;

               d. arrest reports, original case incident reports, and investigatory stop reports

                     associated with a reportable use of force incident;

               e. administrative investigative files, including investigative materials generated,

                     collected, or received by BIA, or COPA, or any similar form of

                     documentation CPD may implement for misconduct allegations or civilian

                     complaints; and

               f. all reasonably available documentation and materials relating to any

                     reportable use of force, in-custody injury or death, or misconduct allegation,

                     including body-worn, in-car, or known third-party camera recordings, and


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                    statements, notes, or recordings from witness and officer interviews. 570.

                        The City will ensure that reasonably available documents related to

                    reportable uses of force that are or become subject to misconduct complaints

                    or investigations are promptly provided to the appropriate investigative entity

                    (e.g., COPA, BIA). The City will ensure that any reasonably available

                    documents related to reportable uses of force subject to misconduct

                    complaints or investigations, except for open confidential investigations, are

                    accessible in the

CMS the City is working to create, or in any similar electronic system, by June 30, 2020. Within

seven days of the receipt of a misconduct complaint or the initiation of an administrative

investigation, whichever occurs first, the City will identify any available reportable use of force

documentation associated with the incident and ensure such documentation is accessible via the

CMS or similar system. By June 30, 2020, whenever a reportable use of force incident becomes

the subject of a misconduct investigation, COPA will notify CPD via the CMS within three days

of the initiation of the investigation.

        571.    CPD must have an electronic system that accurately and reliably tracks all data

derived from reportable use of force incidents, including:

                a. the response by CPD members during the incident, including the type(s) of

                    force used;

                b. the date, time, location, and district of the incident;

                c. whether a foot or vehicle pursuit occurred that is associated with the incident;

                d. the actual or, if unavailable, perceived race, ethnicity, age, and gender of the

                    subject;


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               e. the name, watch, employee number, and unit and beat of assignment of any

                    CPD member(s) who used force;

               f. CPD units identified in the incident report as being on the scene of the use of

                    force incident;

               g. whether the incident occurred during an officer-initiated contact or a call for

                    service;

               h.                                             dition, use of drugs or alcohol,

                    ability to understand verbal commands, or disability, as perceived by the CPD

                    member(s) at the time force was used;

               i.

               j. whether the CPD member perceived that the subject possessed a weapon and,

                    if so, what type(s);

               k. whether the subject possessed a weapon and, if so, what type(s);

               l. whether reportable force was used against a subject that was handcuffed or

                    otherwise in physical restraints;

               m. any injuries sustained by CPD members;

               n. any injuries sustained or alleged by the subject(s) and any medical treatment

                    that was offered or performed on the scene of the incident;

               o. for each weapon discharged by an officer, including firearms, Tasers, and OC

                    devices, the number of discharges per weapon; and

               p. whether the subject was charged with an offense and, if so, which offense(s).

        572. CPD will regularly review citywide and district-level data regarding reportable uses

of force to:


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               a. assess the relative frequency and type of force used by CPD members against

                   persons in specific demographic categories, including race or ethnicity,

                   gender, age, or perceived or known disability status; and

               b. identify and address any trends that warrant changes to policy, training,

                   tactics, equipment, or Department practice.

       573.    Prior to conducting the initial assessment required by Paragraph 572, CPD will

share its proposed methodology, including any proposed factors to be considered as part of the

assessment, with the Monitor for review and approval.



with published, peer-reviewed methodologies and this Agreement.

       574.    A designated unit at the CPD headquarters level will routinely review and audit

documentation and information collected regarding each level 2 reportable use of force incident,

a representative sample of level 1 reportable use of force, and incidents involving accidental

firearms discharges and animal destructions with no human injuries to ensure:

               a. CPD members completely and thoroughly reported the reason for the initial

                   stop, arrest, or other enforcement action, the type and amount of force used,

                   t

                   used, and all efforts to de-escalate the situation;

               b. the district-level supervisory review, investigation, and policy compliance

                   determinations regarding the incident were thorough, complete, objective, and

                   consistent with CPD policy;

               c. any tactical, equipment, or policy concerns are identified and, to the extent

                   necessary, addressed; and

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               d. any patterns related to use of force incidents are identified and, to the extent

                  necessary, addressed.

       575.

certain responsibilities described in the preceding paragraph. CPD will ensure that the FRU or

any other unit tasked with these responsibilities has sufficient resources to perform them. CPD

will ensure that the FRU or any other unit tasked with these responsibilities is staffed with CPD

members, whether sworn or civilian, with sufficient experience, rank, knowledge, and expertise

                                              of force practices and related reporting and review

    procedures; conduct trend analysis based on use of force data; identify tactical, equipment,

  training, or policy concerns based on analysis of use of force incidents and data; and develop

         recommendations regarding modifications to tactics, equipment, training, or policy as

                  necessary to address identified practices or trends relating to the use of force.

       576.    CPD will conduct random audits of body-worn and in-car camera recordings of

incidents that involved civilian interactions to assess whether CPD officers are complying with

CPD policy. CPD will take corrective action to address identified instances where CPD officers

have not complied with CPD policy as permitted by law, and will identify any trends that

warrant changes to policy, training, tactics, equipment, or Department practice.

       577.

improvement perspective: (a) any level 3 reportable use of force incident, except for accidental

firearms discharges and animal destructions with no human injuries, and (b) any reportable uses

of force by a CPD command staff member.

       579.    For any reportable use of force incident subject to an ongoing investigation by

COPA, COPA will be exclusively responsible for recommending disciplinary action relating to


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               a. evaluate if actions by CPD members during the incident were tactically sound

                   and consistent with CPD training; and

               b. if applicable, identify specific modifications to existing policy, training,

                   tactics, or equipment that could minimize the risk of deadly force incidents

                   occurring and the risk of harm to officers and the public.

       580.    The FRB will be chaired by the Superintendent, or his or her designee, and will

include, at a minimum, the Chief of the Bureau of Patrol, or his or her designee, and CPD

members at the rank of Deputy Chief, or above, who are responsible for overseeing policy

development, policy implementation, train

Counsel, or his or her designee, will also serve on the FRB.

       581.    The FRB will review each incident within its purview promptly, which will in no

event be more than 96 hours after the incident occurs. Within 30 days after its review of an

incident, the FRB will issue recommendations, if appropriate, to the Superintendent regarding

any need for additional training or modifications to policies, tactics, equipment, or Department

practices. Upon review and approval by the Superintendent, or his or her designee, the FRB will

assign each approved recommendation to a specific CPD command staff member for

implementation. CPD will promptly implement each approved recommendation.

       C.        Publication of Data Regarding Reportable Uses of Force

       582.    Beginning within 180 days of the Effective Date, CPD will publish on at least a

monthly basis aggregated and incident-level data, excluding personal identifying information

(e.g., name, address, contact information), regarding reportable use of force incidents via a

publicly accessible, web-based data platform.


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       583.    The publicly accessible, web-based data platform will enable visitors to:

               a. identify where reportable uses of force occur through interactive maps

                  depicting incident frequencies at a citywide, district, neighborhood, and ward

                  level;

               b. identify the frequency, in the aggregate and by type, of reportable uses of

                  force at the citywide, district, neighborhood, and ward level through graphs,

                  charts, and other data visualizations; and

               c. review aggregate demographic information about the race, ethnicity, age, and

                  gender of persons subjected to reportable uses of force at the citywide,

                  district, neighborhood, and ward level through graphs, charts, and other data

                  visualizations.

       D.       Early Intervention System

       584.    CPD must collect and provide information to supervisors that enables them to

proactively identify at-risk behavior by officers under their command, and to provide

individualized interventions and support to address the at-risk behavior. CPD must provide

supervisors with an automated electronic system that provides this information and equips

supervisors to perform these duties.

       585.    The automated electronic system must be:

               a. data-driven and developed with statistical methods and analytic techniques;

               b. customizable t

               c. adaptive as new information becomes available;

               d. capable of being audited and evaluated to improve accuracy; and




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               e. able to generate sufficient data that enables assessment of the effects, if any,

                   of support provided and interventions undertaken.

       586.    The automated electronic system must perform these primary functions:

               a. using statistical methods to identify officers who are at elevated risk of

                   engaging in conduct leading to at-risk behavior;

               b. identifying and facilitating support and interventions that prevent or reduce

                   the occurrence of the identified at-risk behavior;

               c. providing supervisors with a dashboard of relevant information about

                   members under their direct command to facilitate appropriate supervisory

                   intervention and support; and

               d. performing peer group analysis with comparative data to account for

                   differences in job assignments, and to identify group- and unit-level patterns

                   of activity.

       587.    A primary goal of the automated electronic system will be to facilitate early

identification of officers at elevated risk of being involved in certain types of events so that the

officers can receive tailored interventions intended to reduce such risk. The types of events

sought to be avoided could include, depending upon the feasibility of identifying these events

using statistical methods and analytic techniques, examples such as any instance in which a CPD

member is: directly involved in an excessive force incident; subject to a sustained finding in a

misconduct investigation; a defendant in a civil lawsuit resulting in an adverse judgment or

settlement; suspended more than five days; the subject of a recommendation of employment

termination by COPA, BIA, or the Superintendent; a direct participant in an officer-involved

shooting or death determined to be unjustified or out of policy by COPA, BIA, the


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Superintendent, the Police Board, or a court of law; convicted of a crime; or subject to an

increased risk of suicide or alcohol and/or substance abuse.

       588.    The automated electronic system must include a computerized relational database

that will be used to collect, maintain, integrate, analyze, visualize, and retrieve data for each

CPD officer. The information collected and maintained must include but is not limited to:

               a. all reportable uses of force;

               b. all arrests by CPD personnel;

               c. all injuries to and deaths of persons in CPD custody;

               d. all injuries and deaths resulting from conduct by CPD personnel;
               e. all vehicle pursuits and traffic collisions involving CPD equipment or

                   personnel;

               f. all misconduct complaints and investigations involving CPD officers,

                   including the disposition of each allegation;

               g. all civil or administrative claims initiated against the City or CPD, or CPD

                   officers for job-related conduct;

               h. all criminal proceedings initiated against a CPD officer, which CPD will

                   require officers to report;

               i. all instances in which CPD is notified that a court has made a negative

                   credibility determination regarding a CPD officer; j.



                   Office that an affirmative finding was made during the course of a criminal

                   proceeding that a CPD member was untruthful, including any findings made

                   at suppression hearings;



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               k. all instances in which
                  CPD learns through

                   Office, the United States

                  Illinois, or other prosecutorial authority that prosecution was declined based in



               l. judicial proceedings where an officer is the subject of a restraining or

                   protective order, which CPD will require officers to report;

               m. disciplinary history for all CPD members;

               n. all non-disciplinary corrective action retained electronically;

               o. a                         -worn and in-car camera policies;
               p. all awards and commendations received by CPD officers;

               q. officer sick leave usage;

               r. missed court appearances;

               s. training history; and

               t. rank, assignment, and transfer history.

       588.    CPD will collect and maintain all information reasonably necessary to identify

patterns of behavior that are indicative of a future instance of at-risk behavior. The automated

electronic system must employ specific criteria to identify officers who will be subject to an

intervention or targeted support. The criteria may be based on a single indicator, such as the

number of misconduct complaints against an officer, a combination of multiple indicators, or an

algorithmic scoring model. CPD will adjust the criteria as necessary based on data and

experience to ensure interventions and support are optimally targeted.

       589.    CPD will ensure that all required information is entered into the automated

electronic system in a timely, accurate, and complete manner. All information captured within

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the automated electronic system will be accessible in an organized manner that facilitates

identification of at-risk officer conduct.

        590.     CPD will require unit commanding officers to review the automated electronic

system data regarding all officers who are transferred to their command within 14 days of the

transfer. CPD will require supervisors to conduct monthly reviews of the automated electronic

system data regarding officers under their direct command. The purpose of these reviews will be

for supervisors to identify and address patterns of behavior by officers under their direct

command that are indicative of a future instance of at-risk behavior. CPD will also require

supervisors to review the automated electronic system data together with officers under their

direct command during the annual performance evaluation process.

        591.     The automated electronic system will employ push notifications and similar

mechanisms to alert supervisors when patterns of conduct indicative of a future instance of atrisk

behavior are identified. CPD will provide appropriate interventions and support in a timely

manner.

        592.     CPD will ensure that any CPD member required to receive counseling after being

identified through the automated electronic system has the opportunity to participate in an initial

counseling session within 14 days of the member being notified of the requirement.

        593.     CPD will ensure that command staff regularly use the automated electronic

system data to effectively manage CPD officers and supervisors across all ranks, watches, beats,

and districts.

        594.     CPD will provide training to all officers, supervisors, and command staff

regarding the automated electronic system to ensure proper understanding and use of the system.




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        595.   CPD will train all supervisors to use the automated electronic system as designed,

to interpret the outputs, to perform appropriate interventions and support, to address underlying

stressors to promote officer well-being, and to improve the performance of officers under their

direct command.

        596.   CPD will conduct annual audits of the automated electronic system. The audits

will:

               a. assess the overall effectiveness of the automated electronic system and the

                   support and interventions prompted by the system;

               b. assess whether and to what extent supervisors are completing monthly

                   reviews of the automated electronic system information regarding officers

                   under their direct command;

               c. assess whether and to what extent CPD is providing interventions and support

                   in a timely manner;

               d. assess whether the interventions and support provided are appropriate and

                   effective; and

               e. identify any recommended changes to improve the effectiveness of the

                   automated electronic system.

        597.   CPD will provide timely and appropriate interventions and support to officers

identified through the automated electronic system. Interventions and support will be designed to

assist officers in avoiding and correcting at-risk behavior. All interventions and support will be

documented in the automated electronic system. CPD will review, evaluate, and document in the

automated electronic system the progress and effectiveness of the intervention or support

strategy for each officer.


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       598.    In seeking to provide improved support and wellness to its officers, CPD will

seek to identify which supports and interventions are most helpful to officers and develop

support and training based on CPD feedback and best practices. The types of support services

offered to CPD officers may include, but not be limited to: counseling; training; coaching and

mentoring; and additional supervision or monitoring.

       599.    CPD currently maintains a PRS, which is modeled on first-generation attempts by

other large departments to develop early intervention systems to identify and address at-risk


                         -generation EIS that will improve on early intervention systems

implemented in other jurisdictions.

       600.    CPD will maintain its partnership with the Crime Lab or another similarly

qualified service provider until such time as an EIS consistent with the requirements of this

Agreement has been implemented department-wide, and CPD has developed sufficient technical

competency to maintain and improve the EIS as necessary.

       601.    CPD will continue to solicit input and feedback from representatives of its

collective bargaining units during the development and implementation of the EIS.

       602.    Prior to beginning the phased implementation of the EIS, CPD will develop and

implement new or revised policies and procedures for using the EIS and, if applicable, the

updated PRS and information obtained from them. The policies and procedures will address data

storage, data retrieval, data analysis, reporting, pattern identification, supervisory use,

intervention and support options and procedures, documentation and audits, access to the

system, and confidentiality of personally identifiable information.

       603.    After the completion of the development of the EIS, CPD will implement the EIS

through a phased rollout that incorporates pilot testing to identify and address any technical or
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design issues. CPD will begin phased implementation of the EIS within 18 months of the

Effective Date, and will complete full implementation of the EIS by no later than 24 months

after the Effective Date.

        604.   Prior to full implementation of the EIS, CPD will continue to use the PRS as well

as other existing tools and resources to identify patterns of conduct by officers that warrant

support and intervention. Following the development and implementation of the EIS, the

functions required of the automated electronic system described above may be performed by a

combination of the EIS and the PRS as long as all required functions are performed and

supervisors are using the system(s) as required by CPD policy. To the extent CPD continues

utilizing PRS to perform any of the functions required by this Agreement, CPD will update the



2020.

        605.   The City will ensure CPD has adequate funding to develop, implement, and

maintain the EIS and, if necessary, the updated PRS, including ongoing hardware and support

requirements and officer support services.

        E.      Data Systems Plan

        606.   Within 365 days of the Effective Date, CPD will conduct an assessment of

current information collection mechanisms and data management technology to identify:

               a. what data CPD currently collects and what additional data is required to be

                   collected to comply with this Agreement;

               b. the manner of collection (e.g., electronic or paper);

               c. the frequency with which each type of data is updated;




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               d. the quality control mechanisms in place, or the need for such mechanisms, to

                  ensure the accuracy of data collected;

               e. what software applications or data systems CPD currently has and the extent

                  to which they are used or accessed by CPD members;

               f. redundancies or inefficiencies among the applications and systems currently

                  in use; and

               g. the extent to which the applications and systems currently in use interact with

                  one another effectively.

       607.    Within 90 days of completion of the assessment described in the preceding

paragraph, CPD will develop a plan, including a timeline for implementation, to prioritize and




accordance with the specified timeline for implementation.

       608.    CPD will continue to maintain an Information Systems Development Group




some capacity, personnel from various units of the Department that are responsible for

overseeing patrol field operations; conducting criminal investigation and processing juvenile

offenders; initiating and conducting investigations of organized crime; overseeing the

administrative aspects of CPD; managing data, technology, and information systems;

coordinating and exercising supervision over disciplinary matters; administering training;

providing legal advice; developing and publishing department policies and procedures; and




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overseeing and coordinating CPD s budget and fiscal responsibilities. The ISDG will be

responsible for:

               a. ensuring implementation of the Data Systems Plan;

               b.                                                                        nagement

                    technologies are in the best long-term interests of the Department for

                    improving operations and management consistent with the terms of this

                  Agreement; and
               c. recommending strategies to promote the development, sharing, and reporting

                    of relevant information to the Superintendent, the public, the FRB, COPA,

                    BIA, and OIG.

       609.    On an annual basis, to improve the accuracy, reliability, and efficiency of its data

collection, CPD will review and, as necessary, revise departmental forms relating to: use of

force, arrests, interactions with individuals in crisis, and the disciplinary process.

XII.     IMPLEMENTATION, ENFORCEMENT, AND MONITORING

       A.      Independent Monitor

       610.    The Parties will jointly select an independent monitor who will assess and report

whether the requirements of this Agreement have been implemented, and whether

implementation is resulting in constitutional policing and increased community trust of CPD.




Agreement.

       611.    The Monitor will be the agent of the Court and subject to the supervision and

orders of the Court, consistent with this Agreement. The Monitor will only have the duties,



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responsibilities, and authority conferred by this Agreement. The Monitor will not, and is not

intended to, replace or assume the role or duties of any CPD or City official. The Superintendent

of CPD continues to be in charge of the Department.

       612.    In order to assess and report on whether the requirements of this Agreement have

been implemented and its objectives are being achieved, the Monitor will conduct the reviews,

audits, and assessments specified below, and such additional audits, reviews, and assessments as

the Monitor reasonably deems necessary to determine whether the Agreement has been

implemented as required.

       B.      Selection and Compensation of the Monitor

       613.    The Parties will jointly select a Monitor, acceptable to both. The Monitor will

have expertise in: policing and law enforcement practices, monitoring and oversight, preparation

of reports or other written materials for diverse audiences on complex topics, law and civil

rights, project management, data analysis and information technology, communication, and

budgeting. The Monitor will also have a demonstrated ability to collaborate with government

entities, and members of the monitoring team should have knowledge of Chicago communities

and experience working in Chicago with various constituencies. The Monitor and personnel

assisting the monitor will act in accordance with standards of integrity, and will consistently

demonstrate professionalism and respect in all interactions with the community, CPD members,

and all others with whom they interact in the cour

       614.    In selecting the Monitor, the Parties have established a mutually agreed process in

which the public has opportunities to provide input.

               a. Request for Proposals: The Parties have issued a Request for Proposals ( RFP

                   ) from candidates interested in serving as the Monitor. Responses to the RFP


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               will be due no earlier than 39 days after issuance. Representatives of the

               Parties will form an Evaluation Committee, which will include representation

               from OAG and the City and will be authorized to conduct the selection

               process on behalf of the Parties.

            b. Evaluation of Proposals and Public Comment: Following the RFP submission

               deadline, the Parties will publicly identify the RFP respondents and publicly

               post RFP responses for all respondents. The Parties will establish a public

               comment period during which members of the public can review the

               submissions and provide feedback about the applicants to the Parties. The



               submissions, conduct due diligence on the applicants, review and consider the

               public comments, and use that information to reach agreement on a subset of

               the teams to interview as finalists.

            c. Interviews of Finalists: After the Evaluation Committee narrows the pool of

               candidates to a group of finalists, those finalists will be invited to participate

               in a series of interviews with the Parties and various engaged community

               stakeholders. All interviews will be in person and conducted in Chicago.

            d. Public Forum: The Parties will also provide an opportunity for finalists to

               present and respond to questions and concerns from the Chicago community.

               The Evaluation Committee will host a public meeting during which finalists

               will make short presentations and respond to written questions submitted by

               members of the public in attendance at the forum. The public will be given an




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                   opportunity to provide additional feedback on the finalists at the end of the

                   inperson forum.

               e. Selection and Recommendation to the Court: The Parties will review and

                   consider all information gathered by the Evaluation Committee regarding

                   each finalist and work to jointly select a Monitor and monitoring team. The

                   Parties will then submit a joint motion to the Court seeking approval of the

                   Monitor they have selected. The Court may also conduct a private interview

                   of the




       615.
       616.    If the Parties are unable to agree on a Monitor, each Party will submit the name of

one individual or one group of individuals, along with resumes and cost proposals, to the Court,

and the Court will choose a candidate or candidate team proposed by one of the Parties. When

                              preferred candidates, the Court may consider submissions from the

Parties in making its determination.

       617.    The City will bear all reasonable fees and costs of the Monitor. During the

selection process for the Monitor, the Parties agreed to an annual cap of $2.85 million per year.

       618.    The Parties recognize the importance of ensuring that the fees and costs borne by

the City are reasonable. Accordingly, the Monitor will submit a proposed budget annually to the

Court for approval. Upon a motion by the Monitor or either Party, or sua sponte, the Court may

                                                                                             that the




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increase is necessary for the Monitor to fulfill its duties under the Agreement and the increase is

not due to a failure in planning, budgeting, or performance by the Monitor.

        619.   In the event that any dispute arises regarding the reasonableness or payment of
the


cooperatively prior to seeking the assistance of the Court.

        620.   The City will provide the Monitor with office space and reasonable office

support, such as furniture, telephones, computers, internet access, information technology

support, secure document storage, and document scanning and copying capabilities.

        621.   At any time after being selected, the Monitor may request to be allowed to hire,

employ, or contract with such additional persons or entities as are reasonably necessary to

perform the tasks assigned to the Monitor by this Agreement. Any person or entity hired or

otherwise retained by the Monitor will be subject to the provisions of this Agreement, including

the cap and annual budget provisions set out in this Section. The Monitor will notify the Parties

in writing if the Monitor wishes to hire or retain such additional person or entity. The notice will

identify and describe the qualifications of the person or entity to be hired or retained, as well as

                                                                                s   proposal,    the

Monitor will be authorized to hire or retain such additional person or entity. The Parties will have

21 days to object to any such proposal after being notified of it. If the Parties and the Monitor

are unable to reach agreement regarding the proposal within this time period, the Court will

resolve the dispute.

        622.   At least annually, the Parties will submit written feedback to the Monitor, the

Parties, and the Court regarding the Monitor. The feedback may address such topics as the



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whether the Monitor is adequately engaging the community and relevant stakeholders. Upon


feedback.

       623.    At any time, on motion by either                                                    ,

the Court may remove the Monitor for good cause.

       624.    In the event the Monitor is removed, resigns, or is no longer able to fulfill its

responsibilities under this Agreement, the Court will appoint a replacement, acceptable to both

Parties. The selection of the new Monitor will be made pursuant to a method agreed to by the

Parties. If the Parties are unable to agree on a method of selection or make a selection within 45



of one individual or one group of individuals, along with resumes and cost proposals, to the
Court, and the Court will choose a candidate or candidate team proposed by one of the Parties.
In


interim Monitor to serve until such time as the replacement selection process has been

completed.

       625.    Except for the period in which a new or replacement Monitor is being selected,

there will be a Monitor in place at all times while this Agreement is in effect.

       C.      Review of CPD Policies and Procedures

       626.    CPD will develop, revise, implement, and maintain policies and procedures as

required by this Agreement consistent with the timelines identified herein. CPD will ensure that

its policies and procedures are plainly written, logically organized, and use clearly defined terms.


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       627.    The City and CPD will submit all policies and procedures required to be

implemented or maintained by this Agreement to the Monitor and OAG for review, comment,

and, subsequently, if necessary, objection. When the City and CPD have developed the draft of a

new or revised policy or procedure required by this Agreement, they will consult in a

collaborative manner at the earliest feasible time with the Monitor and OAG, with the goal of

developing consensus on the substance of the policy or procedure, and make any necessary and

appropriate adjustments based on those consultations. The City and CPD will submit the final

draft of any new or revised policy or procedure subject to review and comment by the Monitor

and OAG to the Monitor and OAG at least 30 days before the policy or procedure is scheduled

to take effect, unless the Parties and the Monitor agree that a shorter period of time is appropriate

under the circumstances. The Parties and the Monitor will work collaboratively on developing

and revising policies and procedures related to this Agreement.

       628.    In the event that the Monitor and OAG fail to comment on submitted policies or

procedures within the 30-day period, the policy or procedure will be deemed to be

nonobjectionable by the Monitor and OAG, unless the Monitor, OAG, or both state in writing

that additional time is necessary to complete an adequate review and the reason why additional

time is necessary. In such writing, the Monitor, OAG, or both will specify how much additional

time is necessary, which will not exceed 15 additional days. Any additional time required by the

Monitor or OAG beyond the initial 30

implementing the policy or procedure. The Parties may seek relief from the Court to the extent

the process of reviewing and approving a particular policy or procedure has become

unreasonably delayed.




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       629.    To the extent the Parties and the Monitor have unresolved disagreements

regarding a particular policy or procedure after attempting to resolve them for at least 30 days,

the Monitor or OAG may provide a written notice of outstanding objections to the City and CPD

 objection notice

incorporate the requirements of this Agreement or is inconsistent with the goals and objectives

of this Agreement or applicable law.

       630.    In the event the Monitor or OAG provides an objection notice, the Monitor will

convene the Parties and attempt to resolve the identified objections within 30 days of the

objection notice                              workout period

proposed resolution of remaining objections in writing at the conclusion of the workout period.

If either Party disagrees with the

Court to resolve such dispute. Subject to the limited extraordinary circumstances exception set

out below, CPD will not publish or implement new or revised policies or procedures required by

this Agreement until the Monitor and OAG have reviewed and commented on such policies or

procedures, or until the workout period and related resolution processes have occurred.

       631.    If extraordinary circumstances demand an immediate revision or clarification

(e.g., due to a change in law or other urgent circumstance), CPD may issue a temporary policy or

procedure. CPD must provide prompt notice of the temporary policy or procedure to the Monitor

and OAG, and the temporary policy or procedure will only remain in effect until the adoption of

a revised policy or procedure pursuant to the review, comment, and objections process set forth

above. This paragraph does not permanently exempt any new or revised policy or procedure

from the review and comment process.




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       632.    The Parties and the Monitor will work collaboratively and cooperatively to

establish and adhere to a schedule that ensures policies and procedures required by this

Agreement are reviewed adequately, efficiently, and expeditiously.

       633.    CPD will ensure that its officers and the public have a meaningful opportunity to

review and comment on material changes to CPD policies and procedures required by this

Agreement. CPD will publish upcoming opportunities for CPD member and/or community

input, involvement, or engagement that relate to the material requirements of this Agreement.

After the Monitor and OAG comment on a proposed policy or procedure, or all workout period

processes described above have been completed, CPD will post proposed policies and

procedures on its public website and provide its officers and the public with an opportunity to

comment for a period of not less than 15 days. There will be reasonable exceptions to the posting

requirement for policies and procedures that are law enforcement sensitive, such as procedures

regarding undercover officers or operations. In response to any comments received, CPD will

consider whether any further revisions to the proposed policy or procedure are appropriate.

Changes implemented in response to public or officer comment will be subject to consultation

among the Parties, and review and comment by the Monitor and OAG prior to publication and

implementation.

       634.    CPD will post final and published department-wide directives, policies, and


procedures that are law enforcement sensitive.

       635.    CPD will provide a mechanism to electronically access approved and published

department-wide directives in a usable, organized, and searchable format.




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        636.      CPD will periodically review each policy required to be revised or developed by

this Agreement. CPD will conduct an initial review of each such policy no later than two years

after the polic

subsequent reviews every two years thereafter, although the Parties may modify the timeframe

for the review of a specific policy. The purpose of the initial and subsequent reviews is to

evaluate whether the policy provides effective guidance and direction to CPD members and is

consistent with the requirements of this Agreement and current law.

        637.      CPD will make any necessary updates to its policies and training based on

changes in the law t

communicate to its members such changes in the law and related policies.

       D.         Review of Implementation Plans and Training Materials

        638.      CPD will submit the following plans required by this Agreement to the Monitor

and OAG for their review and approval:

                  a. the Crisis Intervention Plan referenced in Part G of the Crisis Intervention

                     section of this Agreement;

                  b. the CIT Officer Implementation Plan referenced in Part D of the Crisis

                     Intervention section of this Agreement;
                  c. the Training Plan referenced in Part B of the Training section;

                  d. the plan regarding span of control and unity of command referenced in Part C

                     of the Supervision section of this Agreement;

                  e. the recruitment, hiring, and promotion plans referenced in Parts C and D of

                     the Recruitment, Hiring, and Promotion section of this Agreement;

                  f. the Officer Support Systems Plan referenced in Part B of the Officer Wellness

                     and Support section of this Agreement;
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               g. the Equipment and Technology Audit Response Plan referenced in Part C of

                   the Officer Wellness and Support section of this Agreement;

               h. the training plans for COPA, the Deputy PSIG, and BIA referenced in Part H

                   of the Accountability and Transparency section of this Agreement; and

               i. the Data Systems Plan referenced in Part E of the Data Collection, Analysis,

                   and Management section of this Agreement.

       639.    When the City and CPD have developed the draft of a plan, they will consult at

the earliest feasible time with the Monitor and OAG, with the goal of developing consensus on

the substance and timetable for the plan, and make any necessary and appropriate adjustments

based on those consultations.

       640.    CPD will submit the final draft of each plan required by this Agreement and

subject to review and approval by the Monitor and OAG to the Monitor and OAG at least 30

days prior to the proposed date for initial implementation. In the event that the Monitor and

OAG fail to comment on a submitted plan within the 30-day period, the Monitor and OAG will

be deemed to have no objection to the plan, unless the Monitor, OAG, or both state in writing

that additional time is necessary to complete an adequate review. Requests for additional time to

review plans will be subject to the same standard and process set forth above for requesting

additional time to review policies and procedures. The Parties and the Monitor will adhere to the

dispute resolution process described in Part C of this Section to resolve objections as necessary.

The Monitor or OAG may object if a proposed plan does not incorporate the requirements of this

Agreement or is inconsistent with the goals and objectives of this Agreement. Final versions of

the plans will be made public.




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        641.    CPD will submit all new or revised curricula, lesson plans, and course materials

related to trainings required by this Agreement to the Monitor and OAG for their review,

comment, and, subsequently, if necessary, objection. When the City and CPD have developed

the draft of any such materials required by this Agreement, they will consult at the earliest

feasible time with the Monitor and OAG, with the goal of developing consensus on the

substance of the materials, and make any necessary and appropriate adjustments based on those

consultations. CPD will provide final drafts of curricula, lesson plans, and course materials

subject to review and comment by the Monitor and OAG to the Monitor and OAG at least 30

days prior to instituting the applicable training. In the event that the Monitor and OAG fail to

comment on submitted training materials within the 30-day period, the Monitor and OAG will

be deemed to have no objection to the training materials, unless the Monitor, OAG, or both state

in writing that additional time is necessary to complete an adequate review. Requests for

additional time to review training materials will be subject to the same standard and process set

forth above for requesting additional time to review policies and procedures. The Parties and the

Monitor will adhere to the workout period process to resolve objections as necessary.

       E.      Compliance Reviews and Audits

        642.    The Monitor will conduct reviews or audits as necessary to determine whether the

City and CPD have substantially complied with the requirements of this Agreement. Compliance

with a requirement means that the City and CPD: (a) have incorporated the requirement into

policy; (b) have trained all relevant personnel as necessary to fulfill their responsibilities pursuant

to the requirement; and (c) are carrying out the requirement in actual practice.

        643.    CPD members who violate policies, procedures, orders, or directives that are

required by this Agreement or that implement its provisions will be held accountable by CPD


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                                                                     s. The Monitor may review

and audit whether CPD is enforcing the policies, procedures, orders, or directives required by or

implementing this Agreement.

        644.   The Monitor will conduct compliance reviews in a fair manner with reliable

means and methods. The Monitor may use sampling and compilation data based on standard and

reliable methodologies, to be shared with the Parties, in conducting compliance reviews and

audits. Those methodologies will be shared with the Parties in advance of their use.

       F.      Community Surveys

        645.   Within 180 days of being appointed by the Court, and every two years thereafter,

the Monitor will conduct reliable, representative, and comprehensive surveys of a broad cross

section of members of the Chicago community regarding CPD.

        646.   The surveys will seek to assess perceptions of, and satisfaction with, CPD. The

surveys

engagement, effectiveness, responsiveness, handling of misconduct complaints and

investigations, and interactions with members of the Chicago community, including interactions

with individuals who are people of color, LGBTQI, in crisis, youth, members of religious

minorities, or have disabilities.

        647.   Analysis of the results of the surveys may be used as assessments to demonstrate

sustained and continuing improvement in constitutional policing and community trust of CPD.

648.   To assist the Monitor in conducting the surveys, and only if the Monitor team does not

include a person or entity capable of conducting the surveys, the Monitor will retain an



budget submission, that will:

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              a. design, conduct, and analyze the surveys in a statistically reliable manner;

              b. develop a baseline of measures on community satisfaction with policing,

                  attitudes among CPD officers, and the quality of police-community

                  interactions;

              c. ensure that the surveys are designed to capture a representative sample of

                  Chicago residents drawn from its many diverse communities;

              d. conduct the surveys required by this Agreement in English, Spanish, and other

                  languages, as necessary, to ensure appropriate representation from the sample

                  group;

              e. solicit input from CPD officers and command staff, OAG representatives, and

                  community members to identify emerging issues or concerns related to

                  policing in Chicago;

              f. consult with CPD and OAG regarding the development and methodology of

                  the surveys; and

              g. prepare a report of the findings, including pattern and trend analysis, for each

                  survey conducted.

       649.   CPD and the City will cooperate with the design and delivery of the surveys,

including by allowing CPD officers to confidentially respond.

       650.   The results of the survey will be provided to the Court and be publicly distributed



       651.   CPD will consider the results of the surveys in reviewing CPD policies, training,

and practices as necessary and appropriate.

       G.     Monitoring Plan and Review Methodology

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       652.    Within 90 days of being appointed by the Court, the Monitor will develop a plan


implementation. The Monitor will submit a draft Monitoring Plan to the Parties for their review

and approval within 75 days of the selection of the Monitor. The Parties will have 15 days

following receipt of a draft to review it, and provide comment or notice of any objections to the

Monitor and the other Party. In subsequent years, the Monitor will, in coordination with the

Parties and pursuant to the process outlined in this paragraph, prepare an annual Monitoring Plan

for each year this Agreement remains in effect. The Monitoring Plans will be made public.

       653.    Each Monitoring Plan will clearly delineate the requirements of this Agreement to

be assessed for compliance, indicating which requirements will be assessed together.

       654.    Each Monitoring Plan will create a tentative schedule for conducting compliance

reviews or audits of applicable requirements.

       655.    At least 45 days prior to the initiation of any compliance review or audit, the

Monitor will submit a proposed methodology for the review or audit to the Parties. The Parties

will submit any comments or concerns regarding the proposed methodology to the Monitor no

later than 30 days prior to the proposed date of the review or audit. The Monitor will modify the

methodology as necessary to address any concerns or will inform the Parties in writing of the

reasons it does not modify its proposed methodology.

       H.      Monitoring Technical Assistance and Recommendations

       656.    The Monitor may, at the request of the City, CPD, or OAG, or on its own

initiative, provide technical assistance and make recommendations to the Parties regarding

measures that may facilitate timely full and effective compliance with this Agreement and

achievement of its underlying objectives. Such technical assistance and recommendations may


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include suggestions to change, modify, or amend a provision of this Agreement; to develop or

amend policy; to provide additional training in any area related to this Agreement; or to modify

the content or form of existing training.

       I.      Comprehensive Assessment

       657.    Three years after the Effective Date, the Monitor will conduct a comprehensive

assessment to determine whether and to what extent the City and CPD are in compliance with

this Agreement, whether the outcomes intended by this Agreement are being achieved, and

whether any modifications to this Agreement are necessary in light of changed circumstances or

unanticipated impact (or lack of impact) of the requirements.

       658.    This comprehensive assessment will also address areas of greatest progress and

achievement, and the requirements that appear to have contributed to these achievements, as

well as areas of greatest concern, including strategies for accelerating full and effective

compliance.

       659.    Based upon this comprehensive assessment, the Monitor will recommend any

modifications to this Agreement necessary to achieve and sustain intended results. Where the



this Agreement accordingly. In the event of a disagreement, the Parties will submit their




empower the Monitor to unilaterally modify the terms of this Agreement.
     660. The Monitor will be appointed for an initial p

appointment by the Court through the completion of the comprehensive assessment. At the

conclusion of the comprehensive assessment, there will be an evaluation by the Court to



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misconduct or unethical behavior; demonstrated a lack of competence to perform the duties

required by this Agreement; or materially failed to perform its responsibilities under this

Agreement.

       661.    On a semiannual basis, the Monitor will file with the Court written public reports

regarding the status of compliance with this Agreement, which will include, but not be limited

to, the following information:

               a. a description of the work conducted by the Monitor during the reporting

                    period;

               b. a description of each Agreement requirement assessed during the reporting

                    period, indicating which requirements have been, as appropriate:

                    i. incorporated into policy, ii. the subject of sufficient training for all

                    relevant CPD or City personnel, and iii. carried out in actual practice;

               c. the methodology and specific findings for each compliance review conducted;

               d. for any requirements that were reviewed or audited and found not to have


                    necessary steps to achieve compliance;

               e. a projection of the work to be completed during the upcoming reporting

                    period; and

               f.

                    full and effective compliance with this Agreement.


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       662.    For the final semiannual report for each calendar year, the Monitor will also

include: a summary of all Agreement requirements indicating which requirements have been

incorporated into policy, the subject of sufficient training for all relevant CPD or City personnel,

and carried out in actual practice.

       663.    The Monitor will provide a copy of the semiannual reports to the Parties in draft

form no more than 30 days after the end of each reporting period. The Parties will have 15 days

following receipt of a draft report to comment on the draft report, and provide those comments

to the Monitor a

appropriate changes, if any, before filing the report with the Court.

       664.    The Monitor will maintain a public website and publish each semiannual report,

                                      ments on the draft report, on the website immediately after
                                                                                           filing

the report with the Court.

       665.    In addition to the mandatory semiannual reports, the Monitor may, at any time,

prepare written reports on any issue or set of issues covered by the Agreement. The process for

commenting on and publishing these additional reports will be the same as the process

applicable to semiannual reports.

       666.    As an agent of the Court, the Monitor may raise any issue related to this

Agreement with the Court at any time.

       J.      Coordination with the Office of Inspector General

       667.    In conducting compliance reviews, and audits, and in developing its monitoring

plan and review methodologies, the Monitor may coordinate and confer with the OIG for the




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City to avoid duplication of effort. However, it is the exclusive role of the Monitor and OAG to

assess compliance with this Agreement.

       K.      Communication Among the Monitor, the Parties, and the Public

       668.    The Monitor will maintain regular contact with the Parties in order to ensure

effective and timely communication regarding the status of compliance with this Agreement. To

facilitate this communication, the Monitor will conduct monthly meetings, which will include, at

a minimum, participation by the CPD Superintendent, counsel for the City, other CPD personnel

designated by the Superintendent to implement this Agreement, and OAG.

       669.

certain community organizations that have established a broad-based community coalition

                     ted to monitoring, enforcing, and educating the community about this

Agreement. No less frequently than quarterly, the Monitor will participate in meetings with the

Coalition, as provided in Paragraph 9 of the MOA.




perspectives on police interactions. The Monitor will notify the Parties in advance of the date,

time, and location when such meetings are scheduled.

       671.    The Monitor will periodically meet with CPD officers to provide them with

information about the Agreement and its implementation, and to respond to their questions,

concerns, and suggestions. The Monitor will also periodically meet with the collective

bargaining representatives of CPD officers.

       L.      Public Statements, Testimony, Records, and Conflict of Interest




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       672.    Except as required or authorized by the terms of this Agreement, or when

authorized jointly by the Parties, or by the Court, the Monitor will not make any public

statements or issue findings with regard to any act or omission of the Parties, or their agents,

representatives, or employees, or disclose confidential, non-public information and materials

received by or reviewed by the Monitor pursuant to this Agreement.

       673.    The Monitor will not testify in any other litigation or proceeding with regard to

any act or omission of the City, CPD, or any of their officials, officers, agents, or employees

related to this Agreement or regarding any matter or subject that the Monitor may have received

                                                                                            order

issued by the Court. This paragraph does not apply to any proceeding before the Court related to

performance of contracts or subcontracts for monitoring this Agreement.

       674.    Unless such conflict is disclosed and waived by the Parties, the Monitor and

members of his or her team will not accept employment or provide consulting services that

would present a conflict of inte

Agreement, including being retained (on a paid or unpaid basis) by any current or future private


against the City, CPD, or their officials, officers, agents, or employees.

       675.    The Monitor is an agent of the Court and not a state or local agency, or an agent

thereof. Accordingly, the records maintained by the Monitor will not be deemed public records

subject to public inspection under the Illinois Freedom of Information Act, or subject to

discovery in any litigation.

       676.    The Monitor will not be liable for any claim, lawsuit, or demand arising out of the

                                                                   on-parties to this Agreement.


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       M.      CPD Consent Decree Implementation

            677.       The City and CPD agree to hire, retain, or reassign current City or CPD

   employees to form a unit with the knowledge, skills, and abilities necessary to facilitate

   compliance with this Agreement.

            678.       At a minimum, CPD will designate personnel to be responsible for:

               a.

               b. facilitating the provision of data, documents, materials, and access to the

                                                        onitor and OAG, as needed;

               c. ensuring that all data, documents, and records are maintained as provided in

                    this Agreement; and

               d. assisting in assigning implementation and compliance related tasks to CPD

                    personnel, as directed by the Superintendent or the Superi

       N.      Implementation Assessment and Report

       679.    The City and CPD agree to collect and maintain all data and records necessary to

document compliance with this Agreement, including data and records necessary for the Monitor

to conduct reliable compliance reviews and audits.

       680.

subsequent semiannual report by the Monitor, the City agrees to file a status report one month


report will delineate the steps taken by CPD during the reporting period to comply with this


       O.      Access and Confidentiality

       681.    To                                                             -site visits and




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assessments with or without prior notice to the City or CPD. While the Monitor has the right to

conduct on-site visits and assessments without prior notice at any time, in order to facilitate the

efficiency and effectiveness of its monitoring activities, the Monitor will make good faith efforts

to provide advance notice of its on-site visits and activities to the City and CPD to the extent

practicable and appropriate.

         682.   The Monitor will have access to all individuals, facilities, trainings, meetings,

disciplinary proceedings, reviews, and incident scenes that the Monitor reasonably deems

necessary to carry out the duties assigned to the Monitor by this Agreement. The City will

ensure

tha

         683.   CPD will notify the Monitor as soon as practicable, and in any case within 24

hours, of any officer-involved shootings, any death of a person in CPD custody, or any arrest of

a CPD member. In the event a CPD member is arrested by a law enforcement agency other than

CPD, CPD will notify the Monitor as soon as practicable, and in any case within 24 hours of

receiving notice of the arrest. The Monitor will cooperate with the City to obtain access to

people



minimizes interference with daily operations.

         684.   The City and CPD will ensure that the Monitor has prompt access to all City and

CPD documents and data related to the Agreement that the monitor reasonably deems necessary

to carry out the duties assigned to the Monitor by this Agreement, except any communications,

documents, or data to which access is limited or precluded by court order, or protected by the

work product doctrine or the attorney-

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       685.    Privilege may not be used to prevent the Monitor from observing training

sessions, disciplinary hearings, or other CPD, COPA, or Police Board activities or proceedings

that do not involve the provision or receipt of legal advice. The City is not required to provide

the Monitor with access to documents or data that is privileged. Should the City or CPD decline

to provide the Monitor with access to communications, documents, or data based on privilege,

the City or CPD will inform the Monitor and OAG that documents or data are being withheld on

the basis of privilege which may, but need not be, in the form of a privilege log. If the Monitor

or OAG objects to an assertion of privilege, the Monitor or OAG may challenge the propriety of

the privilege assertion before the Court.

       686.

will have access to all City and CPD personnel, facilities, training, documents, and data related

to this Agreement, except any documents or data protected by privilege. OAG and its consultants




enforcement of this Agreement and that minimizes interference with daily operations. The City

is not required to provide the Monitor with access to communications, documents, or data that is

privileged. Should the City or CPD decline to provide OAG with access to documents or data

based on privilege, the City or CPD will inform OAG that that documents or data are being

withheld on this basis, which may, but need not be, in the form of a privilege log. If OAG

objects to a privilege assertion by the City or CPD, OAG may challenge the propriety of the

privilege assertion before the Court.

       687.    The Monitor and OAG will provide the City and CPD with reasonable notice of a

request for documents or data. Upon such request, the City and CPD will provide the documents


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or data (in electronic format, where readily available) in a timely manner, unless withheld based

on privilege.

           688.   Nothing in this Agreement is intended to conflict with the Illinois Freedom of

Information Act.

           689.   The Monitor and OAG will maintain all confidential or non-public information

provided by the City and CPD in a confidential manner. Other than as expressly provided in this

Agreement, disclosure to the Monitor will not be deemed a waiver of any privilege or right the

City or CPD may assert, including those recognized at common law or created by statute, rule,

or regulation, against any other person or entity with respect to the disclosure of any document

or data.

       P.         Court Jurisdiction, Modification of the Agreement, and Enforcement

           690.   This Agreement will become effective upon Court approval and entry as an order

of the Court.

           691.   This Court has jurisdiction over the action that led to this Agreement pursuant to

28 U.S.C. §§ 1331 and 1367. The Court is adopting and entering this Agreement as a judgment

of the Court pursuant to 42 U.S.C. § 1983 and the Constitution and laws of the United States; the

Illinois Constitution; the Illinois Human Rights Act, 775 ILCS 5/5-102(C); and the Illinois Civil

Rights Act of 2003, 740 ILCS 23/5.

           692.   Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. § 1391,

because the City is located in the Northern District of Illinois.

           693.   The Court will retain jurisdiction of this action for all purposes until such time as

the Court finds that the City has achieved full and effective compliance with this Agreement and

maintained such compliance for no less than two consecutive years.

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       694.    The State, through OAG, acknowledges the good faith of the City and CPD in

trying to take actions necessary to ensure constitutional policing and improve community trust in

CPD. However, the State, through OAG, reserves the right to seek enforcement of the provisions

of this Agreement as set forth herein if OAG determines that the City and CPD have failed to

comply with any provision of this Agreement.

       695.    Prior to initiating enforcement proceedings before the Court, the State, through

OAG, will notify the City in writing of the provisions of this Agreement for which Court

enforcement will be sought. The State will not initiate enforcement proceedings until at least 90

                                                                        cure period

cure period, the State, the City, and CPD will make a good faith attempt to resolve the issues

underlying the planned enforcement proceedings without intervention from the Court. In the

event OAG provides notice of enforcement in accordance with this paragraph, at the request of

either Party, the Monitor will convene the Parties and attempt to resolve the identified issues



Party may ask the Court to attempt to resolve such dispute. If the Parties are unable to resolve

the identified issues or to reach agreement regarding a plan for resolution during the cure period,

the State, through OAG, may initiate enforcement proceedings with the Court after the

conclusion of the cure period.

       696.    OAG and the City may jointly agree to make changes, modifications, and

amendments to this Agreement, which will be effective if approved by the Court. Such changes,

modifications, and amendments to this Agreement will be encouraged when the Parties agree, or




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                                  or audits demonstrate that an Agreement provision as drafted is

    not furthering the purpose of this Agreement or that there is a preferable alternative that will

                                                                         achieve the same purpose.

       697.    At any time, the City, OAG, or the Monitor may propose substituting alternative

requirements for one or more requirements of this Agreement. In any case when such a proposal

is made, the Parties may agree to suspend the current Agreement requirement for an agreed-upon

time period while the alternative is being considered. If the Parties and the Monitor agree that

the alternative requirements are as effective or more effective at achieving the purpose of the

original requirements, the alternative requirements will be adopted and submitted to the Court

for incorporation in the Agreement. If the Parties and the Monitor cannot agree on the proposed

alternative, either Party or the Monitor can submit the matter to the Court for resolution.

       698.    The Parties agree to defend the provisions of this Agreement. The Parties will

notify each other of any proceeding in which a non-party challenges a provision or provisions of

this Agreement. In the event any provision of this Agreement is challenged in any state court, the

Parties will seek removal to federal court and consolidation with this action.

       699.    The City agrees to require compliance with this Agreement by its officers,

officials, employees, agents, agencies, assigns, or successors.

       700.    The City will be responsible for providing necessary and reasonable financial

resources necessary through steps or processes that can include the budget process to fulfill its

obligations under this Agreement, subject to the terms and conditions set forth herein.

       701.                           his Agreement is not an admission by the City, CPD, or any

agent or employee of either entity that it has engaged in any unconstitutional, illegal, or




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       Q.      Scope of the Agreement

       702.

This Agreement also constitutes a full and complete settlement of any and all civil claims,

known or unknown, the State may have, as of the Effective Date of this Agreement, against the

City regarding any alleged pattern or practice of unconstitutional conduct, civil rights violations,

or other unlawful conduct by the City as referenced in the DOJ Report, the PATF Report, or the

Complaint.

       703.    This Agreement was reached as a result of the authority granted to the State under

the doctrine of parens patriae,

proprietary interests under 42 U.S.C. § 1983, to seek declaratory or equitable relief to remedy a

pattern or practice of conduct by law enforcement that deprives individuals of rights, privileges,

or immunities secured by the Constitution or Illinois law.

       704.    This Agreement is binding upon all Parties hereto, by and through their officials,

employees, agents, representatives, agencies, assigns, and successors. If the City establishes or

reorganizes a government agency or entity whose function includes overseeing, regulating,

investigating, or otherwise reviewing the operations of CPD or any aspect thereof, the City

agrees to ensure that these functions and entities are consistent with the terms of this Agreement

and will incorporate the terms of this Agreement into the oversight, regulatory, investigation, or

review functions of the government agency or entity as necessary to ensure consistency.

       705.

adopt future measures that exceed or surpass the obligations contained herein, as long as the

terms of this Agreement are satisfied.




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       706.    The City is responsible for providing necessary support and resources to CPD to

enable CPD to fulfill its obligations under this Agreement.

       707.    No person or entity is or is intended to be a third-party beneficiary of this

Agreement for the purposes of any civil, criminal, or administrative action. The Parties agree

that this Agreement is not, and will not be construed as, an admission of liability by the City or

CPD, or any of their departments, entities, agencies, officials, agents, or employees. Nothing in

this Agreement will be used by any third party to create, establish, or support a claim of liability

by or against the City or the CPD or any of their officials, officers, agents or employees under

any federal, state or municipal law, including, but not limited to, 42 U.S.C. § 1983, the U.S.

Constitution, the Illinois Constitution, the Illinois Civil Rights Act of 2003, or the Illinois

Human Rights Act.

       708.    This Agreement is an integrated agreement. It contains the entire understanding

and agreement of the Parties, and supersedes all prior agreements, understandings, negotiations,

and discussion of the Parties, whether oral or written, relating to its contents. There are no other

agreements, understandings, restrictions, representations, or warranties other than as set forth in

this Agreement. No prior drafts or prior or contemporaneous communications, oral or written,

will be relevant or admissible for purposes of determining the meaning of any provisions herein

in any litigation or any other proceeding.

       R.      Other Relevant Agreements

       709.    As set forth in the MOA regarding the Coalition, the Parties have conferred

certain rights on the Coalition relating to the enforcement of this Agreement (which is referred to




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          a. Notwithstanding any other provision of this Consent Decree, the Consent Decree is

             enforceable by the Court upon a motion by the Coalition subject to the conditions in

             subparagraphs (a) through (b) herein. Prior to filing any enforcement motion the

             Coalition will (i) meet and confer in good faith with

                     the Parties to attempt to resolve issues identified by the Coalition without the

                     need for intervention by the Court, and (ii) follow the prerequisites for filing

                     enforcement motions required of the State set forth above.

          b. The Coalition is defined as the plaintiff organizations in the Campbell lawsuit




                     forth in Paragraph (a) above will not apply to any individual or organization

                     that is not a member of the Coalition, including but not limited to individuals

                     or organizations that were once members of the Coalition but subsequently

                     left or were removed from the Coalition. The Coalition Founders are the sole

                     arbiters of the

                 710.    The Parties acknowledge the City has entered into four collective
          bargaining




The Parties further acknowledge that the Unions and the City have certain rights and obligations

under t

contains provisions for the City and the Unions to enforce their respective rights and obligations,


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including a process, set forth in Section 14 of the IPLRA and Section 28.3 of the current CBAs,

for resolving bargaining impasses between the City and the Unions over issues subject to a


              711.    Nothing in this Consent Decree is intended to (a) alter any of the CBAs

       between the City and the Unions; or (b) impair or conflict with the collective bargaining

       rights of employees in those units under the IPLRA. Nothing in this Consent Decree shall

       be interpreted as obligating the City or the Unions to violate (i) the terms of the CBAs,

       including any Successor CBAs resulting from the negotiation process (including

       Statutory Impasse Resolution Procedures) mandated by the IPLRA with respect to the

       subject of wages, hours and terms and conditions of employment unless such terms

       violate the U.S. Constitution, Illinois law or public policy, or (ii) any bargaining

       obligations under the IPLRA, and/or waive any rights or obligations thereunder. In

       negotiating Successor CBAs and during any Statutory Resolution Impasse Procedures,

       the City shall use its best efforts to secure modifications to the CBAs consistent with the

       terms of this Consent Decree, or to the extent necessary to provide for the effective

       implementation of the provisions of this Consent Decree.

              712.    Nothing in this Agreement alters or incorporates any provision in the
       August 6,

2015 Investigatory Stop and Protective Pat Down Settlement Agreement between the City and

                                                         Agreement for the duration of the

ACLU Agreement. Nor does this Agreement involve the Monitor reviewing the reforms

mandated by the ACLU Agreement or assessing compliance with the ACLU Agreement.

       713.   Nothing in this Part R                                                           under

this Agreement.

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       S.       Termination of the Agreement

       714.    The City will endeavor to achieve full and effective compliance within five years

of the Effective Date. On or about five years from the Effective Date, the Court will hold a

hearing to assess whether the Agreement should be terminated. This Agreement will terminate

when the Court finds that the City has achieved full and effective compliance with this

Agreement and has maintained such compliance with the material requirements for at least one

year for the sections delineated as Group A below, and for at least two years for the sections

delineated as Group B below.

               a. Group A: Recruitment, Hiring, and Promotions; Training; and Officer

                     Wellness and Support.

               b. Group B: Community Policing; Impartial Policing; Crisis Intervention; Use of

                     Force; Supervision; Accountability and Transparency; and Data Collection,

                     Analysis, and Management.

       715.    Upon request by the City, the Court will determine whether the City is in full and

effective compliance regarding any of the material requirements under the Agreement. The

                           full and effective compliance will start the relevant one- or two- year

compliance periods detailed in Paragraph 714 above.

       716.    If the City and CPD have achieved compliance with some requirements, but not

others, the Court may terminate the Agreement as to those requirements for which compliance

has been achieved. The Monitor will not review, assess, or audit requirements that are so

terminated. At any time prior to the full termination of this Agreement, the Court may reinstate

previously terminated requirements upon a showing that compliance with such requirements has

materially lapsed.


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       717.    Full and effective compliance with this Agreement means sustained compliance

with all material requirements of this Agreement. No specific numerical threshold will be

required to demonstrate full and effective compliance. Non-compliance with mere technicalities,

or temporary or isolated failure will not constitute failure to achieve full and effective

compliance. However, temporary compliance during a period of otherwise sustained

noncompliance will not constitute full and effective compliance with the Agreement.

       718.    In order for the City to seek to terminate this Agreement or portions of this

Agreement, the City must file a motion with the Court. Prior to filing a motion to terminate, the

City agrees to notify OAG and the Monitor in writing when the City believes that it is in full and

effective compliance with this Agreement and that such compliance has been maintained for the

required time period. Within 14 days of notification, the Parties will meet and confer at a

mutually agreeable time as to the status of compliance. If, after a period of 30 days of

consultation, the Parties cannot resolve any compliance issues, the City may file a motion to

terminate all or part of the Agreement.

       719.    If the City moves to terminate the Agreement, OAG will have 60 days after the




with the Agreement using methods for assessing compliance contemplated by a Monitoring Plan

or this Agreement

deadline to so certify if it determines that additional time is required by the Monitor to determine

compliance using methods for assessing compliance contemplated by a Monitoring Plan or this

Agreement. The Court will hold a hearing on the motion. To terminate a portion of the




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Agreement, the Court must find that that portion of the Agreement is sufficiently severable from

the other requirements of the Agreement such that partial termination would not impede the


       720.    At all times, the City will bear the burden of demonstrating by a preponderance of

the evidence it has achieved full and effective compliance with the requirements of this

Agreement.

       721.    Prior to termination of this Agreement, CPD will develop a plan, in consultation

with the Monitor and OAG, to conduct compliance reviews, audits, and community surveys

deemed necessary and appropriate following the termination of the Consent Decree. CPD will



XIII. DEFINITIONS AND ABBREVIATIONS

               722.      The following terms   in their singular and plural forms and regardless of

       their capitalization    and definitions apply to this Agreement:

              723.                                                        or the CPD staff
       assigned to the

Education and Training Division of CPD.

               724.                                means a CPD member at the rank of Sergeant

assigned to a district who is responsible for receiving, processing, and investigating complaints

made against CPD members, which are referred to the district by BIA.

               725.                                                   -criminal investigation
       related to

misconduct or the actions of a CPD member.

       726.

course of an administrative investigation and maintained in the investigation file.


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       727.                        notification

the incidents set forth in Chicago Municipal Code Section 2-78-120(c) (e) or a domestic violence

incident involving a CPD officer.

       728.                     reporting website                                       members for

the purpose of anonymously reporting member misconduct.
       729.         efforts

achieve the stated objective.

       730.            practices              guidelines, standards, policies, procedures, or

methods that are consistent with the requirements and goals of this Agreement, and are either

supported by research or empirical evidence or are accepted by industry-recognized

professionals, agencies, or organizations in the relevant subject area. In case of any conflict or

inconsistency between industry-recognized professionals, agencies, or organizations regarding a

best practice, CPD is entitled to adopt the practice it prefers, provided that the practice is

consistent with the requirements and goals of this Agreement.

       731.

       732.                                                         a CPD member in the rank of
Lieutenant assigned to

BIA and responsible for supervising investigations conducted by Accountability Sergeants in

accordance with this Agreement.




and storing audio and/or visual information for later viewing.

       734.

system meeting, at a minimum, the requirements of this Agreement.

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       735.

                                                                    736.    Illinois municipal
                                                       corporation, and any

agent, agency, officer, employee, assignee, or successor thereof.
        737.                                                      channel review          the
                                                      process by which one or more

supervising CPD officers at or above the rank of Commander review the investigative findings

and recommendations.

       738.

Commander or Superintendent) and civilian members (e.g., Director) assigned at the discretion

of the Superintendent and charged with holding strategic leadership positions within CPD.

       739.                                                           member, who makes a

Complaint against a CPD member.

       740.                          one or more allegations of misconduct reported to COPA,

CPD, or OIG.

       741.

       742.

officers, and employees (both sworn and civilian) in their official capacities.

                                                                     743.   member means any
                                                                     sworn or civilian employee of
                                                                     CPD.

                                                                     744.    member at any rank.

       745.                                                        means a first responder model
                                                                   of police-

based crisis intervention that involves the collaboration of community, health care, and advocacy

groups committed to improving the way law enforcement and the community responds to

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individuals in crisis. The Crisis Intervention Team provides CPD members with support,

resources, education, and training to safely and effectively interact with individuals in crisis.




       746.                                                          747.

Division or the Training Oversight Committee, with a uniform curriculum, that takes place at the

district or unit level rather than at the Academy or other centralized location and is not necessarily

required to be received by all members of the Department.

        748.

of Chicago Office of Inspector General. In the event the Office of the Deputy PSIG is vacant, its

obligations under this Agreement run to the Officer of the Inspector General for the City of the

Chicago.

        749.

numbering 22 in total, which together cover the entirety of the City and are each led by a

member of the command staff.

               750.           -related traumatic incident means any police incident or action that

       a CPD member is involved in or observes that has the potential to result in the member

       experiencing emotional or psychological distress, ranging from mild to severe. For the

       purposes of the CPD Traumatic Incident Stress Management Program, the following

       incidents have been identified as traumatic incidents:

               a. A firearms discharge incident, except for the destruction of an animal.

               b. On-duty traffic crashes involving serious personal injury.

               c. Other serious personal injury incidents involving CPD members occurring

                   while in the performance of duty.

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               d. Any other great bodily harm or death incidents based on the actions or use of

                    force of a CPD member while in the performance of his or her duty. In

                    addition to the above incidents, any other incident where a CPD member

                    sustains serious physical or emotional trauma from a duty-related activity may

                    be designated as a traumatic incident by the appropriate CPD supervisor.

                                                                       751.       sequent order of the
                                                              Court.

               752.     a finding where it is determined, by clear and convincing

evidence, that the conduct described in the allegation occurred but is lawful and proper.

               753.            qualified


successfully complete the Field Training and Evaluation Program.




Evaluation Program.

       755.            disciplinary decision

or her designee regarding whether to issue or recommend discipline after review and

consideration of the investigative findings and recommendations, including after any additional

investigation conducted as a result of such review. For COPA investigations, the final

disciplinary decision occurs after the conclusion of the process described in Chicago Municipal

Code Section 2-78-130(a).

       756.            disposition             the status of a misconduct investigation after the final

disciplinary decision, and any grievance process, arbitration, Police Board proceeding, or appeal

relating to the final disciplinary decision.


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       757.                          refers to

sections of this Agreement. They are not intended to impose substantive requirements subject to

compliance audits or assessments on either

provide the Court, the Monitor, and the public with the context for the subsequent substantive

requirements of this Agreement and the overall goals for each section.

       758.                 supervisor

anyone acting in those capacities) and civilian CPD members with day-to-day oversight

responsibility for the CPD members under their direct command.

       759.                                                who exhibits symptoms of known,

suspected, or perceived behavioral and mental health conditions, including, but not limited to,

mental illness, intellectual or developmental disability, or co-occurring conditions, such as

substance use disorders.

       760.            process                                            -confidential complaints

and administrative notifications by COPA.

       761.                   findings and recommendations             following a misconduct

investigation, COPA, BIA or the d           issuance of investigative findings and

recommendations to the Superintendent of CPD, or his or her designee.

       762.                                                      is alleged to be involved in

misconduct.

       763.

       764.

designed to provide tactical medical and self-rescue capabilities, including the ability to identify

and tactically treat otherwise critical wounds and provide hemorrhage control.

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       765.

Gender-nonconforming, while not included in the LGBTQI acronym, is included wherever the

LGBTQI acronym is used in this Agreement.

       766.               mental health professional

59 Ill. Admin. Code. 132/25: (a) a Licensed Practitioner of the Healing Arts (LPHA); (b) a
                                                                   ee in social work and licensed

under the Clinical Social Work and Social Work Practice Act, 225 ILCS 20, with specialized




licensed under the Professional Counselor and Clinical Professional Counselor Licensing Act,


experience in mental health services.

       767.

       768.

or an administrative notification that progresses past a preliminary investigation.

       769.       sustained          a finding where it is determined there is insufficient evidence

to prove the allegations by a preponderance of the evidence.




could potentially strike an individual.

       773.                   capsicum device                               Department-authorized

implement capable of dispensing a nonflammable propellant, containing inflammatory agents

that occur naturally in cayenne peppers (oleoresin capsicum).


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       774.

General of the State of Illinois, and the City of Chicago.
      775.

tool for assisting Department supervisors in recognizing and addressing job performance of

members under their command.

       776.                                                       police officer
                                                                        new CPD officer who has

completed recruit training at the Academy and is receiving field training or is otherwise

employed on a provisional basis.

       777.                                                     justice


to build public confidence in the police: (1) treating people with dignity and respect; (2) giving

individuals a chance to be heard during encounters; (3) making decisions fairly and

transparently, based on facts; and (4) conveying goodwill and trustworthiness.

                                                      778.     ke mandatory, demand, compel, and
                                                      enforce.

       779.                                        CPD supervisor who immediately responds to

the scene when a level 2 or level 3 reportable use of force occurs.

       780.                                               call training           -service training
                                                   that takes place at the district or unit

level during the beginning of a tour of duty.

       781.

the totality of the circumstances, consistent with law and CPD policy.




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of the m



                                                                                                order to

commit a sexual act, initiate sexual contact with another person, or respond to a perceived

sexually motivated cue (from a subtle suggestion to an overt action) from another person; any

sexual communication or behavior by a CPD member that would likely be construed as lewd,

lascivious, inappropriate, or conduct unbecoming of a member; any attempted or completed act

by a CPD member of nonconsensual sexual conduct or nonconsensual sexual penetration, as

defined in Section 11-0.1 of the Illinois Criminal Code of 2012; any attempted or completed act

by a CPD member of criminal sexual assault, as defined in Sections 11-1.20 through 11-1.40 of

the Illinois Criminal Code; or any attempted or completed act by a CPD member of criminal

sexual abuse, as defined in Sections 11-1.50 and 11-1.60 of the Illinois Criminal Code of 2012.

       783.                                                        hicle that has the primary

function of transportation of arrestees in addition to field patrol duties.

       784.

General of the State of Illinois.

       785.                                                    of CPD or a properly designated

Acting or Interim Superintendent.

       786.                                         member at the rank of Sergeant or above (or

anyone acting in those capacities) and non-sworn CPD members with oversight responsibility

for other CPD members.

       787.                         a finding, where it is determined the allegation is supported by

a preponderance of the evidence

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and dispatchers employed by OEMC.

       790.                                                                  member is

considered to be on duty. It may be a scheduled or unscheduled period, including periods

assigned to members in advance of the performance of work (i.e., watches or shifts) or time

spent on work performed outside of the assigned watch.

       791.

approaches, or tactics that consider symptoms of trauma and mental health conditions when

determining how to respond to and de-escalate incidents involving individuals in crisis.




evidence, that an allegation is false or not factual

       796.    "Unique tracking number" means a number assigned to a complaint or

administrative notification, including a Log Number, linked with all phases of the administrative

investigation and disciplinary recommendation, grievance process, arbitration, Police Board

proceeding, and appeals therefrom.




supervisory Department members.

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                                             798. provision imposes a mandatory duty.

                                             799. of the age 13 through 24.



Respectfully submitted this 13th day of September, 2018.




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SO ORDERED, this 31st day of January, 2019.




                                 _____________________________
                                 ROBERT M. DOW, JR.
                                 United States District Court Judge
                                 Northern District of Illinois
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